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                  EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

EVERGREEN MEDIA HOLDINGS, LLC, TONY §                      CIVIL ACTION NO. 4:14-CV-1117
DEROSA-GRUND, and GERALD D. BRITTLE §
                                    §
                                    §
                                    §
VS.                                 §                      JURY DEMANDED
                                    §
                                    §
LORRAINE WARREN, TONY SPERA,        §
GRAYMALKIN MEDIA, LLC, NEW LINE     §
PRODUCTIONS, INC., and WARNER       §
                                    §
BROS. ENTERTAINMENT, INC.           §


                         PLAINTIFFS’ ORIGINAL COMPLAINT

         Plaintiffs, EVERGREEN MEDIA HOLDINGS, LLC, TONY DEROSA-GRUND AND GERALD D.

BRITTLE, complain of Defendants, LORRAINE WARREN, TONY SPERA, GRAYMALKIN MEDIA,

LLC, NEW LINE PRODUCTIONS, INC., and WARNER BROS. ENTERTAINMENT, INC., as follows:

                                             Parties

         1.    Evergreen Media Holdings, LLC, is a Texas limited liability company with its

principal place of business in Montgomery County, Texas.

         2.    Tony DeRosa-Grund is an individual residing in Montgomery County, Texas.

         3.    Gerald D. Brittle is an individual residing in Richmond, Virginia.

         4.    Lorraine Warren is an individual who may be served with process at 30

Knollwood Street, Monroe, Connecticut 06468, or wherever she may be found. Mrs. Warren has

transacted business in and/or purposefully directed her acts toward the Southern District of

Texas.
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         5.    Tony Spera is an individual who may be served with process at 122 Mine Hill

Road, New Milford, Conecticut 06776, or wherever he may be found. Mr. Spera has transacted

business in and/or purposefully directed his acts toward the Southern District of Texas.

         6.    Graymalkin Media, LLC is a California limited liability which may be served

with process by serving its principal, David Zindel, at 1413 Greenfield Avenue, Suite 103, Los

Angeles, California 90025, or wherever it may be found. The company transacts business in, has

transacted business in, and/or has purposefully directed its acts toward the Southern District of

Texas.

         7.    New Line Productions, Inc. is a California corporation which may be served with

process by serving its registered agent, CT Corporation System, at 818 West Seventh Street, 2nd

Floor, Los Angeles, California 90017, or wherever it may be found. The company transacts

business in, has transacted business in, and/or has purposefully directed its acts toward the

Southern District of Texas.

         8.    Warner Bros. Entertainment, Inc. is a Delaware corporation which may be served

with process by serving its registered agent, CT Corporation System, at 818 West Seventh Street,

2nd Floor, Los Angeles, California 90017, or wherever it may be found. The company transacts

business in, has transacted business in, and/or has purposefully directed its acts toward the

Southern District of Texas.

                                    Jurisdiction and Venue

         9.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 (federal question) and 1338(a) (acts of Congress relating to patents, trademarks

and copyrights), 28 U.S.C. §§ 2201, et seq. (declaratory judgment act) and 28 U.S.C. § 1367


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(supplemental jurisdiction over state claims). This Court also has jurisdiction pursuant to federal

diversity jurisdiction, 28 U.S.C. § 1332, as the parties are completely diverse in citizenship and

the amount in controversy exceeds $75,000.

        10.     Personal jurisdiction over the non-resident Defendants is proper because this

lawsuit: (i) arises from acts and/or transactions occurring within and/or directed towards Texas;

(ii) is connected with acts and/or transactions occurring within and/or directed towards Texas;

and/or (iii) relates to the purposeful acts and/or transactions of the non-resident Defendants, and

those purposeful acts occurred within and/or were directed towards Texas. The assumption of

jurisdiction by this Court over the non-resident Defendants does not offend traditional notions of

fair play and substantial justice.

        11.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because, inter alia,

a substantial part of the acts complained of herein occurred in this jurisdiction.

                          Factual Allegations Common To All Counts

        12.     Lorraine Warren and her late husband, Ed Warren ("Mr. Warren"), were

paranormal investigators involved in thousands of paranormal investigations over the course of

the last five decades. Their investigations are part of approximately 8,000 case files compiled by

Mrs. Warren and Mr. Warren over decades of paranormal investigations (collectively, the

approximately 8000 case files are referred to as the "Case Files"). Mr. Warren passed away in

August 2006.

        13.     Mr. DeRosa-Grund is a motion picture producer and the Executive Chairman of

Evergreen.




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       14.     Mr. DeRosa-Grund's dealings with Mrs. Warren and Mr. Warren date back nearly

twenty-three (23) years. Throughout that period, Mr. DeRosa-Grund held thousands of hours of

discussions with Mrs. Warren and Mr. Warren regarding their Case Files. Indeed, during those

thousands of hours, Mr. Warren, in particular, would propose and discuss with Mr. DeRosa-

Grund various Case Files that he felt were particularly suitable for exploitation as a theatrical

motion picture.    During those discussions, Mr. DeRosa-Grund would take notes and, on

occasion, tape record the discussions.

       15.     At all times, the actual Case Files were held by Mr. Warren.

       16.     The discussions between Mr. DeRosa-Grund and Mr. Warren and Mrs. Warren

included, but were not limited to, the "Perron Farmhouse" Case File, the "Annabelle" Case File,

and "The Enfield Poltergeist" Case File.

       17.     Approximately fifteen (15) years ago, Mr. DeRosa-Grund and Mr. Warren

specifically discussed the "Perron Farmhouse" Case File. During this conversation, which was

recorded, Mr. DeRosa-Grund revealed his strategy and vision to develop and produce a theatrical

motion picture based on the "Perron Farmhouse" Case File. It was this conversation, as reflected

in the recording, and in particular Mr. DeRosa-Grund's strategy and vision, that ultimately

developed into and became the basis for Mr. DeRosa-Grund's written story and treatment based

on the "Perron Farmhouse" Case File, and that Mr. DeRosa-Grund sought to sell as part of a

motion picture series under "The Conjuring" trademark that he had created (Later, it was the

recording of Mr. DeRosa-Grund's conversation with Mr. Warren and Mr. DeRosa-Grund's

strategy, vision, story and treatment that was used as the foundation of and basis for the hit

theatrical motion picture that was entitled "The Conjuring" and released in 2013).


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       18.       In 2009, Mr. DeRosa-Grund and the Warrens entered into four agreements (the

"Warren Agreements"), for the exploitation of the Life Stories of the Warrens and the Case Files.

The Warren Agreements, entered into in Texas and Pennsylvania/Connecticut, were dated May

6, 2009, June 1, 2009 and June 19, 2009 (two agreements). The Warren Agreements were

executed: (i) by Mr. DeRosa-Grund on behalf of Evergreen Media Holdings, LLC

(“Evergreen”); and (ii) either: (a) by Harrison Smith on behalf of Mrs. Warren and the Estate of

Mr. Warren; or (b) by Mrs. Warren personally and by Mr. Smith on behalf of Mrs. Warren and

the Estate of Mr. Warren. The Warren Agreements gave Evergreen and Mr. DeRosa-Grund the

exclusive right to exploit film and television rights in and to the Life Stories of the Warrens and

in and to the Case Files.

       19.       Mr. DeRosa-Grund worked with two screenwriters, Chad Hayes and Carey

Hayes, to turn the recording of Mr. DeRosa-Grund's conversation with Mr. Warren and Mr.

DeRosa-Grund's strategy, vision, and his original story and treatment into a "pitch" and, finally, a

formal script.

       20.       On or around March 29, 2010, Evergreen and New Line Production, Inc. (“New

Line”) entered into an Option Quitclaim Agreement, with a date as of November 11, 2009 (the

Option Quitclaim Agreement is referred to herein as the "OQA"). Pursuant to the OQA, New

Line acquired an option to purchase theatrical motion picture rights to an agreed upon, and very

limited, selection of the Case Files, i.e., less than one percent (1%) of the Case Files, and to the

Life Stories of the Warrens in conjunction therewith. In particular, from the approximately

8,000 Case Files, under the terms of the OQA, New Line selected a limited number of Case

Files, namely, just twenty-five (25) of the approximately 8,000, which included the "Perron


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Farmhouse" Case File, the "Annabelle" Case File, and "The Enfield Poltergeist" Case File, which

were reserved exclusively by New Line solely for the purposes of theatrical motion picture

exploitation.   In exchange, New Line agreed to pay Mr. DeRosa-Grund and Evergreen a

purchase price amount (the "Purchase Price"), and a percentage of the adjusted gross receipts of

any motion picture made pursuant to the OQA.

       21.      Evergreen and New Line also entered into a Producer Loanout Agreement on or

around March 31, 2010, with a date as of November 11, 2009 (the Producer Loanout Agreement

is referred to herein as the "Producer Agreement" (collectively the Producer Agreement and the

OQA are referred to herein as the "Agreements"), for the producer services of Mr. DeRosa-

Grund. New Line agreed to engage and credit Mr. DeRosa-Grund as a producer in connection

with any theatrical motion picture made pursuant to the Agreements, including, but not limited

to, any theatrical motion picture associated with the "Perron Farmhouse" Case File, the

"Annabelle" Case File, and the "The Enfield Poltergeist" Case File.

       22.      New Line and Warner Bros. Entertainment, Inc. (“Warner Bros.”) ultimately

entered into a deal with Chad and Carey Hayes to write the script based on the "Perron

Farmhouse" Case File, during which time New Line and Warner Bros. received copies of the

recording of Mr. DeRosa-Grund's conversation with Mr. Warren and Mr. DeRosa-Grund's story

and treatment as well as any and all notes and materials he possessed relating to the "Perron

Farmhouse" Case file. Accordingly, New Line and Warner Bros. were acutely and actually

aware that: (i) Mr. DeRosa-Grund's original story and treatment were the underlying foundation

of and basis for the screenwriters' work; and (ii) "The Conjuring" was the trademark that Mr.




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DeRosa-Grund had single-handedly created for a series of productions based upon the Case Files

and that "The Conjuring" trademark belonged exclusively to him.

       23.     After entering into the OQA, Evergreen gave New Line permission to enter into a

direct deal for any rights held by Mrs. Warren. Evergreen agreed to an amendment of the OQA

to allow for this new direct deal based on New Line’s assurances that the OQA and Producer

Agreement would remain the same and that Evergreen’s rights and benefits under all of the

aforementioned agreements would not change.            On that basis, the parties executed an

"Amendment #1" to the OQA, entered into on or around February 7, 2011, with a date as of

October 19, 2010 (Amendment #1 to the OQA is referred to herein as the "Amendment").

       24.     Pursuant to the OQA, Amendment, and Producer Agreement, which were entered

into in Texas and California, New Line produced the theatrical motion picture, which was titled

"The Conjuring," based on the aforementioned "Perron Farmhouse" Case File. Pursuant to the

OQA, Amendment, and Producer Agreement, New Line paid Evergreen and Mr. DeRosa-Grund

the initial Purchase Price for "The Conjuring" theatrical motion picture prior to commencing

principal photography. "The Conjuring" theatrical motion picture was released on or around July

19, 2013, and was hugely successful, grossing over $318,000,000 worldwide to date. With a

production budget of approximately $20,000,000, "The Conjuring" theatrical motion picture has

been reported to be one of the most profitable theatrical motion picture films of 2013.

       25.     A separate action has been filed by Mr. DeRosa-Grund and Evergreen against

New Line and Warner Bros. concerning the OQA, the Producer Agreement, and the

Amendment.      The action, Evergreen Media Holdings, LLC, et al. vs. Warner Bros.

Entertainment, Inc., et al., is currently pending in the U.S. District for the Southern District of


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Texas, Houston Division, case number 4:14-CV-00793. This complaint is not an action under,

related to, nor concerning the OQA, the Producer Agreement or the Amendment. Therefore the

action at hand is totally separate and distinct from the aforementioned case number 4:14-CV-

00793.

         26.   Relevant to this Complaint, after releasing the "The Conjuring" theatrical motion

picture, Evergreen and Mr. DeRosa-Grund believe and are informed that New Line and Warner

Bros. have developed, produced and completed production on a motion picture production

currently entitled "Annabelle," based on the "Annabelle" Case File. In particular, it has been

reported that the story line in Annabelle includes a demonic doll in the possession of the

Warrens, which was described in the "Annabelle" Case File. It has also been reported that

production of "Annabelle" began on or about January 27, 2014.

         27.   Additionally, Evergreen and Mr. DeRosa-Grund are informed and believe that

New Line and Warner Bros. intend to produce a theatrical motion picture sequel to “The

Conjuring,” based upon "The Enfield Poltergeist" Case File. Specifically, New Line and Warner

Bros. have already publically announced a release date of October 23, 2015 for the sequel as

"The Conjuring 2: Enfield" and on March 27, 2014 registered that title with the Motion Picture

Association of America ("MPAA").

         28.   Evergreen and Mr. DeRosa-Grund are further informed and believe that New Line

commissioned Chad and Carey Hayes to write the script for said sequel on or about July of 2013,

said script is completed and New Line and Warner Bros. intend to commence principal

photography on said sequel, i.e., "The Conjuring 2: Enfield", by the end of 2014.




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        29.     New Line and Warner Bros. have not provided any payment to Evergreen and Mr.

 DeRosa-Grund in connection with the underlying rights to produce another motion picture based

 on the Case Files.

        30.     Furthermore, despite previously representing and agreeing that Mr. DeRosa-

 Grund would be a producer in connection with all projects based on New Line’s selected Case

 Files, New Line and Warner Bros. have refused to engage Mr. DeRosa-Grund’s producer

 services, to compensate him for the rights, or to provide him with a producer credit, or Evergreen

 corporate credit, in connection with “Annabelle,” the anticipated sequel to “The Conjuring,” i.e.,

 "The Conjuring 2: Enfield," or any other prequel, sequel, remake, or spinoff of “The Conjuring.”

        31.     After learning that New Line and Warner Bros. intended to produce "Annabelle",

 Evergreen and Mr. DeRosa-Grund contacted New Line and Warner Bros. in or around January

 2014 regarding payment to Evergreen of the Purchase Price for the production and development

 of the "Annabelle" Case File pursuant to the parties’ Agreements. Astonishingly, although New

 Line and Warner Bros. admitted that they were producing "Annabelle", New Line and Warner

 Bros. refused and continue to refuse to pay anything to Evergreen in connection with the

 production of "Annabelle."

        32.     Despite the fact that the "Annabelle" Case File had previously been selected by

 New Line for exploitation, as one of the twenty five (25) limited Case Files which they were

 entitled to exploit only as a theatrically released feature film under the OQA, New Line and

 Warner Bros. based their refusal to pay upon the claim that they intended to produce "Annabelle"

 as a direct-to-video production, rather than a theatrical production for distribution in theaters, and

 that as such the OQA did not apply.


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        33.     Registration reports from the MPAA evidence that New Line registered the title

 "The Conjuring: Annabelle" on March 10, 2014, casting serious doubt on their claim that they

 plan to release "Annabelle" as a direct-to-video movie. The MPAA does not register titles for

 direct-to-video productions. The MPAA only registers titles for theatrically released productions.

        34.     Nevertheless, if, as New Line and Warner Bros. claim, the OQA does not apply to

 their direct-to-video production based upon the “Annabelle” Case File, then New Line and

 Warner Bros. have not been granted the contractual right to produce the direct-to-video

 production based upon the “Annabelle” Case File by Evergreen and Mr. DeRosa-Grund and any

 such action by them would be in violation of the rights which Evergreen and Mr. DeRosa-Grund

 exclusively secured from the Warrens under the Warren Agreements.

        35.     In other words, any production based upon the "Annabelle" Case File - if not

 under the OQA - would be a violation of the rights of Evergreen and Mr. DeRosa-Grund under

 the Warren Agreements.

        36.     Evergreen and Mr. DeRosa-Grund have learned that New Line and Warner Bros.

 intend to move forward and/or are already moving forward with production of a theatrical

 motion picture based upon "The Enfield Poltergeist" Case File, without the involvement of or

 compensation to Evergreen and/or Mr. DeRosa-Grund, i.e., in circumvention of the OQA,

 Amendment and Producer Agreement, despite the fact that "The Enfield Poltergeist" Case File

 had previously been selected by New Line for exploitation as the so-called sequel, "The

 Conjuring 2: Enfield."

        37.     To the extent that New Line and Warner Bros. have not paid Evergreen for the

 rights to produce the so-called sequel, "The Conjuring 2: Enfield," New Line and Warner Bros.


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 are, self-evidently, again claiming that the OQA does not cover their production based upon

 “The Enfield Poltergeist” Case File. New Line and Warner Bros. have thus not been granted the

 contractual right to produce the production based upon “The Enfield Poltergeist” Case File by

 Evergreen and Mr. DeRosa-Grund and any such action by them would be in violation of the

 rights which Evergreen and Mr. DeRosa-Grund exclusively secured from the Warrens under the

 Warren Agreements.

        38.    In other words, any production based upon "The Enfield Poltergeist" Case File - if

 not under the OQA - would be a violation of the rights of Evergreen and Mr. DeRosa-Grund

 under the Warren Agreements.

        39.    Plaintiffs believe that New Line is attempting to justify their actions and to

 circumvent the OQA, Amendment and Producer Agreement by attempting to claim that their

 productions based upon the "Annabelle" and "The Enfield Poltergeist" Case Files are somehow

 based upon a parallel set of rights to those owned by Evergreen and Mr. DeRosa-Grund, namely,

 rights in connection with chapters from The Demonologist acquired from Mrs. Warren and/or

 Mr. Spera and Graymalkin Media, LLC ("Graymalkin Media").

        40.    It is more than coincidental that James Wan ("Mr. Wan"), the director of "The

 Conjuring" theatrical motion picture, and listed by New Line as a producer of New Line and

 Warner Bros.' "Annabelle" and "The Conjuring 2: Enfield" theatrical motion pictures, is

 intimately aware of the content contained in The Demonologist, as well as an openly admitted

 huge fan of The Demonologist. Indeed, on or about November 29, 2011, Mr. Wan posted the

 following to his personal Twitter page: "I watch/read a lot of scary stories. But [f**k], THE

 DEMONOLOGIST, true life account of Ed & Lorraine Warren, is the scariest book I've read."


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 This statement demonstrates that New Line is purportedly relying on a parallel set of rights to

 those owned by Evergreen and Mr. DeRosa-Grund, namely, rights in connection with chapters

 from The Demonologist acquired from Mrs. Warren and/or Mr. Spera and Graymalkin Media.

 However, New Line does not possess any such rights.

        41.     On or about November 20, 1978, Mrs. Warren and Mr. Warren entered into, and

 executed, an agreement with Mr. Brittle concerning publishing rights, and certain ancillary rights

 related thereto, in and to a book entitled The Demonologist. The agreement was amended, and

 executed on or about April 16, 1990 (collectively, the agreement and the amendment are

 collectively referred to herein as the "Collaboration Agreement"). As set forth in the

 Collaboration Agreement, The Demonologist concerned Mrs. Warren and Mr. Warren's "lives

 and experiences as psychic investigators."

        42.     Among other things, in the Collaboration Agreement, Mrs. Warren, Mr. Warren,

 and Mr. Brittle agreed as follows:

                All contracts for the sale, lease, license or other disposition of any
                and all rights in to [The Demonologist] now existing or which may
                hereafter come into existence shall require the unanimous consent
                of [Mr. Brittle] and [Mrs. Warren and Mr. Warren].

        43.     The Collaboration Agreement is valid and existing and continues in full force and

 effect to the present day.

        44.     Following months of substantial work by Mr. Brittle, including, but not limited to,

 extensive interviews with Mrs. Warren and Mr. Warren, site-visits, testimonials, theological

 research and steps to vet the accuracy of The Demonologist by two Roman Catholic exorcists,




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 The Demonologist was first released in or about December 1980 by Prentice-Hall, Inc. (“Prentice

 Hall”).

           45.   The Demonologist focused on several experiences associated with Mrs. Warren

 and Mr. Warren.

           46.   One experience which The Demonologist focused upon was entitled "Annabelle."

 As discussed in the relevant chapter of The Demonologist, "Annabelle" involved a Raggedy Ann

 doll used by a demonic spirit that terrified a family.

           47.   Another experience which The Demonologist focused upon was entitled "The

 Enfield Voices." As discussed in the relevant chapter of The Demonologist, "The Enfield

 Voices" involved a single mother, Margaret Hodgson, who called police to her home in Enfield,

 England after two of her four children claimed that furniture was moving and knocking sounds

 were heard on walls. A female police constable witnessed a chair slide across the floor on its

 own. "The Enfield Voices" involved demonic voices, loud noises, thrown rocks and toys,

 overturned chairs and levitation of children.

           48.   Since it was first released in 1980, by Prentice Hall, The Demonologist has been

 re-released several times, always pursuant to and in compliance with the terms of the

 Collaboration Agreement, including, most recently, in or about September 2002 through

 iUniverse.

           49.   In or about June 2013, notwithstanding the long-existing Collaboration

 Agreement, Mr. Brittle received a telephone call from David Zindel ("Mr. Zindel"), the principal

 and owner of Graymalkin Media. In the phone call, Mr. Zindel informed Mr. Brittle that Mr.

 Spera, Mrs. Warren's son-in-law, had "taken charge" of The Demonologist and would now


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 "change publishers" from iUniverse to Graymalkin Media. Mr. Zindel further informed Mr.

 Brittle that he would send a contract to Mr. Brittle for his signature and represented that Mrs.

 Warren had already executed a contract with Graymalkin Media "changing publishers" for The

 Demonologist from iUniverse to Graymalkin Media.

        50.     Among other things, Mr. Brittle correctly informed Mr. Zindel that Mr. Spera had

 no right or authority to "change publishers" in connection with The Demonologist in view of the

 Collaboration Agreement and, in particular, that the Collaboration Agreement requires the

 unanimous approval of both Mr. Brittle and Mrs. Warren before any action to "change

 publishers" can be taken with respect to The Demonologist.

        51.     Notwithstanding the fact that in purporting to "change publishers" Mrs. Warren,

 Mr. Spera and Mr. Zindel had not been acting in compliance with the Collaboration Agreement,

 Mr. Brittle agreed to review the contract proposed by Mr. Zindel. However, on or about June 22,

 2013, Mr. Brittle rejected the proposed contract (as was his right).

        52.     Over the ensuing months, Mr. Zindel aggressively pursued Mr. Brittle, including,

 but not limited to, sending him a letter on or about July 3, 2013, untenably saying, among other

 things, that "Mrs. Warren is free to exploit [The Demonologist] on a non-exclusive basis subject

 to her obligation to pay you your proportional share of the profits." In other words, Mr. Zindel

 did not acknowledge the existence of the Collaboration Agreement, but rather, incorrectly

 claimed that Mrs. Warren could proceed as a copyright co-owner without Mr. Brittle's

 involvement (i.e., that Mrs. Warren merely had an obligation to account to Mr. Brittle regarding

 any monies she received).




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        53.     As a result, on or about August 3, 2013, Mr. Brittle spoke with Mrs. Warren

 directly and explained that the Collaboration Agreement, among other things, prohibits unilateral

 action by Mrs. Warren, or any of her agents, including Mr. Spera. Instead of discussing the issue

 with Mr. Brittle, Mrs. Warren told Mr. Brittle to speak with Mr. Spera.

        54.     Shortly after the conversation with Mrs. Warren, Mr. Spera responded to Mr.

 Brittle via e-mail on or about August 3, 2013. In summary, Mr. Spera ignored the existence of

 the Collaboration Agreement and rejected the fact that Mr. Brittle's approval was required for

 any action to be taken to "change publishers" with respect to The Demonologist.

        55.     On or about August 4, 2013, Mr. Brittle responded to Mr. Spera's e-mail. In

 relevant part, Mr. Brittle noted the existence of the Collaboration Agreement.

        56.     That same day, Mr. Spera responded and, in relevant part, acknowledged the

 existence of the Collaboration Agreement and the obligation upon Mrs. Warren and Mr. Brittle

 to unanimously agree to "change publishers" for The Demonologist, but then said: "Don't call

 [Mrs. Warren] again. Don't e-mail me again. You were made aware of the publishing deal. You

 chose not [t]o participate.    It's now being handled by the publisher.          Send your petty

 correspondence to them."

        57.     Meanwhile, in our about late July 2013, Mr. Zindel, in direct violation of the

 Collaboration Agreement and without Mr. Brittle's knowledge or consent, at least twice

 contacted the Author's Guild and informed the Author's Guild that Graymalkin Media was the

 "new publisher" of The Demonologist.         More specifically, Mr. Zindel attempted on two

 occasions, without Mr. Brittle’s knowledge or permission, to have the Author's Guild send him

 all "permissions" related to The Demonologist. Mr. Zindel fraudulently represented that he was


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 allowed to do this on the basis that Mrs. Warren controls two-thirds (2/3) of the copyright of The

 Demonologist. However, the Author's Guild was aware that The Demonologist was actually

 jointly and equally held and controlled by Mr. Brittle and Mrs. Warren insofar as Paragraph 8 of

 the Collaboration Agreement requires "unanimous consent" in order to take any action with

 respect to The Demonologist. Accordingly, the Author's Guild was aware that the actions

 requested by Mr. Zindel required unanimous permission of Mr. Brittle and Mrs. Warren and

 properly rejected the request. The Author's Guild, in turn, alerted Mr. Brittle to the fact that Mr.

 Zindel contacted the Author's Guild and that the request had been denied because Mr. Zindel

 could not provide Mr. Brittle's approval (such approval had, of course, never been given to Mr.

 Zindel).

        58.     Mr. Brittle was advised by the Author's Guild to file a formal complaint, but Mr.

 Brittle elected not to do so. Instead, over the next several months, Mr. Brittle and Mr. Zindel

 discussed the possibility of a contract with Graymalkin Media concerning The Demonologist.

 Ultimately, however, Mr. Brittle and Mr. Zindel could not reach an agreement

        59.     Inexplicably, without Mr. Brittle's approval, consent or knowledge, Mrs. Warren,

 Mr. Spera, and Graymalkin Media nevertheless moved forward and republished The

 Demonologist with Graymalkin Media as the "new publisher," in clear violation of the

 Collaboration Agreement, among other things.

        60.     In an after-the-fact attempt to legitimize the actions of Mrs. Warren, Mr. Spera

 and Graymalkin Media, Mr. Zindel sent Mr. Brittle an email on April 10, 2014 in which he made

 false statements and assertions, to wit:




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                [Mrs. Warren's] side has told me that no collaboration agreement
                was ever signed.

                ***

                Even though [Mrs. Warren] owns 2/3 of the book according to US
                Copyright law ...

        61.     The effort by Mrs. Warren to try to claim that she never signed the Collaboration

 Agreement is part of a fraudulent modus operandi that Mrs. Warren has sought to use in the past.

 On December 9, 2009, Robert Unkel contacted Tony DeRosa-Grund and claimed that he had an

 agreement with Mrs. Warren to act as her manager. When questioned regarding Mr. Unkel's

 claim, Mrs. Warren advised Mr. DeRosa-Grund and his legal representative in a telephone

 conference call, that she had never signed an agreement with Mr. Unkel. Mr. Unkel then

 produced a copy of the signed agreement, and further added to his claim that he had paid a large

 advance payment to Mrs. Warren; whereupon Mrs. Warren recanted and admitted that she had

 signed the agreement, but claimed that she had never received any payment from Mr. Unkel.

 Mr. Unkel then provided evidence of payment. Whereupon Mrs. Warren recanted on this point

 as well.

        62.     Mrs. Warren's fraudulent claim that she did not sign the Collaboration

 Agreement; refuted by the testimony of Judy Penney who is prepared to testify that she

 witnessed the execution of the Collaboration Agreement by Mrs. Warren, Mr. Warren and Mr.

 Brittle, and that she thereafter signed the Collaboration Agreement herself as a witness in their

 presence.

        63.     Mrs. Warren's fraudulent claim that she did not sign the Collaboration Agreement

 is untrue given the fact that Mr. Brittle is listed as the author of The Demonologist copyright and


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 Mrs. Warren's rights as a copyright claimant flow, if at all, via transfer through a "written

 agreement." As such, if Mrs. Warren presses her fraudulent claim that she did not sign the

 Collaboration Agreement, she thereby admits that she has no claim in the copyright to The

 Demonologist.

        64.      Mrs. Warren's fraudulent claim that she did not sign the Collaboration Agreement

 is untrue given the fact that she accepted advances paid to her by the publisher on the original

 contract.

        65.      Finally, Mrs. Warren's fraudulent claim that she did not sign the Collaboration

 Agreement is untrue given the testimony of a handwriting expert who will confirm that the

 signature on the Collaboration Agreement is, in fact, Mrs. Warren's signature.

        66.      Mr. Zindel's claim that "[Mrs. Warren] owns two-thirds (2/3) of the book

 according to US Copyright law" is in conflict with the express terms of the Collaboration

 Agreement and false.

        67.      In accordance with the terms of the Collaboration Agreement, rights in The

 Demonologist are owned and controlled on an equal basis by: (i) Mr. Brittle; and (ii) the

 Warrens, i.e., neither party can sell, lease, license or otherwise dispose of rights in and to The

 Demonologist without the permission of the other.

        68.      Other than the limited publishing rights covered by the Collaboration Agreement,

 all other rights associated with the Case Files, as well as the life rights of Mrs. Warren and Mr.

 Warren, have been granted to Evergreen and Mr. DeRosa-Grund by the Warren Agreements.




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        69.     Mrs. Warren, and by extension Mr. Spera and Graymalkin Media, have no rights

 in connection with "The Demonologist" that can be exploited by New Line and/or Warner Bros.

 without Mr. Brittle's permission.

        70.     Mr. Brittle has given no such permission to Mrs. Warren, Mr. Spera, Graymalkin

 Media, New Line and/or Warner Bros to further exploit "The Demonologist."

        71.     Moreover, Mrs. Warren, Mr. Spera, and Graymalkin Media, even if acting with

 Mr. Brittle, have no such rights which can be granted to New Line and/or Warner Bros inasmuch

 as all such rights have been granted by the Warrens to Evergreen and Mr. DeRosa-Grund under

 the Warren Agreements.

        72.     Moreover, Mr. Brittle has previously granted an option to Evergreen to acquire

 his rights to further exploit "The Demonologist" (the "Demonologist Option"), which rights

 Evergreen acknowledges and agrees are exercisable if and only if Evergreen secures

 corresponding rights from Mrs. Warren.

        73.     In other words, much like Mr. Zindel represented in his March 10, 2014 e-mail

 that, in view of Graymalkin Media's agreement with Mrs. Warren, no further exploitation of The

 Demonologist can occur without the involvement of Graymalkin Media, in view of Evergreen's

 Demonologist Option with Mr. Brittle, no further exploitation of "The Demonologist" can occur

 without the involvement of Evergreen.

        74.     In sum, in view of the facts set forth herein, it appears that Mrs. Warren, Mr.

 Spera and/or Graymalkin Media, in addition to republishing The Demonologist in violation of the

 Collaboration Agreement, upon information and belief, have entered into an illegal agreement

 and/or otherwise assisted and/or are assisting New Line and Warner Bros. to illegally create,


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 produce and distribute a direct-to-video and/or a theatrical motion picture based on the

 "Annabelle" chapter in Mr. Brittle’s The Demonologist publication as well as a theatrical motion

 picture based on "The Enfield Voices" chapter in Mr. Brittle’s The Demonologist publication in

 violation of Evergreen and Mr. DeRosa-Grund's rights under the Warren Agreements.

        75.      As a result of the aforesaid conduct, Plaintiffs have been -- and continue to be --

 damaged.

              COUNT I: TORTIOUS INTERFERENCE WITH CONTRACT
  (Evergreen and Mr. DeRosa-Grund Against Mrs. Warren, Mr. Spera and Graymalkin
                                    Media)

        76.      Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained herein above.

        77.      At all relevant times, there were valid, existing contracts between Mr. Warren,

 Mrs. Warren, Mr. DeRosa-Grund and Evergreen (i.e., the aforementioned "Warren

 Agreements"). Upon information and belief, Mrs. Warren, Mr. Spera and Graymalkin Media

 knew of the existence of the Warren Agreements as well as the contents, terms and conditions

 thereof, but nevertheless interfered with the Warren Agreements.

        78.      Among other things, Mrs. Warren, Mr. Spera and Graymalkin Media have

 interfered with the Warren Agreements by collaborating with New Line and Warner Bros. in

 connection with the producing and/or creating of direct-to-video and/or theatrical motion

 pictures based on the "Annabelle" and "The Enfield Voices" chapters as they appear in The

 Demonologist.




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        79.     Moreover, Mrs. Warren, Mr. Spera and Graymalkin Media have acted with

 malice and in conscious and deliberate disregard to the rights and/or interests of Evergreen and

 Mr. DeRosa-Grund.

        80.     As a direct and proximate result of Mrs. Warren, Mr. Spera and Graymalkin

 Media's conduct, Evergreen and Mr. DeRosa-Grund have been damaged in an amount to be

 determined at trial.

                  COUNT II: TORTIOUS INTERFERENCE WITH CONTRACT
              (Evergreen and Mr. DeRosa-Grund Against Warner Bros. and New Line)

        81.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained herein above.

        82.     At all relevant times, there was a valid, existing contract between Mr. Brittle and

 Evergreen and Mr. DeRosa-Grund, namely, the Demonologist Option. Upon information and

 belief, Warner Bros. and New Line knew of the existence of the Demonologist Option, but they

 nevertheless interfered with the Demonologist Option.

        83.     Among other things, Warner Bros. and New Line have interfered with the

 Demonologist Option by producing and/or creating direct-to-video and/or theatrical motion

 pictures based on content from The Demonologist.

        84.     Moreover, Warner Bros. and New Line have acted with malice and in conscious

 and deliberate disregard to the rights and/or interests of Evergreen and Mr. DeRosa-Grund.

        85.     As a direct and proximate result of Warner Bros. and New Line's conduct,

 Evergreen and Mr. DeRosa-Grund have been damaged in an amount to be determined at trial.




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                     COUNT III: COPYRIGHT INFRINGEMENT
          (Evergreen and Mr. DeRosa-Grund Against Warner Bros and New Line)

        86.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        87.     As set forth herein, Evergreen and Mr. DeRosa-Grund own or are exclusively

 granted the right to exercise an option to exploit copyrights in The Demonologist.

        88.     Warner Bros. and New Line's infringing acts are willful, intentional and

 purposeful in disregard of and with indifference to Evergreen and Mr. DeRosa-Grund's rights.

        89.     Warner Bros. and New Line's infringing acts have been committed with prior

 notice and knowledge of Evergreen and Mr. DeRosa-Grund's rights.

        90.     Accordingly, Warner Bros. and New Line are liable, jointly and severally, to

 Evergreen and Mr. DeRosa-Grund for copyright infringement pursuant to 17 U.S.C. §§ 101, 501,

 et seq., and for damages in an amount to be proven at trial. Evergreen and Mr. DeRosa-Grund

 are also entitled to Warner Bros. and New Line's profits attributable to the infringement,

 pursuant to 17 U.S.C. § 504, including an accounting of and a constructive trust with respect to

 such profits. In the alternative, Evergreen and Mr. DeRosa-Grund are entitled to statutory

 damages pursuant to 17 U.S.C. § 504(c). These statutory damages should be enhanced by 17

 U.S.C. § 504(c)(2) because of Warner Bros. and New Line's willful infringement and conduct.

             COUNT IV: CONTRIBUTORY COPYRIGHT INFRINGEMENT
  (Evergreen and DeRosa-Grund Against Mrs. Warren, Mr. Spera and Graymalkin Media)

        91.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.




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        92.        As set forth herein, Evergreen and Mr. DeRosa-Grund own or are exclusively

 granted the right to exercise an option to exploit copyrights in The Demonologist.

        93.        Mrs. Warren, Mr. Spera and Graymalkin Media's infringing acts are willful,

 intentional and purposeful in disregard of and with indifference to Evergreen and Mr. DeRosa-

 Grund's rights.

        94.        Mrs. Warren, Mr. Spera and Graymalkin Media's infringing acts have been

 committed with prior notice and knowledge of Evergreen and Mr. DeRosa-Grund's rights.

        95.        Mrs. Warren, Mr. Spera and Graymalkin Media contributed to Warner Bros. and

 New Line's infringing actions by falsely and illegally advising Warner Bros. and New Line that

 they could create and/or produce direct-to-video and/or theatrical motion pictures based upon the

 "Annabelle" and "The Enfield Voices" chapters as they appear in The Demonologist.

        96.        Accordingly, Mrs. Warren, Mr. Spera and Graymalkin Media are liable, jointly

 and severally, to Evergreen and Mr. DeRosa-Grund for copyright infringement pursuant to 17

 U.S.C. §§ 101, 501 et seq, and for damages in an amount to be proven at trial. Evergreen and

 Mr. DeRosa-Grund are also entitled to Mrs. Warren, Mr. Spera and Graymalkin Media's profits

 attributable to the infringement, pursuant to 17 U.S.C. § 504, including an accounting of and a

 constructive trust with respect to such profits. In the alternative, Evergreen and Mr. DeRosa-

 Grund are entitled to statutory damages pursuant to 17 U.S.C. § 504(c). These statutory damages

 should be enhanced by 17 U.S.C. § 504(c)(2) because of Mrs. Warren, Mr. Spera and

 Graymalkin Media's willful infringement and conduct.




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                             COUNT V: BREACH OF CONTRACT
                               (Mr. Brittle Against Mrs. Warren)

        97.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        98.     The Collaboration Agreement (as amended) is a valid, binding and enforceable

 contract.

        99.     Mr. Brittle has performed all of his obligations pursuant thereto, and all

 conditions for Mrs. Warren's performance have occurred.

        100.    By engaging in the above-referenced conduct, including but not limited to,

 permitting Graymalkin Media to republish The Demonologist without Mr. Brittle’s consent

 and/or approval, Mrs. Warren has breached the Collaboration Agreement.

        101.    As a direct and proximate result of Mrs. Warren's breach, Mr. Brittle has been

 damaged in an amount to be determined at trial.

                   COUNT VI: BREACH OF THE IMPLIED COVENANT
                       OF GOOD FAITH AND FAIR DEALING
                          (Mr. Brittle Against Mrs. Warren)

        102.    Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        103.    There is implicit in every contract an implied covenant of good faith and fair

 dealing. The Collaboration Agreement (as amended) contains an implied covenant of good faith

 and fair dealing under which the parties must refrain from arbitrary or unreasonable conduct

 which has the effect of preventing the other party to the contract from receiving the fruits of that

 bargain.



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          104.   Mr. Brittle has duly performed all covenants, conditions and promises required to

 be performed by them under the Collaboration Agreement in accordance with the terms and

 conditions, except for those obligations that have been prevented, delayed or excused by acts or

 omissions of Mrs. Warren.

          105.   By permitting Graymalkin Media to republish The Demonologist without Mr.

 Brittle’s consent and/or approval, Mrs. Warren has acted in bad faith and prevented Mr. Brittle

 from receiving the fruits of the bargain under the Collaboration Agreement.

          106.   Accordingly, by engaging in the above-referenced conduct, Mrs. Warren has

 breached the implied covenant of good faith and fair dealing. As a direct and proximate result of

 Mrs. Warren's breach, Mr. Brittle has been damaged in an amount to be determined at trial.

                                      COUNT VII: FRAUD
                                (Mr. Brittle Against Mrs. Warren)

          107.   Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

          108.   The foregoing acts of Ms. Warren constitute fraud.

          109.   Mrs. Warren has intentionally misrepresented to third-parties, namely, Mr. Zindel

 and Graymalkin Media, that she did not sign or enter into the Collaboration Agreement and,

 thereby, misrepresented to Mr. Zindel and Graymalkin Media that Mr. Brittle does not have

 certain rights related to The Demonologist -- rights he expressly has pursuant to the

 Collaboration Agreement. The fact that such false and fraudulent misrepresentations were made

 was confirmed in the April 10, 2014 e-mail from Mr. Zindel to Mr. Brittle referenced herein

 above.



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        110.    The effort by Mrs. Warren to try to claim that she never signed the Collaboration

 Agreement is part of a fraudulent modus operandi that Mrs. Warren has sought to use in the past.

        111.    Moreover, Mrs. Warren fraudulently concealed from Mr. Brittle the fact that she

 was seeking to change the publisher of The Demonologist from iUniverse to Graymalkin Media,

 as evidenced by the fact that she signed an agreement with Graymalkin Media prior to involving

 or otherwise advising Mr. Brittle of her actions.

        112.    Accordingly, Mrs. Warren has committed fraud.

        113.    Moreover, Mrs. Warren has acted with malice and in conscious and deliberate

 disregard to the rights and/or interests of Mr. Brittle.

        114.    As a result of Mrs. Warren's fraud, Mr. Brittle has been damaged in an amount to

 be determined at trial.

               COUNT VIII: TORTIOUS INTERFERENCE WITH CONTRACT
                  (Mr. Brittle Against Mr. Spera and Graymalkin Media)

        115.    Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained herein above.

        116.    At all relevant times, there was a valid, existing contract between Mr. Brittle and

 Mrs. Warren, namely, the Collaboration Agreement. Mr. Spera and Graymalkin Media knew of

 the existence of the Collaboration Agreement as well as the contents, terms and conditions

 thereof, but Mr. Spera and Graymalkin Media nevertheless interfered with the Collaboration

 Agreement.




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        117.    Among other things, Mr. Spera and Graymalkin Media interfered with the

 Collaboration Agreement by re-releasing The Demonologist without "unanimous approval",

 namely, without Mr. Brittle's approval, as is required by the Collaboration Agreement.

        118.    Moreover, Mr. Spera and Graymalkin Media have acted with malice and in

 conscious and deliberate disregard to the rights and/or interests of Mr. Brittle.

        119.    As a direct and proximate result of Mr. Spera and Graymalkin Media's, Mr.

 Brittle has been damaged in an amount to be determined at trial.

                       COUNT IX: COPYRIGHT INFRINGEMENT
                    (Mr. Brittle Against Mr. Spera and Graymalkin Media)

        120.    Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        121.    Mr. Brittle is an owner of The Demonologist copyright.

        122.    Mr. Spera and Graymalkin Media's infringing acts are willful, intentional and

 purposeful in disregard of and with indifference to Mr. Brittle's rights.

        123.    Mr. Spera and Graymalkin Media's infringing acts have been committed with

 prior notice and knowledge of Mr. Brittle's rights.

        124.    Accordingly, Mr. Spera and Graymalkin Media are liable, jointly and severally, to

 Mr. Brittle for copyright infringement pursuant to 17 U.S.C. §§ 101, et seq. and for damages in

 an amount to be proven at trial. Mr. Brittle is also entitled to Mr. Spera and Graymalkin Media's

 profits attributable to the infringement, pursuant to 17 U.S.C. § 504, including an accounting of

 and a constructive trust with respect to such profits. In the alternative, Mr. Brittle is entitled to

 statutory damages pursuant to 17 U.S.C. § 504(c). These statutory damages should be enhanced



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 by 17 U.S.C. § 504(c)(2) because of Mr. Spera and Graymalkin Media's willful infringement and

 conduct.

               COUNT X: TORTIOUS INTERFERENCE WITH CONTRACT
                   (Mr. Brittle Against Warner Bros. and New Line)

        125.    Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained herein above.

        126.    At all relevant times, there was a valid, existing contract between Mr. Brittle and

 Mrs. Warren, namely, the Collaboration Agreement. Upon information and belief, Warner Bros.

 and New Line knew of the existence of the Collaboration Agreement as well as the contents,

 terms and conditions thereof, but nevertheless interfered with the Collaboration Agreement.

        127.    Among other things, Warner Bros. and New Line interfered with the

 Collaboration Agreement by exploiting chapters from The Demonologist, namely, the

 "Annabelle" and "The Enfield Voices" chapters.

        128.    As a direct and proximate result of Warner Bros. and New Line's conduct, Mr.

 Brittle has been damaged in an amount to be determined at trial.

                         COUNT XI: COPYRIGHT INFRINGEMENT
                        (Mr. Brittle Against Warner Bros. and New Line)

        129.    Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        130.    Mr. Brittle is an owner of The Demonologist copyright.

        131.    Warner Bros. and New Line's infringing acts are willful, intentional and

 purposeful in disregard of and with indifference to Mr. Brittle's rights.




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        132.    Warner Bros. and New Line's infringing acts have been committed with prior

 notice and knowledge of Mr. Brittle's rights.

        133.    Accordingly, Warner Bros. and New Line are liable, jointly and severally, to Mr.

 Brittle for copyright infringement pursuant to 17 U.S.C. §§ 101, 501, et seq., and for damages in

 an amount to be proven at trial. Mr. Brittle is also entitled to Warner Bros. and New Line's

 profits attributable to the infringement, pursuant to 17 U.S.C. § 504, including an accounting of

 and a constructive trust with respect to such profits. In the alternative, Mr. Brittle is entitled to

 statutory damages pursuant to 17 U.S.C. § 504(c). These statutory damages should be enhanced

 by 17 U.S.C. § 504(c)(2) because of Warner Bros. and New Line's willful infringement and

 conduct.

                         COUNT XII: DECLARATORY JUDGMENT
                            (Mr. Brittle Against All Defendants)

        134.    Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        135.    An actual and justiciable controversy has arisen and now exists between Mr.

 Brittle and all of the Defendants concerning their respective rights in connection with The

 Demonologist. Mr. Brittle has never given any of the Defendants authorization, consent and/or

 permission to exploit and/or otherwise use The Demonologist or any portion thereof for any

 purpose whatsoever. Notwithstanding that fact, Defendants have exploited and/or otherwise

 used (and are exploiting and/or otherwise using) The Demonologist and/or portions thereof

 without Mr. Brittle's authorization, consent and/or permission.




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        136.    Accordingly, pursuant to 28 U.S.C. § 2201, Mr. Brittle is entitled to a declaratory

 judgment that none of the Defendants have any right and/or authority to exploit and/or use The

 Demonologist, including, but not limited to, any portion thereof, without the consent and/or

 approval of Mr. Brittle.

                             COUNT XIII: CIVIL CONSPIRACY
                             (All Plaintiffs Against All Defendants)

        137.    Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        138.    Defendants, acting in concert and in furtherance of a conspiracy, have acted

 together to interfere with the Collaboration Agreement, the Warren Agreements and the

 Demonologist Option in order to deprive Plaintiffs of their rights.

        139.    Together, in furtherance of the conspiracy, Defendants have committed the acts

 complained of herein.

        140.    As a proximate result of Defendants' conduct, Plaintiffs have been damaged.

                                             RELIEF 

        WHEREFORE, Plaintiffs, EVERGREEN MEDIA HOLDINGS, LLC, TONY DEROSA-GRUND

 and GERALD D. BRITTLE, respectfully request that the court grant the following relief against

 Defendants, LORRAINE WARREN, TONY SPERA, GRAYMALKIN MEDIA, LLC, WARNER BROS.

 ENTERTAINMENT, INC. and NEW LINE PRODUCTIONS, INC., as follows:

        1.      Awarding Plaintiffs actual damages;

        2.      Awarding Plaintiffs punitive damages in an amount set by the trier of fact;

         3.     Awarding Evergreen and Mr. DeRosa-Grund damages for tortious interference
 with a contract by Mrs. Warren, Mr. Spera and Graymalkin Media and by Warner Bros. and New


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 Line;

        4.      Awarding Evergreen and Mr. DeRosa-Grund damages pursuant to 17 U.S.C. §§
 101, 501, et seq. for copyright infringement by Warner Bros. and/or New Line;

         5.     In addition to Evergreen and Mr. DeRosa-Grund's actual damages, awarding
 Evergreen and/or Mr. DeRosa-Grund the profits made by Warner Bros. and/or New Line from
 their wrongful acts pursuant to 17 U.S.C. § 504;

        6.     In the alternative, awarding Evergreen and/or Mr. DeRosa-Grund statutory
 damages pursuant to 17 U.S.C. § 504(c), as well as enhanced statutory damages pursuant to 17
 U.S.C. § 504(c)(2);

        7.     Awarding Evergreen and Mr. DeRosa-Grund damages pursuant to 17 U.S.C. §§
 101, 501, et seq for contributory copyright infringement against Mrs. Warren, Mr. Spera and
 Graymalkin Media;

        8.    In addition to Evergreen and Mr. DeRosa-Grund's actual damages, awarding
 Evergreen and/or Mr. DeRosa-Grund the profits made by Mrs. Warren, Mr. Spera and
 Graymalkin Media from their wrongful acts pursuant to 17 U.S.C. § 504;

       9.     In the alternative, awarding Evergreen and/or Mr. DeRosa-Grund statutory
 damages pursuant to 17 U.S.C. § 504(c), as well as enhanced statutory damages pursuant to 17
 U.S.C. § 504(c)(2) for contributory infringement against Mrs. Warren, Mr. Spera and
 Graymalkin Media;

         10.   Awarding Mr. Brittle damages for breach of contract by Mrs. Warren;

         11.    Awarding Mr. Brittle damages for breach of the implied covenant of good faith
 and fair dealing by Mrs. Warren;

         12.   Awarding Mr. Brittle damages for the fraudulent conduct of Mrs. Warren;

        13.   Awarding Mr. Brittle damages for tortious interference with a contract by Mr.
 Spera, Graymalkin Media, Warner Bros., and New Line;

        14.     Awarding Mr. Brittle damages pursuant to 17 U.S.C. §§ 101, 501 et seq. for
 copyright infringement by Mr. Spera , Graymalkin Media, Warner Bros., and/or New Line;

        15.     In addition to Mr. Brittle's actual damages, awarding Mr. Brittle the profits made
 by Mr. Spera, Graymalkin Media, Warner Bros., and/or New Line from their wrongful acts
 pursuant to 17 U.S.C. § 504;



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         16.    In the alternative, awarding Mr. Brittle statutory damages pursuant to 17 U.S.C. §
 504(c), as well as enhanced statutory damages pursuant to 17 U.S.C. § 504(c)(2);

         17.    Entering a declaratory judgment that none of the Defendants have any right and/or
 authority to exploit and/or use The Demonologist, including, but not limited to, any portion
 thereof, without the authorization, consent and/or permission of Mr. Brittle.

        18.     Awarding Plaintiffs damages for civil conspiracy by Defendants;

        19.    Awarding an accounting to Plaintiffs for the gains and profits of Defendants and
 all damages sustained by Plaintiffs by reason of Defendants' unlawful acts as alleged herein
 pursuant;

        20.     Awarding the maximum pre-judgment and post-judgment interest as allowed by
 law;

        21.      Awarding Plaintiffs their attorneys' fees and cost, including, but not limited to,
 attorneys' fees and costs pursuant to 17 U.S.C. § 505;

         22.    Enjoining and restraining Defendants from: (i) further publication of The
 Demonologist permanently without the permission of Mr. Brittle; and/or (ii) proceeding with
 development and production of a direct-to-video and/or theatrical motion picture based upon
 either the "Annabelle" or "The Enfield Voices" chapters in The Demonologist;

        23.    Awarding Plaintiffs any other remedy to which they may be entitled to as
 provided under applicable federal or state law; and

        24.     Awarding Plaintiffs such other and further relief as the Court might deem proper.

                                          Jury Demand

        Plaintiffs hereby demand a jury trial on issues so triable pursuant to Rule 38 of the

 Federal Rules of Civil Procedure.




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                                                                                    Respectfully submitted,



                                                                                    By:___/s/ Sanford L. Dow
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                                                                                    ATTORNEY-IN-CHARGE FOR PLAINTIFFS


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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 EVERGREEN MEDIA HOLDINGS, LLC,            )
 TONY DEROSA-GRUND and                     )
 GERALD D. BRITTLE                         )
                                           )
             Plaintiffs,                   )
                                           )
                     v.                    )                Civil Action No.
                                           )
 LORRAINE WARREN, TONY SPERA and           )                JURY TRIAL DEMANDED
 GRAYMALKIN MEDIA, LLC                     )
                                           )
             Defendants.                   )
 __________________________________________)

                                         COMPLAINT

        Plaintiffs, EVERGREEN MEDIA HOLDINGS, LLC, TONY DEROSA-GRUND            AND    GERALD D.

 BRITTLE (collectively "Plaintiffs"), for their Complaint against Defendants, LORRAINE WARREN,

 TONY SPERA, GRAYMALKIN MEDIA, LLC, by and through their attorneys Grimes LLC, allege as

 follows:

                                 NATURE OF THE ACTION

        1.     This is an action for breach of contract, breach of the implied covenant of good

 faith and fair dealing, fraud, tortious interference with a contract, copyright infringement and

 declaratory judgment.

                                        THE PARTIES

        2.     Plaintiff Evergreen Media Holdings, LLC ("Evergreen"), is a Texas limited

 liability company with its principal place of business in Montgomery County, Texas.

        3.     Plaintiff Tony DeRosa-Grund ("Mr. DeRosa-Grund") is an individual residing in

 Montgomery County, Texas. Mr. DeRosa-Grund is a motion picture producer and the Executive

 Chairman of Evergreen.
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        4.      Plaintiff Gerald D. Brittle ("Mr. Brittle") is an individual residing in Richmond,

 Virginia. Mr. Brittle is a writer and is the author of The Demonologist, among other works.

        5.      Defendant Lorraine Warren ("Mrs. Warren") is an individual residing at 30

 Knollwood Street, Monroe, Connecticut 06468.

        6.      Defendant Tony Spera ("Mr. Spera") is an individual residing at 122 Mine Hill

 Road, New Milford, Connecticut 06776.

        7.      Defendant Graymalkin Media, LLC ("Graymalkin") is a California limited

 liability company with its principal place of business at 1413 Greenfield Avenue, Suite 103, Los

 Angeles, California 90025.

                                 JURISDICTION AND VENUE

        8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. §§ 1331 (federal question) and 1338(a) (acts of Congress relating to patents, trademarks

 and copyrights), 28 U.S.C. §§ 2201, et seq. (declaratory judgment act) and 28 U.S.C. § 1367

 (supplemental jurisdiction over state claims). This Court also has jurisdiction pursuant to federal

 diversity jurisdiction, 28 U.S.C. § 1332, as the parties are completely diverse in citizenship and

 the amount in controversy exceeds $75,000.

        9.      Personal jurisdiction over non-resident Defendant Graymalkin is proper because,

 inter alia, this lawsuit: (i) arises from acts and/or transactions occurring within and/or directed

 towards Connecticut; (ii) is connected with acts and/or transactions occurring within and/or

 directed towards Connecticut; and/or (iii) relates to the purposeful acts and/or transactions of the

 non-resident Defendant, and those purposeful acts occurred within and/or were directed towards




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 Connecticut. The assumption of jurisdiction by this Court over the non-resident Defendant

 Graymalkin does not offend traditional notions of fair play and substantial justice.

        10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because, inter alia,

 a substantial part of the acts complained of herein occurred in this jurisdiction.

                              FACTS COMMON TO ALL COUNTS

        11.     Mrs. Warren and her late husband, Ed Warren ("Mr. Warren"), were paranormal

 investigators involved in thousands of paranormal investigations over the course of the last five

 decades. Their investigations are part of approximately 8,000 case files compiled by Mrs.

 Warren and Mr. Warren over decades of paranormal investigations (collectively, the

 approximately 8,000 case files are referred to as the "Case Files"). Mr. Warren passed away in

 August 2006.

        12.     Mr. DeRosa-Grund's dealings with Mrs. Warren and Mr. Warren date back nearly

 twenty-three (23) years. Throughout that period, Mr. DeRosa-Grund held thousands of hours of

 discussions with Mr. Warren, and occasionally Mrs. Warren, regarding their Case Files. Indeed,

 during those thousands of hours, Mr. Warren, in particular, would propose and discuss with Mr.

 DeRosa-Grund various Case Files that he felt were particularly suitable for exploitation as a

 theatrical motion picture.

        13.     In 2009, Mr. DeRosa-Grund and the Warrens entered into four agreements (the

 "Warren Agreements") for the exploitation of the Life Stories of the Warrens and the Case Files.

 The Warren Agreements, entered into in Texas and Pennsylvania/Connecticut, were dated May

 6, 2009, June 1, 2009 and June 19, 2009 (two agreements). The Warren Agreements were

 executed: (i) by Mr. DeRosa-Grund on behalf of Evergreen; and (ii) either: (a) by Harrison Smith


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 on behalf of Mrs. Warren and the Estate of Mr. Warren; or (b) by Mrs. Warren personally and by

 Mr. Smith on behalf of Mrs. Warren and the Estate of Mr. Warren. The Warren Agreements

 gave Evergreen and Mr. DeRosa-Grund the exclusive right to exploit film and television rights in

 and to the Life Stories of the Warrens and in and to the Case Files.

        14.     On or about November 20, 1978, Mrs. Warren and Mr. Warren entered into, and

 executed, an agreement with Mr. Brittle concerning publishing rights, and certain ancillary rights

 related thereto, in and to a book to be entitled The Demonologist. The agreement was amended,

 and executed, on or about April 16, 1990 (collectively, the agreement and the amendment are

 collectively referred to herein as the "Collaboration Agreement"). As set forth in the

 Collaboration Agreement, The Demonologist concerned Mrs. Warren and Mr. Warren's "lives

 and experiences as psychic investigators." From the beginning the understanding between Mr.

 Brittle and the Warrens was that all earnings and judgments concerning this literary property be

 conducted on a 50-50 basis, and no action or decisions on said property could be executed on a

 unilateral basis. For the benefit of both parties this understanding was formalized in writing,

 resulting in the cited Agreement on the date above.

        15.     Among other things, in the Collaboration Agreement, Mrs. Warren, Mr. Warren,

 and Mr. Brittle agreed as follows:

                All contracts for the sale, lease, license or other disposition of any
                and all rights in and to [The Demonologist] now existing or which
                may hereafter come into existence shall require the unanimous
                consent of [Mr. Brittle] and [Mrs. Warren and Mr. Warren].




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           16.   The Collaboration Agreement is valid and existing and continues in full force and

 effect to the present day. Throughout, Mr. Brittle has abided -- without exception -- to the terms

 of this Agreement. The Warrens (now Mrs. Warren and Tony Spera) have not.

           17.   Following years of substantial work by Mr. Brittle, including, but not limited to,

 extensive interviews with Mrs. Warren and Mr. Warren, site-visits, testimonials, theological

 research and steps to vet the accuracy of The Demonologist by two Roman Catholic exorcists,

 The Demonologist was first released in or about December 1980 by Prentice-Hall, Inc. (“Prentice

 Hall”).

           18.   The Demonologist focused on several experiences associated with Mrs. Warren

 and Mr. Warren.

           19.   One experience which The Demonologist focused upon was entitled "Annabelle."

 As discussed in the relevant chapter of The Demonologist, "Annabelle" involved a Raggedy Ann

 doll used by a demonic spirit that terrified a family.

           20.   Another experience which The Demonologist focused upon was entitled "The

 Enfield Voices." As discussed in the relevant chapter of The Demonologist, "The Enfield

 Voices" involved a single mother, Margaret Hodgson, who called police to her home in Enfield,

 England after two of her four children claimed that furniture was moving and knocking sounds

 were heard on walls. A female police constable witnessed a chair slide across the floor on its

 own. "The Enfield Voices" involved demonic voices, loud noises, thrown rocks and toys,

 overturned chairs and levitation of children.

           21.   Since it was first released by Prentice Hall in 1980, The Demonologist has been

 re-released several times, always pursuant to and in compliance with the terms of the


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 Collaboration Agreement, including, most recently, in or about September 2002 through

 iUniverse.

        22.     In or about June 2013, notwithstanding the long-existing Collaboration

 Agreement, Mr. Brittle received a telephone call from David Zindel ("Mr. Zindel"), the principal

 and owner of Graymalkin. In the phone call, Mr. Zindel informed Mr. Brittle that Mr. Spera,

 Mrs. Warren's son-in-law, had "taken charge" of The Demonologist and would now "change

 publishers" from iUniverse to Graymalkin. Mr. Zindel further informed Mr. Brittle that he

 would send a contract to Mr. Brittle for his signature and represented that Mrs. Warren had

 already executed a contract with Graymalkin "changing publishers" for The Demonologist from

 iUniverse to Graymalkin.

        23.     Among other things, Mr. Brittle correctly informed Mr. Zindel that Mr. Spera had

 no right or authority to "change publishers" in connection with The Demonologist in view of the

 Collaboration Agreement and, in particular, that the Collaboration Agreement requires the

 unanimous approval of both Mr. Brittle and Mrs. Warren before any action to "change

 publishers" can be taken with respect to The Demonologist.

        24.     Notwithstanding the fact that in purporting to "change publishers" Mrs. Warren,

 Mr. Spera and Mr. Zindel had not been acting in compliance with the Collaboration Agreement,

 Mr. Brittle agreed to review the contract proposed by Mr. Zindel. However, on or about June 22,

 2013, Mr. Brittle rejected the proposed contract (as was his right).

        25.     Over the ensuing months, Mr. Zindel aggressively pursued Mr. Brittle, including,

 but not limited to, sending him a letter on or about July 3, 2013, untenably saying, among other

 things, that "Mrs. Warren is free to exploit [The Demonologist] on a non-exclusive basis subject


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 to her obligation to pay you your proportional share of the profits." In other words, Mr. Zindel

 did not acknowledge the existence of the Collaboration Agreement, but rather, incorrectly

 claimed that Mrs. Warren could proceed as a copyright co-owner without Mr. Brittle's

 involvement (i.e., that Mrs. Warren merely had an obligation to account to Mr. Brittle regarding

 any monies she received).

        26.     As a result, on or about August 3, 2013, Mr. Brittle spoke with Mrs. Warren

 directly and explained that the Collaboration Agreement, among other things, prohibits unilateral

 action by Mrs. Warren, or any of her agents, including Mr. Spera. Instead of discussing the issue

 with Mr. Brittle, Mrs. Warren told Mr. Brittle to speak with Mr. Spera.

        27.     Shortly after the conversation with Mrs. Warren, Mr. Spera responded to Mr.

 Brittle via e-mail on or about August 3, 2013. In summary, Mr. Spera ignored the existence of

 the Collaboration Agreement and rejected the fact that Mr. Brittle's approval was required for

 any action to be taken to "change publishers" with respect to The Demonologist.

        28.     On or about August 4, 2013, Mr. Brittle responded to Mr. Spera's e-mail. In

 relevant part, Mr. Brittle noted the existence of the Collaboration Agreement.

        29.     That same day, Mr. Spera responded and, in relevant part, acknowledged the

 existence of the Collaboration Agreement and the obligation upon Mrs. Warren and Mr. Brittle

 to unanimously agree to "change publishers" for The Demonologist, but then said: "Don't call

 [Mrs. Warren] again. Don't e-mail me again. You were made aware of the publishing deal. You

 chose not [t]o participate.    It's now being handled by the publisher.          Send your petty

 correspondence to them."




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        30.     In 2002, Mr. Brittle and the Warrens jointly arranged for a new reprint of The

 Demonologist through a program offered by the Authors Guild in New York. In or about late

 July 2013, Mr. Zindel, in direct violation of the Collaboration Agreement and without Mr.

 Brittle's knowledge or consent, surreptitiously and with forethought contacted the Author's Guild

 at least twice and deceptively informed the Author's Guild that Graymalkin was the "new

 publisher" of The Demonologist. More specifically, Mr. Zindel attempted on two occasions,

 without Mr. Brittle’s knowledge or permission, to have the Author's Guild send him all

 "permissions" related to The Demonologist in order to facilitate the illegal publication of said

 book by his company. Mr. Zindel fraudulently represented that he was allowed to do this on the

 basis that Mrs. Warren allegedly controls two-thirds (2/3) of the copyright of The Demonologist.

 However, the Author's Guild was aware that The Demonologist was actually jointly and equally

 held and controlled by Mr. Brittle and Mrs. Warren insofar as Paragraph 8 of the Collaboration

 Agreement requires "unanimous consent" in order to take any action with respect to The

 Demonologist. Accordingly, the Author's Guild was aware that the actions requested by Mr.

 Zindel required unanimous permission of Mr. Brittle and Mrs. Warren and properly rejected the

 request. The Author's Guild, in turn, alerted Mr. Brittle to the fact that Mr. Zindel contacted the

 Author's Guild and that the request had been denied because Mr. Zindel could not provide Mr.

 Brittle's approval (such approval had, of course, never been given to Mr. Zindel).

        31.     Mr. Brittle was advised by the Author's Guild to file a formal complaint, but Mr.

 Brittle elected not to do so believing a solution could be reached through discussion with the

 interested parties.   Accordingly, over the next several months, Mr. Brittle and Mr. Zindel

 discussed the possibility of a contract with Graymalkin concerning The Demonologist.


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 Ultimately, however, Mr. Brittle and Mr. Zindel could not reach an equitable and satisfactory

 agreement

        32.      Inexplicably, without Mr. Brittle's approval, consent or knowledge, Mrs. Warren,

 Mr. Spera, and Graymalkin nevertheless moved forward and republished The Demonologist with

 Graymalkin as the "new publisher," in clear violation of the Collaboration Agreement, among

 other things.

        33.      In an after-the-fact attempt to legitimize the actions of Mrs. Warren, Mr. Spera

 and Graymalkin, Mr. Zindel sent Mr. Brittle an email on April 10, 2014 in which he made false

 statements and assertions, to wit:

                 [Mrs. Warren's] side has told me that no collaboration agreement
                 was ever signed.

                 ***

                 Even though [Mrs. Warren] owns 2/3 of the book according to US
                 Copyright law ...

        34.      The effort by Mrs. Warren to try to claim that she never signed the Collaboration

 Agreement is part of a fraudulent modus operandi and repeated pattern of conduct that Mrs.

 Warren has sought to use in the past. Just one example of this protracted pattern of fraudulent,

 deceitful and egregious behavior of Mrs. Warren -- conduct that is now also employed by Mr.

 Spera -- took place on December 9, 2009. Robert Unkel ("Mr. Unkel") contacted Mr. DeRosa-

 Grund and claimed that he had an agreement with Mrs. Warren to act as her manager. When

 questioned regarding Mr. Unkel's claim, Mrs. Warren advised Mr. DeRosa-Grund and his legal

 representative in a telephone conference call that she had never signed an agreement with Mr.

 Unkel. Mr. Unkel then produced a copy of the signed agreement and further added to his claim


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 that he had paid a large advance payment by check to Mrs. Warren. Whereupon Mrs. Warren

 recanted and admitted that she had signed the agreement, but claimed that she had never received

 any payment from Mr. Unkel. Mr. Unkel then provided evidence of payment, a copy of a check

 endorsed and negotiated by Mrs. Warren. Whereupon Mrs. Warren recanted on this point as

 well.

         35.     Mrs. Warren's fraudulent claim that she did not sign the Collaboration Agreement

 is refuted by the testimony of Judy Penney who is prepared to testify that she witnessed the

 execution of the Collaboration Agreement by Mrs. Warren, Mr. Warren and Mr. Brittle, and that

 she thereafter signed the Collaboration Agreement herself as a witness in their presence.

         36.     Mrs. Warren's fraudulent claim that she did not sign the Collaboration Agreement

 is untrue given the fact that Mr. Brittle is listed as the author of The Demonologist copyright and

 Mrs. Warren's rights as a copyright claimant flow, if at all, via transfer through a "written

 agreement." As such, if Mrs. Warren presses her fraudulent claim that she did not sign the

 Collaboration Agreement, she thereby admits that she has no claim in the copyright to The

 Demonologist.

         37.     Mrs. Warren's fraudulent claim that she did not sign the Collaboration Agreement

 is untrue given the fact that she accepted advances paid to her by the publisher on the original

 contract, as well as accepting her 50% share of options and royalty earnings since the inception

 date of the Agreement.

         38.     Finally, Mrs. Warren's fraudulent claim that she did not sign the Collaboration

 Agreement is untrue given the testimony of a handwriting expert who will confirm that the

 signature on the Collaboration Agreement is, in fact, Mrs. Warren's signature.


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        39.     Mr. Zindel's extraordinary claim that "[Mrs. Warren] owns two-thirds (2/3) of the

 book according to US Copyright law" is in conflict with the express terms of the Collaboration

 Agreement and is entirely false.

        40.     In accordance with the terms of the Collaboration Agreement, rights in The

 Demonologist are owned and controlled on an equal basis by: (i) Mr. Brittle; and (ii) the

 Warrens, i.e., neither party can sell, lease, license or otherwise dispose of rights in and to The

 Demonologist without the permission of the other.

        41.     Other than the limited publishing rights covered by the Collaboration Agreement,

 all other rights associated with the Case Files, as well as the life rights of Mrs. Warren and Mr.

 Warren, have been granted to Evergreen and Mr. DeRosa-Grund by the Warren Agreements.

        42.     Mr. Brittle has previously granted an option to Evergreen to acquire his rights to

 further exploit "The Demonologist" (the "Demonologist Option"), which rights Evergreen

 acknowledges and agrees are exercisable if and only if Evergreen secures corresponding rights

 from Mrs. Warren.

        43.     In other words, much like Mr. Zindel represented in his March 10, 2014 e-mail

 that, in view of Graymalkin's agreement with Mrs. Warren, no further exploitation of The

 Demonologist can occur without the involvement of Graymalkin, in view of Evergreen's

 Demonologist Option with Mr. Brittle, no further exploitation of "The Demonologist" can occur

 without the involvement of Evergreen.

        44.     On or about July 17, 2014, declarations were filed in Evergreen Media Holdings,

 LLC, et al. v. Warren, et al. (4:14-cv-01117; Southern District of Texas) wherein Mrs. Warren,




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 under oath, claimed that she "never entered into" the Warren Agreements. This is an entirely

 false and fraudulent statement. The Warren Agreements are valid, binding and existing.

        45.     In addition to making a false and fraudulent representation to the U.S. District

 Court for the Southern District of Texas, Mrs. Warren has intentionally, falsely and fraudulently

 misrepresented to third-parties, e.g., to New Line Productions, Inc., that she did not sign or enter

 into the Warren Agreements. Indeed, Mrs. Warren fraudulently entered into an agreement (the

 "Lorraine Warren Direct Agreement") with New Line Productions, Inc. that controverts and

 violates the Warren Agreements, e.g., by, inter alia, granting to New Line Productions, Inc.

 purported rights to the Case Files which Mrs. Warren did not have the right to grant inasmuch as

 such rights had already been previously granted to Evergreen by virtue of the Warren

 Agreements.

        46.     Moreover, Mrs. Warren fraudulently hid and concealed the contents and

 implications of the Lorraine Warren Direct Agreement from Mr. DeRosa-Grund and Evergreen

 by, among other things, failing to disclose to them the contents and/or implications of the

 Lorraine Warren Direct Agreement.

        47.     Upon information and belief, Mr. Spera has aided, abetted, caused, induced and/or

 otherwise helped Mrs. Warren to: (i) make false and fraudulent statements that the Warren

 Agreements do not exist or were never executed; (ii) hide and/or conceal the contents and/or

 implications of the Lorraine Warren Direct Agreement from Mr. DeRosa-Grund and Evergreen;

 and (iii) breach the Warren Agreements by, inter alia, entering into the Lorraine Warren Direct

 Agreement.




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        48.     As a result of the aforesaid conduct, Plaintiffs have been -- and continue to be --

 damaged.

                            COUNT I: BREACH OF CONTRACT
                             (Mr. Brittle Against Mrs. Warren)

        49.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        50.     The Collaboration Agreement (as amended) is a valid, binding and enforceable

 contract.

        51.     Mr. Brittle has performed all of his obligations pursuant thereto, and all

 conditions for Mrs. Warren's performance have occurred.

        52.     By engaging in the above-referenced conduct, including but not limited to,

 permitting Graymalkin to republish The Demonologist without Mr. Brittle’s consent and/or

 approval, Mrs. Warren has breached the Collaboration Agreement.

        53.     As a direct and proximate result of Mrs. Warren's breach, Mr. Brittle has been

 damaged in an amount to be determined at trial.

                   COUNT II: BREACH OF THE IMPLIED COVENANT
                       OF GOOD FAITH AND FAIR DEALING
                          (Mr. Brittle Against Mrs. Warren)

        54.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        55.     There is implicit in every contract an implied covenant of good faith and fair

 dealing. The Collaboration Agreement (as amended) contains an implied covenant of good faith

 and fair dealing under which the parties must refrain from arbitrary or unreasonable conduct



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 which has the effect of preventing the other party to the contract from receiving the fruits of that

 bargain.

        56.     Mr. Brittle has duly performed all covenants, conditions and promises required to

 be performed by him under the Collaboration Agreement in accordance with the terms and

 conditions, except for those obligations that have been prevented, delayed or excused by acts or

 omissions of Mrs. Warren.

        57.     By permitting Graymalkin to republish The Demonologist without Mr. Brittle’s

 consent and/or approval, Mrs. Warren has acted in bad faith and prevented Mr. Brittle from

 receiving the fruits of the bargain under the Collaboration Agreement.

        58.     Accordingly, by engaging in the above-referenced conduct, Mrs. Warren has

 breached the implied covenant of good faith and fair dealing. As a direct and proximate result of

 Mrs. Warren's breach, Mr. Brittle has been damaged in an amount to be determined at trial.

                                      COUNT III: FRAUD
                                (Mr. Brittle Against Mrs. Warren)

        59.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        60.     Mrs. Warren has falsely and fraudulently misrepresented to third-parties, namely,

 Mr. Zindel and Graymalkin, that she did not sign or enter into the Collaboration Agreement.

        61.      The effort by Mrs. Warren to try to claim that she never signed the Collaboration

 Agreement is part of a fraudulent modus operandi that Mrs. Warren has sought to use in the past.




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        62.      Mrs. Warren falsely and fraudulently misrepresented to Mr. Zindel and

 Graymalkin that Mr. Brittle does not have certain rights related to The Demonologist -- rights he

 expressly has pursuant to the Collaboration Agreement.

        63.      The fact that such false and fraudulent misrepresentations were made by Mrs.

 Warren was confirmed in the April 10, 2014 e-mail from Mr. Zindel to Mr. Brittle referenced

 herein above.

        64.      Accordingly, Mrs. Warren has committed fraud.

        65.      As a result of Mrs. Warren's fraud, Mr. Brittle has been damaged in an amount to

 be determined at trial.

         COUNT IV: TORTIOUS INTERFERENCE WITH CONTRACT AND/OR
                              BUSINESS EXPECTENCY
                (Mr. Brittle Against Mr. Spera and Graymalkin Media)

        66.      Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained herein above.

        67.      At all relevant times, there was a valid, existing contract between Mr. Brittle and

 Mrs. Warren, namely, the Collaboration Agreement. Mr. Spera and Graymalkin knew of the

 existence of the Collaboration Agreement as well as the contents, terms and conditions thereof,

 but Mr. Spera and Graymalkin nevertheless interfered with the Collaboration Agreement.

        68.      Among other things, Mr. Spera and Graymalkin interfered with the Collaboration

 Agreement by re-releasing The Demonologist without "unanimous approval", namely, without

 Mr. Brittle's approval, as is required by the Collaboration Agreement.

        69.      Moreover, Mr. Spera and Graymalkin have acted improperly, with malice and in

 conscious and deliberate disregard to the rights and/or interests of Mr. Brittle.


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        70.     As a direct and proximate result of the actions Mr. Spera and Graymalkin, Mr.

 Brittle has been damaged in an amount to be determined at trial.

                       COUNT V: COPYRIGHT INFRINGEMENT
                    (Mr. Brittle Against Mr. Spera and Graymalkin Media)

        71.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        72.     Mr. Brittle is an owner of The Demonologist copyright.

        73.     The acts of Mr. Spera and Graymalkin are infringing, willful, intentional and in

 purposeful disregard of and with indifference to Mr. Brittle's rights.

        74.     The infringing acts of Mr. Spera and Graymalkin have been committed with prior

 notice and knowledge of Mr. Brittle's rights.

        75.     Accordingly, Mr. Spera and Graymalkin are liable, jointly and severally, to Mr.

 Brittle for copyright infringement pursuant to 17 U.S.C. §§ 101, et seq. and for damages in an

 amount to be proven at trial.       Mr. Brittle is also entitled to the profits of Mr. Spera and

 Graymalkin attributable to the infringement, pursuant to 17 U.S.C. § 504, including an

 accounting of and a constructive trust with respect to such profits. In the alternative, Mr. Brittle

 is entitled to statutory damages pursuant to 17 U.S.C. § 504(c). These statutory damages should

 be enhanced by 17 U.S.C. § 504(c)(2) because the conduct of Mr. Spera and Graymalkin

 constituted willful infringement.

                         COUNT VI: DECLARATORY JUDGMENT
                            (Mr. Brittle Against All Defendants)

        76.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.


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        77.     An actual and justiciable controversy has arisen and now exists between Mr.

 Brittle and all of the Defendants concerning their respective rights in connection with The

 Demonologist. Mr. Brittle has never given any of the Defendants authorization, consent and/or

 permission to exploit and/or otherwise use The Demonologist or any portion thereof for any

 purpose whatsoever. Notwithstanding that fact, Defendants have exploited and/or otherwise

 used (and are exploiting and/or otherwise using) The Demonologist and/or portions thereof

 without Mr. Brittle's authorization, consent and/or permission.

        78.     Accordingly, pursuant to 28 U.S.C. § 2201, Mr. Brittle is entitled to a declaratory

 judgment that none of the Defendants have any right and/or authority to exploit and/or use The

 Demonologist, including, but not limited to, any portion thereof, without the consent and/or

 approval of Mr. Brittle.

                                    COUNT VII: FRAUD
                    (Evergreen and Mr. DeRosa-Grund Against Mrs. Warren)

        79.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        80.     By virtue of the forgoing, namely, by fraudulently entering into the Lorraine

 Warren Direct Agreement and by fraudulently concealing and/or hiding the contents of the

 Lorraine Warren Direct Agreement from Mr. DeRosa-Grund and/or Evergreen, Mrs. Warren has

 committed fraud.

        81.     As a result of Mrs. Warren's fraudulent conduct, Mr. DeRosa-Grund and

 Evergreen have been damaged in an amount to be determined at trial.




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                      COUNT VIII: DECLARATORY JUDGMENT
                  (Evergreen and Mr. DeRosa-Grund Against Mrs. Warren)

        82.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        83.     An actual and justiciable controversy has arisen and now exists between

 Evergreen and Mr. DeRosa-Grund, on the one hand, and Mrs. Warren, on the other hand.

        84.     In a sworn declaration submitted to the U.S. District Court for the Southern

 District of Texas on July 17, 2014, Mrs. Warren claimed that, among other things, she never

 entered into the Warren Agreements. This claim is false.

        85.     Moreover, notwithstanding the existence of the Warren Agreements, Mrs. Warren

 fraudulently entered into the Lorraine Warren Direct Agreement.

        86.     The Warren Agreements are valid, binding and existing whereas the Lorraine

 Warren Direct Agreement is unlawful, invalid and/or unenforceable. Accordingly, pursuant to

 28 U.S.C. § 2201, Evergreen and Mr. DeRosa-Grund are entitled to a declaratory judgment that:

 (i) the Warren Agreements are valid, binding and existing; and (ii) the Lorraine Warren Direct

 Agreement is invalid and/or unenforceable.

                          COUNT IX: BREACH OF CONTRACT
                  (Mr. DeRosa-Grund and Evergreen Against Mrs. Warren)

        87.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        88.     The Warren Agreements are valid, binding and enforceable contracts.

        89.     Mr. DeRosa-Grund and/or Evergreen have performed all of their obligations

 pursuant thereto, and all conditions for Mrs. Warren's performance have occurred.


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        90.     By engaging in the above-referenced conduct, namely, by entering into the

 Lorraine Warren Direct Agreement and concealing and/or hiding the contents of the Lorraine

 Warren Direct Agreement from Mr. DeRosa-Grund and/or Evergreen, Mrs. Warren has breached

 the Warren Agreements.

        91.     As a direct and proximate result of Mrs. Warren's breach, Mr. DeRosa-Grund

 and/or Evergreen have been damaged in an amount to be determined at trial.

                   COUNT X: BREACH OF THE IMPLIED COVENANT
                         OF GOOD FAITH AND FAIR DEALING
                 (Mr. DeRosa-Grund and Evergreen Against Mrs. Warren)

        92.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained hereinabove.

        93.     There is implicit in every contract an implied covenant of good faith and fair

 dealing. The Warren Agreements contain an implied covenant of good faith and fair dealing

 under which the parties must refrain from arbitrary or unreasonable conduct which has the effect

 of preventing the other party to the contract from receiving the fruits of that bargain.

        94.     Mr. DeRosa-Grund and/or Evergreen have duly performed all covenants,

 conditions and promises required to be performed under the Warren Agreements in accordance

 with the terms and conditions, except for those obligations that have been prevented, delayed or

 excused by acts or omissions of Mrs. Warren.

        95.     By engaging in the above-referenced conduct, including, but not limited to, by

 misrepresenting to third-parties, e.g., to New Line Productions, Inc., that she did not sign or enter

 into the Warren Agreements, by entering into the Lorraine Warren Direct Agreement, and by

 hiding the contents of the Lorraine Warren Direct Agreement from Mr. DeRosa-Grund and/or


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 Evergreen, Mrs. Warren has breached the implied covenant of good faith and fair dealing in

 connection with the Warren Agreements.

        96.     As a direct and proximate result of Mrs. Warren's breach, Mr. DeRosa-Grund

 and/or Evergreen have been damaged in an amount to be determined at trial.

         COUNT XI: TORTIOUS INTERFERENCE WITH CONTRACT AND/OR
                            BUSINESS EXPECTENCY
                (Mr. DeRosa-Grund and Evergreen Against Mr. Spera)

        97.     Plaintiffs incorporate herein, by reference, the same as if set forth at length

 verbatim, the factual allegations contained herein above.

        98.     At all relevant times, the Warren Agreements were valid, binding and existing.

 Mr. Spera knew of the existence of the Warren Agreements as well as the contents, terms and

 conditions thereof, but Mr. Spera nevertheless interfered with the Warren Agreements.

        99.     Among other things, Mr. Spera interfered with the Warren Agreements by: (i)

 inducing, causing and/or helping Mrs. Warren to make fraudulent and false statements that the

 Warren Agreements do not exist or were never executed; and (ii) inducing, causing, and/or

 helping Mrs. Warren to hide and/or conceal the contents and implications of the Lorraine Warren

 Direct Agreement; and (iii) by inducing, causing and/or helping Mrs. Warren to breach the

 Warren Agreements.

        100.    Moreover, Mr. Spera has acted improperly, with malice and in conscious and

 deliberate disregard to the rights and/or interests of Mr. DeRosa-Grund and/or Evergreen.

        101.    As a direct and proximate result of the foregoing, Mr. DeRosa-Grund and/or

 Evergreen have been damaged in an amount to be determined at trial.




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                                   REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs, EVERGREEN MEDIA HOLDINGS, LLC, TONY DEROSA-GRUND

 and GERALD D. BRITTLE, respectfully request that the court grant them the following relief

 against Defendants, LORRAINE WARREN, TONY SPERA, and GRAYMALKIN MEDIA, LLC:

        1.     Awarding Plaintiffs actual damages;

        2.     Awarding Plaintiffs punitive damages in an amount set by the trier of fact;

        3.     Awarding Mr. Brittle damages for breach of contract by Mrs. Warren;

         4.     Awarding Mr. Brittle damages for breach of the implied covenant of good faith
 and fair dealing by Mrs. Warren;

        5.     Awarding Mr. Brittle damages for the fraudulent conduct of Mrs. Warren;

        6.     Awarding Mr. Brittle damages for tortious interference with a contract by Mr.
 Spera and/or Graymalkin;

        7.      Awarding Mr. Brittle damages pursuant to 17 U.S.C. §§ 101, 501 et seq. for
 copyright infringement by Mr. Spera, and/or Graymalkin;

        8.     In addition to Mr. Brittle's actual damages, awarding Mr. Brittle the profits made
 by Mr. Spera and/or Graymalkin from their wrongful acts pursuant to 17 U.S.C. § 504;

         9.     In the alternative, awarding Mr. Brittle statutory damages pursuant to 17 U.S.C. §
 504(c), as well as enhanced statutory damages pursuant to 17 U.S.C. § 504(c)(2);

         10.    Entering a declaratory judgment that none of the Defendants have any right and/or
 authority to exploit and/or use The Demonologist, including, but not limited to, any portion
 thereof, without the authorization, consent and/or permission of Mr. Brittle.

       11.     Awarding Mr. DeRosa-Grund and/or Evergreen damages for the fraudulent
 conduct of Mrs. Warren;

        12.     Entering a declaratory judgment that: (i) the Warren Agreements are valid,
 binding and existing; and (ii) the Lorraine Warren Direct Agreement is invalid and/or
 unenforceable.

        13.    Awarding Mr. DeRosa-Grund and/or Evergreen damages for breach of contract


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 by Mrs. Warren;

        14.    Awarding Mr. DeRosa-Grund and/or Evergreen damages for breach of the
 implied covenant of good faith and fair dealing by Mrs. Warren;

         15.    Awarding Mr. DeRosa-Grund and/or Evergreen damages for tortious interference
 with a contract by Mr. Spera;

        16.    Awarding an accounting to Mr. Brittle for the gains and profits of Defendants and
 all damages sustained by reason of Defendants' unlawful acts as alleged herein pursuant;

        17.     Awarding the maximum pre-judgment and post-judgment interest as allowed by
 law;

        18.      Awarding Mr. Brittle his attorneys' fees and costs, including, but not limited to,
 attorneys' fees and costs pursuant to 17 U.S.C. § 505;

      19.     Permanently enjoining and restraining Defendants from further publication of The
 Demonologist without the permission of Mr. Brittle;

        20.    Awarding Plaintiffs any other remedy to which they may be entitled to as
 provided under applicable federal or state law; and

        21.     Awarding Plaintiffs such other and further relief as the Court might deem proper.

                                 DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a jury trial on issues so triable pursuant to Rule 38 of the

 Federal Rules of Civil Procedure.

                                              Respectfully submitted,


                                              By:___/s/ Michael R. Patrick
                                                    Charles W. Grimes (ct7233)
                                                    Michael R. Patrick (ct26556)
                                                    GRIMES LLC
                                                    488 Main Avenue
                                                    Norwalk, Connecticut 06851
                                                    Tel: (203) 849-8300
                                                    Fax: (203) 849-9300
                                                    Email: grimes@gandb.com


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                                              Email: patrick@gandb.com

                                              Attorneys for Plaintiffs Evergreen Media
                                              Holdings, LLC, Tony DeRosa-Grund
                                              and Gerald D. Brittle




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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

 EVERGREEN MEDIA HOLDINGS, LLC,            )
 TONY DEROSA-GRUND and                     )
 GERALD D. BRITTLE                         )
                                           )
             Plaintiff,                    )
                                           )
                     v.                    )                        Civil Action No. 3:14-cv-01068
                                           )
 LORRAINE WARREN, TONY SPERA and           )                        JURY TRIAL DEMANDED
 GRAYMALKIN MEDIA, LLC                     )
                                           )
             Defendants.                   )
 __________________________________________)


                        CORRECTED FIRST AMENDED COMPLAINT

         Plaintiff, GERALD D. BRITTLE,1 for his First Amended Complaint against Defendants,

 LORRAINE WARREN, TONY SPERA, and GRAYMALKIN MEDIA, LLC, alleges as follows:

                                     NATURE OF THE ACTION

         1.      This is an action for breach of contract, breach of the implied covenant of good

 faith and fair dealing, fraud, tortious interference with a contract, copyright infringement and

 declaratory judgment.

                                              THE PARTIES

         2.      Plaintiff, Gerald D. Brittle, is an individual residing in Richmond, Virginia. Mr.

 Brittle is a writer and is the author of The Demonologist, among other works.

         3.      Defendant, Lorraine Warren, is an individual residing at 30 Knollwood Street,

 Monroe, Connecticut 06468.



         1
          Plaintiffs, Evergreen Media Holdings, LLC and Tony DeRosa-Grund, hereby dismiss their claims against
 the Defendants without prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).
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        4.      Defendant, Tony Spera, is an individual residing at 122 Mine Hill Road, New

 Milford, Connecticut 06776.

        5.      Defendant, Graymalkin Media, LLC (“Graymalkin”), is a California limited

 liability company with its principal place of business at 1413 Greenfield Avenue, Suite 103, Los

 Angeles, California 90025.

                                  JURISDICTION AND VENUE

        6.      This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. §§ 1331 (federal question) and 1338(a) (acts of Congress relating to patents, trademarks

 and copyrights), 28 U.S.C. §§ 2201, et seq. (declaratory judgment act) and 28 U.S.C. § 1367

 (supplemental jurisdiction over state claims). This Court also has jurisdiction pursuant to federal

 diversity jurisdiction, 28 U.S.C. § 1332, as the parties are completely diverse in citizenship and

 the amount in controversy exceeds $75,000.

        7.      Personal jurisdiction over non-resident Defendant Graymalkin is proper because,

 inter alia, this lawsuit: (i) arises from acts and/or transactions occurring within and/or directed

 towards Connecticut; (ii) is connected with acts and/or transactions occurring within and/or

 directed towards Connecticut; and/or (iii) relates to the purposeful acts and/or transactions of the

 non-resident Defendant, and those purposeful acts occurred within and/or were directed towards

 Connecticut. The assumption of jurisdiction by this Court over the non-resident Defendant

 Graymalkin does not offend traditional notions of fair play and substantial justice.

        8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because, inter alia,

 a substantial part of the acts complained of herein occurred in this jurisdiction.




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                                 FACTS COMMON TO ALL COUNTS

        9.         Mrs. Warren and her late husband, Ed Warren, were paranormal investigators

 involved in thousands of paranormal investigations over the course of the last five decades.

 Their investigations are part of the approximately 8,000 cases that the Warrens claim to have

 investigated over several decades of paranormal investigations (collectively, the approximately

 8,000 cases and any corresponding files thereto are referred to as the “Case Files”). Mr. Warren

 passed away in August 2006.

        10.        On or about November 20, 1978, Mrs. Warren and Mr. Warren entered into, and

 executed, an agreement with Gerald Brittle concerning publishing rights, and certain ancillary

 rights related thereto, in and to a book to be entitled The Demonologist. The agreement was

 amended, and executed, on or about April 16, 1990 (the agreement and the amendment are

 collectively referred to herein as the “Collaboration Agreement”).2                       As set forth in the

 Collaboration Agreement, The Demonologist concerned the Warrens’ “lives and experiences as

 psychic investigators.” From the very beginning, the understanding between Mr. Brittle and the

 Warrens was that all earnings and judgments concerning this literary property would be

 conducted on a 50-50 basis, and no action or decisions regarding the property could be executed

 on a unilateral basis. For the benefit of both parties, this understanding was formalized in

 writing in the Collaboration Agreement. This Collaboration Agreement functions as a general

 partnership between them under the Connecticut Uniform Partnership Act, CONN. GEN. STAT. §

 34-300 et seq.



        2
            A true and correct copy of the Collaboration Agreement is attached hereto as “Exhibit A.”



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           11.   Among other things, in the Collaboration Agreement, Mrs. Warren, Mr. Warren,

 and Mr. Brittle agreed as follows:

                 COLLABORATION AGREEMENT made this 20th day of
                 November. 1978 between Gerald D. Brittle (hereinafter referred to
                 as “the Author”) and Edward Warren and Lorraine Warren
                 (hereinafter referred to as “the Subjects”_.

                 ***

                 …a book entitled The Demonologist (hereinafter referred to as
                 “the Work”),

                 ***

                 All contracts for the sale, lease, license or other disposition of any
                 and all rights in and to [The Demonologist] now existing or which
                 may hereafter come into existence shall require the unanimous
                 consent of [Mr. Brittle] and [Mrs. Warren and Mr. Warren]
                 (emphasis added).

                 ***

                 The copyright of the Work shall be secured and held in the named
                 Gerald G. Brittle, Ed Warren and Lorraine Warren…


           12.   The Collaboration Agreement is valid and existing and continues in full force and

 effect to the present day. Throughout, Mr. Brittle has abided -- without exception -- to the terms

 of this Agreement. The Warrens (now Mrs. Warren and Tony Spera) have not.

           13.   Following years of substantial work by Mr. Brittle, including, but not limited to,

 extensive interviews with Mrs. Warren and Mr. Warren, site-visits, testimonials, theological

 research, and steps to vet the accuracy of The Demonologist by two Roman Catholic exorcists,

 The Demonologist was first released in or about December 1980 by Prentice-Hall, Inc. (“Prentice

 Hall”).


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        14.     The Demonologist focused on several experiences associated with Mrs. Warren

 and Mr. Warren.

        15.     One experience that The Demonologist focused upon was entitled “Annabelle.”

 As discussed in the relevant chapter of The Demonologist, “Annabelle” involved a Raggedy Ann

 doll used by a demonic spirit that terrified a family.

        16.     Another experience that The Demonologist focused upon was entitled “The

 Enfield Voices” also colloquially known as The Enfield Poltergeist. As discussed in the relevant

 chapter of The Demonologist, “The Enfield Voices’ involved a single mother, Margaret

 Hodgson, who called police to her home in Enfield, England after two of her four children

 claimed that furniture was moving and knocking sounds were heard on walls. A female police

 constable witnessed a chair slide across the floor on its own. “The Enfield Voices” involved

 demonic voices, loud noises, thrown rocks and toys, overturned chairs, and levitation of children.

        17.     Since it was first released by Prentice Hall in 1980, The Demonologist has been

 re-released several times, always pursuant to and in compliance with the terms of the

 Collaboration Agreement, including, most recently, in or about September 2002 through

 iUniverse.

        18.     In or about June 2013, notwithstanding the long-existing Collaboration

 Agreement, Mr. Brittle received a telephone call from David Zindel, the principal and owner of

 Graymalkin. During the phone call, Mr. Zindel informed Mr. Brittle that Mr. Spera (Mrs.

 Warren’s son-in-law) had “taken charge” of The Demonologist and would now “change

 publishers” from iUniverse to Graymalkin. Mr. Zindel further informed Mr. Brittle that he

 would send a contract to Mr. Brittle for his signature and represented that Mrs. Warren had


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 already executed a contract with Graymalkin “changing publishers” for The Demonologist from

 iUniverse to Graymalkin.

        19.     Among other things, Mr. Brittle correctly informed Mr. Zindel that Mr. Spera had

 no right or authority to “change publishers” for The Demonologist and, in particular, that the

 Collaboration Agreement requires the unanimous approval of both Mr. Brittle and Mrs. Warren

 before any action to “change publishers” can be taken with respect to The Demonologist.

        20.     Notwithstanding the fact that, in purporting to “change publishers,” Mrs. Warren,

 Mr. Spera and Mr. Zindel had not been acting in compliance with the Collaboration Agreement,

 Mr. Brittle agreed to review the contract proposed by Mr. Zindel. However, on or about June 22,

 2013, Mr. Brittle rejected the proposed contract (as was his right).

        21.     Over the ensuing months, Mr. Zindel aggressively pursued Mr. Brittle, including,

 but not limited to, sending him a letter on or about July 3, 2013, untenably claiming, among

 other things, that “Mrs. Warren is free to exploit [The Demonologist] on a non-exclusive basis

 subject to her obligation to pay you your proportional share of the profits.” In other words, Mr.

 Zindel did not acknowledge the existence of the Collaboration Agreement, but rather, incorrectly

 claimed that Mrs. Warren could proceed as a copyright co-owner without Mr. Brittle's

 involvement (i.e., that Mrs. Warren merely had an obligation to account to Mr. Brittle regarding

 any monies she received). Although co-owners of a copyright generally are permitted to act

 unilaterally, such is only the case if there is no agreement to the contrary. Here there is an

 agreement to the contrary, the Collaboration Agreement, in full force and effect at all relevant

 times hereto, which specifically prohibits any unilateral action with the regard to the sale or




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 license of any and all rights to The Demonologist without the express and unanimous approval of

 both parties.

        22.      As a result, on or about August 3, 2013, Mr. Brittle spoke with Mrs. Warren

 directly and explained that the Collaboration Agreement, among other things, prohibits unilateral

 action by Mrs. Warren, or any of her agents, including Mr. Spera. Instead of discussing the issue

 with Mr. Brittle, Mrs. Warren told Mr. Brittle to speak with Mr. Spera, whom she said was

 responsible now for all her business affairs and had full authority to act on her behalf.

        23.      Shortly after the conversation with Mrs. Warren, Mr. Spera responded to Mr.

 Brittle via email on or about August 3, 2013. In summary, Mr. Spera ignored the existence of

 the Collaboration Agreement and rejected the fact that Mr. Brittle's approval was required for

 any action to be taken to “change publishers” with respect to The Demonologist.

        24.      On or about August 4, 2013, Mr. Brittle responded to Mr. Spera's email. In

 relevant part, Mr. Brittle noted the existence of the Collaboration Agreement.

        25.      That same day, Mr. Spera responded and, in relevant part, acknowledged the

 existence of the Collaboration Agreement and the obligation upon Mrs. Warren and Mr. Brittle

 to unanimously agree to “change publishers” for The Demonologist, but then said: “Don’t call

 [Mrs. Warren] again. Don't e-mail me again. You were made aware of the publishing deal. You

 chose not [t]o participate.     It’s now being handled by the publisher.          Send your petty

 correspondence to them.”

        26.      Meanwhile, Mr. Zindel’s aggressive and improper pursuit of the publishing rights

 to The Demonologist continued. In 2002, Mr. Brittle and the Warrens had jointly arranged for a

 new reprint of The Demonologist through a program offered by the Authors Guild in New York.


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 Mrs. Warren and Mr. Brittle, in compliance with the Collaboration Agreement, both

 unanimously approved the deal with the Authors Guild. In or around late July 2013, Mr. Zindel,

 in direct violation of the Collaboration Agreement and without Mr. Brittle’s knowledge or

 consent, surreptitiously contacted the Authors Guild at least twice and deceptively informed the

 Authors Guild that Graymalkin was the “new publisher” of The Demonologist.                   More

 specifically, Mr. Zindel attempted on two occasions, without Mr. Brittle’s knowledge or

 permission, to have the Authors Guild send him all “permissions” related to The Demonologist in

 order to facilitate the illegal publication of the book by his company. Mr. Zindel fraudulently

 represented to the Authors Guild that he was allowed to do this on the basis that Mrs. Warren

 allegedly controls two-thirds (2/3) of the copyright of The Demonologist. However, the Author’s

 Guild was aware that The Demonologist was actually jointly and equally held and controlled by

 Mr. Brittle and Mrs. Warren insofar as Paragraph 8 of the Collaboration Agreement requires

 “unanimous consent” in order to take any action with respect to The Demonologist.

 Accordingly, the Authors Guild was aware that the actions requested by Mr. Zindel required

 unanimous permission of Mr. Brittle and Mrs. Warren and properly rejected the request. The

 Authors Guild, in turn, alerted Mr. Brittle to the fact that Mr. Zindel contacted the Authors Guild

 and that the request had been denied because Mr. Zindel could not provide Mr. Brittle’s approval

 (such approval had, of course, never been given to Mr. Zindel).

        27.     Mr. Brittle was advised by the Authors Guild to file a formal complaint, but Mr.

 Brittle elected not to do so believing a solution could be reached through discussion with the

 interested parties.   Accordingly, over the next several months, Mr. Brittle and Mr. Zindel

 discussed the possibility of a contract with Graymalkin concerning The Demonologist.


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 Ultimately, however, Mr. Brittle and Mr. Zindel could not reach an equitable and satisfactory

 agreement

        28.      Inexplicably, without Mr. Brittle’s approval, consent, or knowledge, Mrs. Warren,

 Mr. Spera, and Graymalkin nevertheless moved forward and republished The Demonologist with

 Graymalkin as the “new publisher,” in clear violation of the Collaboration Agreement, among

 other things.

        29.      In an after-the-fact attempt to legitimize the actions of Mrs. Warren, Mr. Spera

 and Graymalkin, Mr. Zindel sent Mr. Brittle an email on April 10, 2014 in which he made false

 statements and assertions, to wit:

                 [Mrs. Warren’s] side has told me that no collaboration agreement
                 was ever signed.

                 ***

                 Even though [Mrs. Warren] owns 2/3 of the book according to US
                 Copyright law . . . .

        30.      The effort by Mrs. Warren to try to claim that she never signed the Collaboration

 Agreement is part of a longstanding protracted fraudulent modus operandi started by Ed Warren,

 which was then continued and perfected as a repeated pattern of misconduct by Mrs. Warren

 that she has sought to use in the past—and continues to use to this day. Although Mrs. Warren

 has attempted to cultivate and maintain a “grandmotherly” public persona over a number of

 decades, this is nothing more than a charade. In fact, Mrs. Warren (now knowingly aided and

 abetted by the equally complicit Mr. Spera), is a cold and calculating pathological liar. She

 readily and repeatedly ignores prior existing contracts and agreements that she has entered into in




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 order to illicitly reap additional monies from new parties—all at the expense of her unsuspecting

 partners in those earlier deals.

          31.      The above-described lies, deceptions, and frauds perpetuated on Mr. Brittle by

 Mrs. Warren (with the help of Mr. Spera), are illustrative of the protracted pattern of knowing,

 willful, fraudulent, deceitful and egregious behavior of Mrs. Warren directed toward those with

 whom she has previously entered into valid agreements.

          32.       Another example of Mrs. Warren’s lies and fraudulent conduct took place on

 December 9, 2009. Robert Unkel contacted Tony DeRosa-Grund3 and claimed that he had a

 longstanding prior agreement with Mrs. Warren to act as her manager.                           When questioned

 regarding Mr. Unkel’s claim, Mrs. Warren advised Mr. DeRosa-Grund and his attorney in a

 telephone conference call that she had never signed an agreement with Mr. Unkel. She stated that

 her manager was actually Harrison Smith, who was empowered to make deals and sign

 agreements on her behalf. (A near exact duplication of the representation she made to Mr. Brittle

 regarding Mr. Spera in the instant matter.) Mr. Unkel then produced a copy of his signed

 agreement with Mrs. Warren. Mr. Unkel then further added to his claim, stating that he had paid

 a large advance payment by check to Mrs. Warren. Mrs. Warren then recanted and admitted that

 she had signed the agreement, but then claimed that she had never received any payment from




          3
             Mr. DeRosa-Grund is a motion picture producer whose dealings with the Warrens date back nearly
 twenty-three (23) years. The publishing rights delineated in the Collaboration Agreement were granted to Prentice
 Hall by the Warren and Brittle parties. Mrs. Warren granted the rights associated with the Case Files, as well as the
 life rights of herself and Mr. Warren, to Evergreen Media Holdings, LLC (“Evergreen”). Subsequently, New Line
 Productions acquired Evergreen’s aforementioned rights. At no time did Mrs. Warren disclose the existence of the
 Collaboration Agreement to Evergreen.



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 Mr. Unkel. Mr. Unkel then provided evidence of the payment -- a copy of a check endorsed and

 negotiated by Mrs. Warren. Mrs. Warren then recanted on this point as well.

        33.     One only has to look at Mrs. Warren’s public statements to see her pervasive

 pattern of revisionist history and selective memory. On her warrens.net website, Mrs. Warren

 represented for decades that she had amassed over 10,000 case files. Then, when questioned

 about this during contract negotiations on the motion picture The Conjuring, she recanted and

 then reduced the number to 8,000 case files. Ultimately, when confronted by New Line Cinema

 Vice President of Business and Legal Affairs, Craig Alexander, Mrs. Warren admitted that she

 only had maybe 100 case files, maybe less.

        34.     In June of 2009, after making a deal for her life rights with Evergreen Media

 Group, via her manager at the time, Lorraine Warren and Tony Spera, by email, sent Evergreen a

 W-9 form for Lorraine. In additional emails through 2009 Mr. Spera asked from when Summit

 Entertainment would be “paying” Lorraine on the motion picture deal for a move based in part

 on her life rights held by Evergreen.

        35.     Later, Evergreen moved its deal to New Line. In January of 2010 Mr. Spera again

 sent emails to Mr. DeRosa-Grund asking:

                        It seems that Lorraine has been promised payment from New Line
                        many times, but the payment has never been forthcoming.

        36.     Mr. DeRosa-Grund then provided Mr. Spera evidence that the deal with New Line

 was a reality. Shortly thereafter, in or around May 2010, Mr. Spera (and members of his

 immediate family) signed releases that New Line needed to perfect the chain of title for “The




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 Conjuring” property. Mr. Spera also complied with New Line’s request for conservatorship

 papers and the will pursuant to the late Ed Warren’s estate.

         37.     Incredibly, after two years of acknowledging the sale of her rights to Evergreen

 and, in turn, Summit and ultimately New Line, Mr. Spera and Mrs. Warren claimed that they

 never signed the deal, and that her manager, Harrison Smith, was never authorized to enter into

 the deal on her behalf. In other words, after two years of asking when they (Mrs. Warren and

 Mr. Spera) were getting paid by not just one, but two different studios, after executing numerous

 releases and documents, after providing additional documentation to s studios, and after

 providing a W-9 for Mrs. Warren so that she could get paid under the deal, Mrs. Warren and Mr.

 Spera then claimed that they never entered into a deal to sell the rights in the first place. While

 their claims have no credible basis in fact, they are absolutely consistent with Mrs. Warren’s

 protracted pattern of lying and disavowing contracts to: (1) extort more money from those she

 has entered into previous deals with; or (2) jettison those existing legitimate deals in favor of

 more lucrative new deal that will pay her more money by fraudulently disavowing the existence

 of the earlier deals.

         38.     At one point during the making of The Conjuring motion picture, Mrs. Warren

 received a letter from Caroline Perron, the mother of the family depicted in the motion picture.

 In the letter, Mrs. Perron accused Mrs. Warren of stealing a number of items from her home that

 were artifacts related to that case. Mrs. Warren then asked that Evergreen Media Group provide

 legal assistance at Evergreen’s expense, because (i) Evergreen had acquired her life and case file

 rights; and, (ii) Mrs. Warren was worried that if this dispute were made public, it would not be

 good for Evergreen or the potential motion picture. Ultimately, Mrs. Warren admitted that she


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 did indeed have the items enumerated in Mrs. Perron’s letter, she claimed that she was “given”

 them items by Mrs. Perron - a claim that Mrs. Perron vigorously denied.

        39.      Ray Gorton was associated with Ed and Lorraine Warren, and was the author of

 the book In a Dark Place, which was based on one of the Warrens’ case files. The case was

 ultimately made into the motion picture “The Haunting in Connecticut.” Recently, Mr. Gorton

 has revealed a number of disturbing facts about Mr. and Mrs. Warren, and his business dealings

 with them, that further evidence their longstanding pattern of lying - not just in business matters,

 but also to the public about the very so-called supernatural events that the Warrens supposedly

 investigated:

                 “I went to Connecticut and spent time with the Warrens and the
                 Snedekers. When I found that the Snedekers couldn't keep their
                 individual stories straight, I went to Ed Warren and explained the
                 problem. "They're crazy," he said. "All the people who come to
                 us are crazy, that's why they come to us. Just use what you can
                 and make the rest up. You write scary books, right? Well,
                 make it up and make it scary. That's why we hired you."

                 ***

                 “The Warrens repeatedly told me they had videotape of actual
                 supernatural activity shot in the house and they were going to show
                 it to me while I was there, but they never did.”

                 ***
                 “The Warrens explained that this was because the house had been
                 cleansed by a priest who had performed an exorcism, but to the
                 best of my knowledge, the Catholic Church has absolutely nothing
                 to do with the Warrens in any official way and there are questions
                 about the legitimacy of the priests who work with them.”

                 ***

                 “Since writing the book, I've learned a lot that leaves no doubt in
                 my mind about the fraudulence of the Warrens…” -


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        40.     In the instant matter, Mrs. Warren’s fraudulent claim that she did not sign the

 Collaboration Agreement is refuted by the testimony of Judy Penny, who is prepared to testify

 that she witnessed the execution of the Collaboration Agreement by Mrs. Warren, Mr. Warren,

 and Mr. Brittle, and that she thereafter signed the Collaboration Agreement herself as a witness

 in their presence.

        41.     Mrs. Warren’s fraudulent claim that she did not sign the Collaboration Agreement

 is untrue given the fact that Mr. Brittle is listed as the author of The Demonologist copyright and

 Mrs. Warren’s rights as a copyright claimant flow, if at all, via transfer through a “written

 agreement.” As such, if Mrs. Warren presses her fraudulent claim that she did not sign the

 Collaboration Agreement, she thereby admits that she has no claim in the copyright to The

 Demonologist. If this is her position then Mrs. Warren has no rights whatsoever to assign

 anything to anyone relating to the book The Demonologist.

        42.     Mr. and Mrs. Warren were not the authors of the book The Demonologist. In fact,

 the Collaboration Agreement states that Mr. Brittle was the sole author and that the Warrens,

 “the Subjects” were to be given a fifty percent share in the copyright from Mr. Brittle only as

 part of the terms of the Collaboration Agreement. If the Collaboration Agreement was never

 entered into, Mr. Brittle, as the sole author, would be entitled to one hundred percent of the

 copyright to The Demonologist.

        43.     Mrs. Warren’s fraudulent claim that she did not sign the Collaboration Agreement

 is untrue given the fact that she accepted advances paid to her by the publisher on the original




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 contract, as well as accepting her 50% share of options and royalty earnings since the inception

 date of the Collaboration Agreement.

         44.     Finally, Mrs. Warren’s fraudulent claim that she did not sign the Collaboration

 Agreement is untrue given the testimony of a handwriting expert who will confirm that the

 signature on the Collaboration Agreement is, in fact, Mrs. Warren’s signature.

         45.     Mr. Zindel's extraordinary claim that “[Mrs. Warren] owns two-thirds (2/3) of the

 book according to US Copyright law” is in conflict with the express terms of the Collaboration

 Agreement and is entirely false.

         46.     In accordance with the terms of the Collaboration Agreement, rights in The

 Demonologist are owned and controlled on an equal basis by: (i) Mr. Brittle; and (ii) the

 Warrens, i.e., neither party can sell, lease, license or otherwise dispose of rights in and to The

 Demonologist without the permission of the other. Graymalkin and Mr. Spera were both made

 aware of the Collaboration Agreement, and Mrs. Warrens’ limited rights thereunder, before

 Graymalkin published The Demonologist.

         47.     As a result of the aforesaid conduct, Gerald Brittle has been, and continues to be,

 damaged.


                              COUNT I: BREACH OF CONTRACT
                               (Mr. Brittle Against Mrs. Warren)

         48.     Plaintiff incorporates by reference the factual allegations set forth in the preceding

 paragraphs, as if fully set forth herein.

         49.     The Collaboration Agreement (as amended) is a valid, binding and enforceable

 contract.


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         50.     Mr. Brittle has performed all of his obligations pursuant thereto, and all

 conditions for Mrs. Warren’s performance have occurred.

         51.     By engaging in the above-referenced conduct, including but not limited to,

 permitting Graymalkin to republish The Demonologist without Mr. Brittle’s consent and/or

 approval, Mrs. Warren has breached the Collaboration Agreement.

         52.     As a direct and proximate result of Mrs. Warren’s breach of the Collaboration

 Agreement, Mr. Brittle has been damaged in an amount to be determined at trial. Mr. Brittle’s

 damages include, but are not limited to, his share of any profits from the publication of The

 Demonologist by Graymalkin, as well as compensatory damages for the dilution of the market as

 a result of Graymalkin’s improper publication of The Demonologist.

                    COUNT II: BREACH OF THE IMPLIED COVENANT
                        OF GOOD FAITH AND FAIR DEALING
                           (Mr. Brittle Against Mrs. Warren)

         53.     Plaintiff incorporates by reference the factual allegations set forth in the preceding

 paragraphs, as if fully set forth herein.

         54.     There is implicit in every contract an implied covenant of good faith and fair

 dealing. The Collaboration Agreement (as amended) contains an implied covenant of good faith

 and fair dealing under which the parties must refrain from arbitrary or unreasonable conduct

 which has the effect of preventing the other party to the contract from receiving the fruits of that

 bargain.

         55.     Mr. Brittle has duly performed all covenants, conditions and promises required to

 be performed by him under the Collaboration Agreement in accordance with the terms and




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 conditions, except for those obligations that have been prevented, delayed or excused by acts or

 omissions of Mrs. Warren.

        56.     By permitting Graymalkin to republish The Demonologist without Mr. Brittle’s

 consent and/or approval, Mrs. Warren has acted in bad faith and prevented Mr. Brittle from

 receiving the fruits of the bargain he reasonably expected to receive under the Collaboration

 Agreement. Further, Mrs. Warren has engaged in actual and/or constructive fraud, and has also

 attempted to mislead and deceive both Mr. Brittle and others, by falsely and fraudulently

 representing that she did not sign the Collaboration Agreement, and also that she owns 2/3 of the

 copyright to The Demonologist. Such conduct was also in bad faith and has prevented Mr.

 Brittle from receiving the fruits of the bargain he reasonably expected to receive under the

 Collaboration Agreement. Among other things, Mrs. Warren’s conduct has prevented Mr. Brittle

 from being able to fully exercise his rights with respect to The Demonologist.

        57.     Accordingly, by engaging in the above-referenced conduct, Mrs. Warren has

 breached the implied covenant of good faith and fair dealing. As a direct and proximate result of

 Mrs. Warren’s breach, Mr. Brittle has been damaged in an amount to be determined at trial.

         COUNT III: TORTIOUS INTERFERENCE WITH CONTRACT AND/OR
                              BUSINESS EXPECTANCY
                (Mr. Brittle Against Mr. Spera and Graymalkin Media)

        58.     Plaintiff incorporates by reference the factual allegations set forth in the preceding

 paragraphs, as if fully set forth herein. At all relevant times, there was a valid, existing contract

 between Mr. Brittle and Mrs. Warren, namely, the Collaboration Agreement. Mr. Spera and

 Graymalkin knew of the existence of the Collaboration Agreement as well as the contents, terms,




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 and conditions thereof, but Mr. Spera and Graymalkin nevertheless interfered with the

 Collaboration Agreement.

        59.     Among other things, Mr. Spera and Graymalkin interfered with the Collaboration

 Agreement by re-releasing The Demonologist without “unanimous approval”, namely, without

 Mr. Brittle’s approval, as is required by the Collaboration Agreement.

        60.     Moreover, Mr. Spera and Graymalkin have acted improperly, with malice, and in

 conscious and deliberate disregard to the rights and/or interests of Mr. Brittle.

        61.     As a direct and proximate result of the actions Mr. Spera and Graymalkin, Mr.

 Brittle has been damaged in an amount to be determined at trial.

                       COUNT IV: COPYRIGHT INFRINGEMENT
                    (Mr. Brittle Against Mr. Spera and Graymalkin Media)

        62.     Plaintiff incorporates by reference the factual allegations set forth in the preceding

 paragraphs, as if fully set forth herein. Mr. Brittle is an owner of The Demonologist copyright.

 Mrs. Warren’s rights with respect to The Demonologist, if any, flow through the Collaboration

 Agreement.     The Collaboration Agreement requires unanimous approval regarding “[a]ll

 contracts for the sale, lease, license or other disposition of any and all rights in and to [The

 Demonologist] now existing or which may hereafter come into existence . . . .” Graymalkin and

 Mr. Spera were aware of the unanimous approval requirement before Graymalkin began

 publishing The Demonologist.

        63.     The acts of Mr. Spera and Graymalkin are infringing, willful, intentional and in

 purposeful disregard of and with indifference to Mr. Brittle’s rights.




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         64.     The infringing acts of Mr. Spera and Graymalkin have been committed with prior

 notice and knowledge of Mr. Brittle’s rights.

         65.     Accordingly, Mr. Spera and Graymalkin are liable, jointly and severally, to Mr.

 Brittle for copyright infringement pursuant to 17 U.S.C. §§ 101, et seq. and for damages in an

 amount to be proven at trial.       Mr. Brittle is also entitled to the profits of Mr. Spera and

 Graymalkin attributable to the infringement, pursuant to 17 U.S.C. § 504, including an

 accounting of and a constructive trust with respect to such profits. In the alternative, Mr. Brittle

 is entitled to statutory damages pursuant to 17 U.S.C. § 504(c). These statutory damages should

 be enhanced by 17 U.S.C. § 504(c)(2) because the conduct of Mr. Spera and Graymalkin

 constituted willful infringement.

                           COUNT V: DECLARATORY JUDGMENT
                              (Mr. Brittle Against All Defendants)

         66.     Plaintiff incorporates by reference the factual allegations set forth in the preceding

 paragraphs, as if fully set forth herein. .

         67.     An actual and justiciable controversy has arisen and now exists between Mr.

 Brittle and Mrs. Warren concerning the terms and enforceability of the Collaboration Agreement,

 as well as between Mr. Brittle and all of the Defendants concerning their respective rights in

 connection with The Demonologist.             Mr. Brittle has never given any of the Defendants

 authorization, consent and/or permission to exploit and/or otherwise use The Demonologist or

 any portion thereof for any purpose whatsoever. Notwithstanding that fact, Defendants have

 exploited and/or otherwise used (and are exploiting and/or otherwise using) The Demonologist

 and/or portions thereof without Mr. Brittle’s authorization, consent and/or permission.



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         68.     Accordingly, pursuant to 28 U.S.C. § 2201, Mr. Brittle is entitled to a declaratory

 judgment that (i) Mrs. Warren is a party to the Collaboration Agreement; (ii) the Collaboration

 Agreement requires the unanimous consent of both Mrs. Warren and Mr. Brittle for all contracts

 for the sale, lease, license or other disposition of any and all rights in and to The Demonologist

 now existing or which may hereafter come into existence; (iii) Mrs. Warren’s agreement with

 Graymalkin concerning The Demonologist is void and/or invalid; and (iv) none of the

 Defendants have any right and/or authority to exploit and/or use The Demonologist, including,

 but not limited to, any portion thereof, without the consent and/or approval of Mr. Brittle.

  COUNT VI: DECLARATORY JUDGMENT FOR DISASSOCIATION OF LORRAINE
         WARREN FROM THE GENERAL PARTNERSHIP UNDER THE
                    COLLABORATION AGREEMENT
                     (Mr. Brittle Against Mrs. Warren)

         69.     Plaintiff incorporates by reference the factual allegations set forth in the preceding

 paragraphs, as if fully set forth herein.

         70.     An actual and justiciable controversy has arisen and now exists between Mr.

 Brittle and Mrs. Warren concerning the terms and enforceability of the Collaboration Agreement,

 as well as between Mr. Brittle and all of the Defendants concerning their respective rights in

 connection with The Demonologist. The Collaboration Agreement was the instrument of a

 general partnership between Mrs. Warren (and her late husband) and Mr. Brittle and as such

 constitutes a general partnership as defined by the Connecticut Uniform Partnership Act

         71.     Under CONN. GEN. STAT. § 34-355, a partner is dissociated from a partnership

 upon the occurrence of any of the following events:

                 On application by the partnership or another partner, the partner's
                 expulsion by judicial determination because: (A) The partner engaged in


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                 wrongful conduct that adversely and materially affected the partnership
                 business; (B) the partner willfully or persistently committed a material
                 breach of the partnership agreement or of a duty owed to the partnership
                 or the other partners under section 34-338; or (C) the partner engaged in
                 conduct relating to the partnership business which makes it not reasonably
                 practicable to carry on the business in partnership with the partner.

         72.     Mrs. Warren has repeatedly and continuously engaged in wrongful conduct that

 adversely and materially affected the partnership business. She has willfully and persistently

 committed a material breach of the partnership agreement and her duty owed to the partnership

 (i.e., Mr. Brittle) under section 34-338. Mrs. Warren has repeatedly engaged in conduct relating

 to the partnership business which makes it not reasonably practicable to carry on the business in

 partnership with the partner. Therefore, Mr. Brittle is entitled to have Mrs. Warren disassociated

 from the partnership by judicial determination.


        COUNT VII: DECLARATORY JUDGMENT FOR DISSOLUTION OF THE
           PARTNERSHIP UNDER THE COLLABORATION AGREEMENT
                        (Mr. Brittle Against Mrs. Warren)

         73.     Plaintiff incorporates by reference the factual allegations set forth in the preceding

 paragraphs, as if fully set forth herein. .

         74.     An actual and justiciable controversy has arisen and now exists between Mr.

 Brittle and Mrs. Warren concerning the terms and enforceability of the Collaboration Agreement,

 as well as between Mr. Brittle and all of the Defendants concerning their respective rights in

 connection with The Demonologist. The Collaboration Agreement was the instrument which

 gave rise to a General Partnership between Mrs. Warren (and her late husband) and Mr. Brittle

 and as such constitutes a General Partnership as defined by the Connecticut Uniform Partnership

 Act.


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        75.   GEN. STAT. §. 34-338 provides as follows

              General standards of conduct of a partner.

              (a)    The only fiduciary duties a partner owes to the partnership and the
                     other partners are the duty of loyalty and the duty of care set forth
                     in subsections (b) and (c) of this section.

              (b)    A partner's duty of loyalty to the partnership and the other partners
                     is limited to the following:

                     (1)     To account to the partnership and hold as trustee for it any
                             property, profit or benefit derived by the partner in the
                             conduct and winding up of the partnership business or
                             derived from a use by the partner of partnership property,
                             including the appropriation of a partnership opportunity;

                     (2)     To refrain from dealing with the partnership in the conduct
                             or winding up of the partnership business as or on behalf of
                             a party having an interest adverse to the partnership; and

                     (3)     To refrain from competing with the partnership in the
                             conduct of the partnership business before the dissolution
                             of the partnership.

              (c)    A partner's duty of care to the partnership and the other partners in
                     the conduct and winding up of the partnership business is limited
                     to refraining from engaging in grossly negligent or reckless
                     conduct, intentional misconduct or a knowing violation of law.

              (d)    A partner shall discharge the duties to the partnership and the other
                     partners under sections 34-300 to 34-399, inclusive, or under the
                     partnership agreement and exercise any rights consistently with the
                     obligation of good faith and fair dealing.


        76.   Mrs. Warren has repeatedly acted in violation of the aforementioned statue as

 follows:

              (a)    Not accounted to the partnership property, profits or benefits she has
                     derived by her derived from her use by of partnership property, including



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                      the appropriation of a partnership opportunity (i.e., the unauthorized deal
                      with Graymalkin).

               (b)    In making her unilateral and unauthorized deal with Graymalkin, Mrs.
                      Warren has refused to refrain from competing with the partnership in the
                      conduct of the partnership business before the dissolution of the
                      partnership.

               (c)    In her unilateral and unauthorized publishing deal with Graymalkin
                      expressly prohibited by the Collaboration Agreement, the basis of the
                      General Partnership between Mrs. Warren and Mr. Brittle, Mrs. Warren
                      has knowing willingly and repeatedly engaged in grossly negligent and
                      reckless conduct, intentional misconduct or a knowing violation of law.

               (d)    In her unilateral and unauthorized publishing deal with Graymalkin
                      expressly prohibited by the Collaboration Agreement Mrs. Warren has
                      clearly not discharged her duties to the partnership and the other partners
                      under sections 34-300 to 34-399, inclusive, nor under the partnership
                      agreement and has not exercise any rights consistently with the obligation
                      of good faith and fair dealing.

               (e)    Mrs. Warrens actions were calculated on her part at all times to further her
                      own interests and agenda at the expense of the partnership and Mr. Brittle.


        77.    Accordingly, pursuant to CONN. GEN. STAT. § 34-372, the General Partnership

 between Mrs. Warren and Mr. Brittle must be dissolved by this Court.

        78.    Under CONN. GEN. STAT. § 34-372:

               A partnership is dissolved, and its business must be wound up, only upon
               the occurrence of any of the following events . . . (5) On application by a
               partner, a judicial determination that: (A) The economic purpose of the
               partnership is likely to be unreasonably frustrated; (B) another partner has
               engaged in conduct relating to the partnership business which makes it not
               reasonably practicable to carry on the business in partnership with that
               partner; or (C) it is not otherwise reasonably practicable to carry on the
               partnership business in conformity with the partnership agreement; or




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        79.     The general partnership between Mrs. Warren and Mr. Brittle must be dissolved

 by judicial determination and the instrument that formed the basis of the partnership, the

 Collaboration Agreement, between Mrs. Warren and Mr. Brittle must be also terminated. As a

 result of such a judicial determination, as the sole author of The Demonologist, all rights in the

 copyright thereto must as a matter of law revert to Mr. Brittle exclusively.




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                                   REQUEST FOR RELIEF

        WHEREFORE, Plaintiff, GERALD D. BRITTLE, respectfully requests that the Court enter

 judgment against Defendants, LORRAINE WARREN, TONY SPERA, and GRAYMALKIN MEDIA, LLC:

        1.      Awarding Plaintiff actual damages;

        2.      Awarding Plaintiff punitive damages in an amount set by the trier of fact;

        3.      Awarding Mr. Brittle damages for breach of contract by Mrs. Warren;

         4.     Awarding Mr. Brittle damages for breach of the implied covenant of good faith
 and fair dealing by Mrs. Warren;

        5.     Awarding Mr. Brittle damages for tortious interference with a contract by Mr.
 Spera and/or Graymalkin;

        6.      Awarding Mr. Brittle damages pursuant to 17 U.S.C. §§ 101, 501 et seq. for
 copyright infringement by Mr. Spera, and/or Graymalkin;

        7.     In addition to Mr. Brittle's actual damages, awarding Mr. Brittle the profits made
 by Mr. Spera and/or Graymalkin from their wrongful acts pursuant to 17 U.S.C. § 504;

         8.     In the alternative, awarding Mr. Brittle statutory damages pursuant to 17 U.S.C. §
 504(c), as well as enhanced statutory damages pursuant to 17 U.S.C. § 504(c)(2);

         9.     Entering a declaratory judgment that none of the Defendants have any right and/or
 authority to exploit and/or use The Demonologist, including, but not limited to, any portion
 thereof, without the authorization, consent and/or permission of Mr. Brittle;

        10.    Awarding an accounting to Mr. Brittle for the gains and profits of Defendants and
 all damages sustained by reason of Defendants’ unlawful acts as alleged herein pursuant;

        11.     Awarding the maximum pre-judgment and post-judgment interest as allowed by
 law;

        12.      Awarding Mr. Brittle his attorneys’ fees and costs, including, but not limited to,
 attorneys’ fees and costs pursuant to 17 U.S.C. § 505;

      13.     Permanently enjoining and restraining Defendants from further publication of The
 Demonologist without the permission of Mr. Brittle;



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        14.    Disassociating Mrs. Warren from the general partnership with Mr. Brittle;

        15.    Dissolution of the general partnership between Mrs. Warren and Mr. Brittle;

         16.     Termination of the Collaboration Agreement and awarding all right, title, and
  interest in The Demonologist copyright to Mr. Brittle, solely and exclusively;

        17.    Awarding Plaintiff any other remedy to which they may be entitled to as provided
 under applicable federal or state law; and

        18.    Awarding Plaintiff such other and further relief as the Court might deem proper.

                                DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a jury trial on issues so triable pursuant to Rule 38 of the

 Federal Rules of Civil Procedure.

                                            Respectfully submitted,

                                            PLAINTIFFS GERALD D. BRITTLE, TONY
                                            DEROSA-GRUND and EVERGREEN MEDIA
                                            HOLDINGS, LLC


                                            /s/ Sanford L. Dow
                                            Sanford L. Dow (phv07590)
                                            Texas Bar No. 00787392
                                            dow@dowgolub.com
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 22, 2015, a copy of the foregoing Corrected First Amended

 Complaint was filed electronically and served by mail on anyone unable to accept electronic

 filing. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

 electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the

 Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF system.



                                               ________/S/ (ct06645)
                                                     MARK R. CARTA




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                  EXHIBIT D
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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 EVERGREEN MEDIA HOLDINGS, LLC, and                     §
 TONY DEROSA-GRUND                                      §
        Plaintiffs,                                     §
                                                        §
 v.                                                     §    Civil Action No. 4:14-cv-00793
                                                        §             (SENIOR CASE)
 WARNER BROS. ENTERTAINMENT, INC. and                   §
 NEW LINE PRODUCTIONS, INC.                             §
         Defendants                                     §


 EVERGREEN MEDIA HOLDINGS, LLC, TONY                    §
 DEROSA-GRUND, and GERALD D. BRITTLE,                   §
        Plaintiffs,                                     §
                                                        §
 v.                                                     §    Civil Action No. 4:14-cv-01117
                                                        §           (JUNIOR CASE)
 LORRAINE WARREN, TONY SPERA,                           §
 GRAYMALKIN MEDIA, LLC, NEW LINE                        §
 PRODUCTIONS, INC., and WARNER BROS.                    §
 ENTERTAINMENT, INC.,                                   §
                                                        §
        Defendants.
                                                        

                    PLAINTIFFS’ NOTICE OF DISMISSAL OF THE
                   JUNIOR CASE (CIVIL ACTION NO. 4:14-CV-01117)

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Evergreen Media

 Holdings, LLC, Tony DeRosa-Grund and Gerald D. Brittle (collectively, “Plaintiffs”) hereby

 dismiss all causes of action in Civil Action No. 4:14-cv-01117 (the “Junior Case”), without

 prejudice.

        This Notice of Dismissal is filed as of right pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A), which provides that “the plaintiff may dismiss an action without a court order by

 filing: (i) a notice of dismissal before the opposing party serves either an answer or a motion for

 summary judgment . . . .” None of the Defendants in the Junior Case have filed an answer or a

 motion for summary judgment.



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        This dismissal of the causes of action in the Junior Case is without prejudice, including

 without prejudice to the re-filing of any of Plaintiffs’ causes of actions against the Defendants,

 and for any other claim that Plaintiffs have, known or unknown, against Defendants.


                                              Respectfully submitted,

                                              By:___/s/ Sanford L. Dow
                                                    Sanford L. Dow
                                                    S.D. Texas No. 17162
                                                    Texas Bar No. 00787392
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                                CERTIFICATE OF SERVICE

         On July 25, 2014, I electronically submitted the foregoing document with the Clerk of the
 Court of the United States District Court for the Southern District of Texas using the electronic
 case filing system of the Court. I hereby certify that I have served all counsel and/or pro se
 parties of record electronically using the CM/ECF filing system or by any other manner
 authorized by Federal Rule of Civil Procedures 5(b)(2).

                                             By:___/s/ Stephanie A. Hamm
                                                   Stephanie A. Hamm




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                   EXHIBIT E
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                              ENTERED
                                                                                                01/22/2016

  In re:                                         §
                                                 §
  Tony DeRosa-Grund                              §       Case No. 09-33264
    aka Pro Jo Poker                             §
                                                 §       Chapter 7
           Debtor.                               §

           MEMORANDUM OPINION ON THE DEBTOR’S MOTION TO REOPEN
                 CHAPTER 7 CASE PURSUANT TO 11 U.S.C. § 350
                               [Doc. No. 92]

                                         I. INTRODUCTION

           At bar is a dispute between Hollywood insiders and a Texas outsider concerning certain

 rights involving a blockbuster movie from 2013 entitled “The Conjuring.” In the 1982 movie

 entitled “The Verdict,” Paul Newman, who had the starring role as a solo practitioner suing a

 hospital for medical malpractice, delivers a brief closing to the jury which includes the following

 line: “We become tired of hearing people lie.” This Court feels the same way about the debtor

 here.

           The resolution of the dispute at bar requires a walk down memory lane. On May 7, 2009,

 (the “Petition Date”), an involuntary Chapter 7 bankruptcy petition was filed against Tony

 DeRosa-Grund aka Pro Jo Poker (the “Debtor”), [Doc. No. 1], and on June 8, 2009, this Court

 entered an order for relief. [Doc. No. 11]. The Debtor received a discharge on July 26, 2010,

 [Doc. No. 54]; the case was administered, and pro rata distributions were made to creditors,

 [Doc. No. 88]; and on May 8, 2014, this Court signed a final degree closing this case. [Doc. No.

 90]. As of that date, it appeared that this case was over.




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          However, a second act began on September 23, 2015, when the Debtor, pursuant to 11

 U.S.C. § 350(b), 1 filed a motion to reopen his Chapter 7 case (the “Motion to Reopen”).                           Two

 objections were lodged to the Motion to Reopen. The first was filed by PSG Poker, LLC

 (“PSG”) and Phil Gordon (“Gordon”) on October 14, 2015, [Doc. No. 93], but was later

 withdrawn on November 25, 2015, [Doc. No. 97]. A second objection was also filed on October

 14, 2015 by New Line Productions, Inc. (“New Line”), a subsidiary and affiliate of Warner

 Brothers Entertainment (“Warner Brothers”), [Doc. No. 94]. Since the filing of its objection,

 New Line, unlike PSG and Gordon, has vigorously prosecuted its objection.

          This Court held a multi-day hearing on the Motion to Reopen on December 1, 2015,

 December 2, 2015, December 3, 2015, and December 7, 2015, on which date the parties

 delivered closing arguments and the Court took the matter under advisement (hereinafter, the

 multi-day hearing is referred to the “Hearing”). During the Hearing, the Debtor presented his

 case-in-chief by calling one witness—himself—and by introducing six exhibits. New Line

 presented its case-in-chief by calling two witnesses—the Debtor and Michael J. O’Connor

 (“O’Connor”)—and by introducing fifteen exhibits. 2

          The Debtor contends that his case should be reopened on the basis that he failed to list a

 particular asset on his original schedules that he now believes should have been scheduled.

 Specifically, the Debtor, who is a movie and television producer and writer, asserts that he

 should have scheduled an asset that, in the movie business, is known as a “treatment.” A

 “treatment” is an “abridged script; longer than a synopsis. It consists of a summary of each


 1
   Hereinafter, any reference to a section (i.e., §) refers to a section in 11 U.S.C., which is the United States
 Bankruptcy Code. Further, any reference to “the Code” refers to the United States Bankruptcy Code. Finally, any
 reference to a Rule refers to the Federal Rules of Bankruptcy Procedure.
 2
  With respect to three of these exhibits—Exhibits No. 8, 9, and 10—the Court admitted less than all of the pages.
 The twelve exhibits that this Court admitted in their entirety are: Exhibits No. 1, 2, 4, 5, 6, 7, 13, 15, 16, 20, 21 and
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 major scene of a proposed movie, and may even include snippets of dialogue.” 3 Here, the

 Debtor contends that he should have scheduled the “treatment” for what subsequently became

 the screenplay for “The Conjuring” (hereinafter this particular treatment will be referred to as the

 “Treatment,” and the movie itself will be referred to as “The Conjuring”). The Debtor now

 wants this Court to reopen his case so that: (1) he can amend his schedules to include the

 Treatment, for which he believes has value; (2) the Chapter 7 trustee can then investigate and

 determine the value of the Treatment; (3) the trustee can then sell or otherwise dispose of the

 Treatment in order to bring in needed cash to the estate; and (4) the trustee can then distribute

 these proceeds to pay off the two remaining allowed claims in this case, which total

 approximately $185,000.00. 4 Left unsaid by the Debtor is his hope—indeed, his strong belief—

 that the Treatment is so valuable that the trustee, after administering this asset, will generate so

 much cash for the estate that after payment of the two remaining claims, as well as the Trustee’s

 fee, there will be a substantial amount of cash remaining to be distributed to the Debtor himself.

 See e.g. 11 U.S.C. § 726(a)(6); In re Solomon, 129 F.3d 608, n.10 (5th Cir. 1997)(under the

 statutory distribution of property of the Chapter 7 estate, once all the claims are paid in full, the

 debtor generally receives the remaining proceeds).

          New Line, which is in the movie-making business and is an affiliate of Warner Brothers,

 strongly opposes reopening the Debtor’s case. It asserts that the only reason that the Debtor now
 3
    Film Glossary, Glossary, Student Resources, N.Y. FILM ACAD. (last visited Dec. 9, 2015, 3:18 PM),
 https://www.nyfa.edu/student-resources/glossary/#T. The Writers Guild of America, West considers a “treatment”
 one example of “Literary Material.” WRITERS GUILD OF AMERICA, WEST & WRITERS GUILD OF AMERICA, EAST,
 SCREEN            CREDITS           MANUAL,            16        (2010),          https://www.wgaeast.org/wp-
 content/uploads/typo3/user_upload/files/Screen_Credits_Manual_2010.pdf.
 4
   In the trustee’s final account and distribution report filed on March 26, 2014, [Doc. No. 88], four general
 unsecured creditors held allowed claims that remained unpaid. Two of those creditors, Gordon and PSG, settled with
 the Debtor on the eve of the Hearing, and their claims have been satisfied in full. [Doc. No. 97]. Stated differently,
 the Debtor paid off these creditors to ensure that they would not prosecute their objection to the Motion to Reopen.
 The two remaining creditors on the trustee’s final account and distribution report, Matt Maranz and the Internal
 Revenue Service, have remaining allowed claims of $171,426.84 and $13,473.91, respectively. [Doc. No. 88];
 [Debtor’s Ex. No. 4, pp.4–5 of 12].

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 seeks to reopen his case is because an arbitrator recently ruled against the Debtor in his dispute

 with New Line over the extent of any rights that he has to revenues generated by “The

 Conjuring” and any sequels to be made to this movie. New Line asserts that: (1) it acquired the

 Treatment several years ago from one of the Debtor’s wholly-owned entities; (2) the Debtor

 himself has never owned the Treatment; (3) the Debtor has fabricated the story that he personally

 owned the Treatment on the Petition Date; and (4) the Debtor, angry that New Line has been

 unwilling to pay him a dime to settle the various lawsuits that he and his privately-held entities

 have brought against New Line, is now attempting to bring in the Chapter 7 trustee to do his

 bidding for him. Essentially, New Line’s argument is that the Debtor believes that there is

 strength in numbers, and by having to fend off not only the Debtor, but also the trustee, New

 Line will cave in and pay good money to the trustee for the rights to the Treatment, much of

 which will wind up in the Debtor’s pockets after payment of the two remaining claims and the

 Trustee’s fees. Under these circumstances, New Line contends that the Debtor is gaming the

 bankruptcy system and therefore that this Court should not reopen his case.

        Alternatively, New Line argues that even if this Court concludes that the Debtor, as

 opposed to one of his companies, owned the Treatment on the Petition Date—and that therefore

 the case should be reopened so that the Debtor can schedule the Treatment—the Debtor should

 be judicially estopped from receiving any benefits from the Trustee’s eventual disposition of the

 Treatment because the Debtor’s initial failure to disclose the Treatment was not inadvertent. See

 e.g., In Re Jackson, 2012 WL 3071218, aff’d per curiam by the Fifth Circuit on direct appeal at

 In Re Jackson, 574 F. App’x 317 (5th Cir. 2014) (Where debtor’s failure to disclose his interest

 in a patent was not inadvertent, the court, although allowing the debtor to schedule the patent,

 nevertheless held that the debtor was estopped from receiving any funds remaining after the



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 trustee administered the patent and paid claims in full, with any excess funds to either escheat to

 the United States or be made available to public interest, charitable, educational, and other public

 service organizations).

            This Court now issues findings of fact and conclusions of law pursuant to Rules 9014 and

 7052. To the extent that any finding of fact is construed as a conclusion of law, it is adopted as

 such; and to the extent that any conclusion of law is construed as a finding of fact, it is adopted

 as such. The Court reserves the right to make additional findings and conclusions as it deems

 appropriate, or as the parties may request. For the reasons set forth herein, this Court will grant

 the Motion to Reopen; however, because the Court finds that the Debtor’s failure to schedule the

 Treatment was not inadvertent, the Debtor will be estopped from receiving any proceeds from

 the Trustee’s administration of the Treatment.

                                                  II. FINDINGS OF FACT

            The relevant facts—as established by the pleadings, the admitted exhibits, the testimony

 of the witnesses, the stipulations and admissions of the parties, and the judicial notice that this

 Court takes of four complaints filed by the Debtor in the United States District Court for the

 Southern District of Texas—are as follows:

        A. Entities Owned and Controlled by the Debtor

            1. The Debtor owns, or has owned, various entities, all of which have been corporations

                 except one entity that was initially a dba (but became a LLC). The Debtor formed

                 these entities to help him in his career as a movie producer and writer. For example,

                 the Debtor testified that he used one entity “for marketing purposes.” [Hr’g Tr.

                 104:5–6, Dec. 1, 2015]. 5



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     Any reference to a hearing transcript is a reference to the transcript of the Hearing.

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       2. One of the entities owned by the Debtor is named Silverbird Media Group, LLC

          (“Silverbird”).

       3. A second entity owned by the Debtor is named Evergreen Media Group, LLC

          (“Evergreen”). Originally, this entity was a dba known as Evergreen Media Group

          (the “DBA”).

       4. A third entity owned by the Debtor is Gallows Hill Pictures, LLC (“Gallows Hill”).

    B. Entity Owned by the Debtor’s Family Trust

       5. Aside from the above described entities which the Debtor has controlled, and still

          controls, there exists another entity named Evergreen Media Holdings, LLC

          (“Holdings”). [Hr’g Tr. 96:19–24, Dec. 1, 2015]. This entity, which was formed in

          2009, is controlled by what the Debtor has referred to as the family-owned trust.

          [Id.]. The name of this trust is the DeRosa-Grund Family Trust (the “Family Trust”),

          and the trustee of the Family Trust is the Debtor’s step-daughter. [Hr’g Tr. 98:7–9,

          Dec. 1, 2015]. It is unclear as to whether the Family Trust owns 100% of Holdings, or

          whether the Debtor also has a direct stock interest in Holdings. The Debtor is,

          however, an employee of Holdings. [Hr’g Tr. 83:3–4, Dec. 1, 2015]. Indeed, the

          Debtor is more than a mere “employee” of Holdings; he signed two key contracts (to

          be subsequently discussed herein) as the “Manager” of Holdings, [New Line Ex. Nos.

          4 & 5], and as the “Executive Chairman” of Holdings, [New Line Ex. No. 7].

    C. Relevant Prepetition Events

       6. In the 1990s, the Debtor was introduced to Ed and Lorraine Warren (the “Warrens”).

          [Hr’g Tr. 40:16–25, Dec. 1, 2015].      The Debtor and the Warrens developed a

          friendship and discussed “lots and lots of cases that Ed thought could be movies or



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          television shows.”    [Hr’g Tr. 40:19–21, Dec. 1, 2015].        During one of their

          discussions, Ed Warren played a tape recording of an interview between himself and

          Carolyn Perron (the “Carolyn Perron Interview”). [Hr’g Tr. 41:2–3, Dec. 1, 2015].

          Throughout this discussion, Ed Warren would “start and stop the tape and give [the

          Debtor] comments.” (the “Ed Warren Commentary”) [Hr’g Tr. 41:5–6, Dec. 1,

          2015]. The Debtor taped this discussion with Ed Warren on a digital recorder. [Hr’g

          Tr. 41:6–7, Dec. 1, 2015]. This recording included the Carolyn Perron Interview, the

          Ed Warren Commentary, and also the Debtor’s ideas of how to turn the Perrons’ story

          (the “Perron Life Rights”) and the Warrens’ story (the “Warren Life Rights”) into a

          movie. [Hr’g Tr. 41:6–7; 12–16, Dec. 1, 2015]. From his digital recording, the

          Debtor made the Treatment. [Hr’g Tr. 41:17–21, Dec. 1, 2015]. The Treatment is

          not only on a tape; it is also in a written format drafted by the Debtor. [Hr’g Tr.

          41:19–22, Dec. 1, 2015].

       7. Subsequently, sometime in the late ‘90s, Silverbird, one of the companies owned by

          the Debtor, acquired the Perron Life Rights, but the exact date of this acquisition is

          unclear from the record. The Debtor testified that Silverbird acquired the Perron Life

          Rights in “Maybe [the] late ‘90s.” [Hr’g Tr. 48:13, Dec. 1, 2015]. Hence, Silverbird

          acquired the Perron Life Rights many years prior to the Petition Date (i.e. prior to

          May 7, 2009).

       8. On February 9, 2009—three months before the Petition Date—the Debtor, in his

          capacity as the managing member of Silverbird, executed a document entitled

          “Assignment of Rights,” for the benefit of another company that the Debtor owned—

          namely, Evergreen—[New Line Ex. No. 2]. By executing this document, the Debtor



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          intended for Silverbird to convey to Evergreen all of the “rights title and interest,

          inclusive of any and all ownership and options agreements to the Life Rights to the

          Perron Family and the feature film project currently entitled ‘the Conjuring.’ ” [Id.].

          The Debtor testified that when he executed the Assignment of Rights, he was shutting

          down Silverbird and that he was making this assignment to Evergreen for

          “housekeeping purposes.” [Hr’g Tr. 103:9–11, Dec. 1, 2015]. However, on February

          9, 2009, Evergreen was not yet in existence; it was actually formed three days later,

          on February 12, 2009. [Hr’g Tr. 101:12–13, Dec. 1, 2015]. The Debtor testified that

          he “wasn’t aware that it didn’t exist at the time.” [Hr’g Tr. 103:6, Dec. 1, 2015].

       9. Sometime in 2009, after Silverbird executed the Assignment of Rights to Evergreen,

          Holdings—the company controlled by the Family Trust for which the Debtor is an

          officer—acquired both the Perron Life Rights and the Warren Life Rights. [Hr’g Tr.

          48:14–24, Dec. 1, 2015]. The exact date of the acquisition by Holdings is not clear;

          the Debtor testified only that the acquisition was “somewhere in 2009.” [Hr’g Tr.

          48:24, Dec. 1, 2015].

       10. In neither the Assignment of Rights (which expressly referenced the Perron Life

          Rights) nor the documents executed “somewhere in 2009,” by which Holdings

          acquired both the Perron Life Rights and the Warren Life Rights, was the Treatment

          expressly referenced. [See New Line Ex. No. 2]; [Hr’g Tr. 48:14–49:4, Dec. 1,

          2015].




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     D. Background of the Debtor’s Chapter 7 Case, Relevant Representations Made in His
        Schedules and Statement of Financial Affairs, and Other Actions Taken and Orders
        Entered Relating to the Debtor’s Chapter 7 Case.

                i. General Background

         11. On May 7, 2009 (already defined as the “Petition Date”), an involuntary Chapter 7

             bankruptcy petition was filed against Tony DeRosa-Grund, aka Pro Jo Poker (already

             defined as the “Debtor”). [Doc. No. 1]. The case was assigned to the Honorable

             Bankruptcy Judge Wesley W. Steen. 6

         12. On June 8, 2009, Bankruptcy Judge Steen entered an order for relief. [Doc. No. 11].

         13. On June 15, 2009, David J. Askanase was appointed the Chapter 7 Trustee (the

             “Trustee”).

         14. The Debtor chose Nelson Hensley (“Hensley”) to represent him in this Chapter 7

             case. Hensley is a very experienced bankruptcy lawyer who has been practicing for

             over 30 years.

           ii. Representations on Schedules and Statement of Financial Affairs

         15. On July 10, 2009, the Debtor filed his original Schedules and Statement of Financial

             Affairs (SOFA). [Doc. No. 19]. The Debtor reviewed his Schedules and SOFA with

             his attorney (i.e. Hensley) before he signed them. [Hr’g Tr. 84:2–7, Dec. 1, 2015].

             At the Hearing, the Debtor testified that “to the best of [his] understanding [his

             Schedules and SOFA were] all honest and true at the time [he] signed [them].” [Hr’g

             Tr. 86:2–4, Dec. 1, 2015].

         16. Item No. 13 on Schedule B required the disclosure of “Stock and interests in

             incorporated and unincorporated businesses.” The Debtor represented that he had an

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  On January 17, 2011, the Debtor’s Chapter 7 case was randomly reassigned to the undersigned judge due to Judge
 Steen’s retirement. [Doc. No. 56].


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          interest in Gallows Hill and that the value of this interest was $1.00. [Doc. No. 19. p.

          5 of 31].

       17. In the same column the Debtor represented that he had an interest in Evergreen and

          that the value of this interest was $1,000.00. [Id.].

       18. The Debtor did not disclose his stock interest in Silverbird on his Schedule B.

       19. Item No. 22 on Schedule B required the disclosure of “Patents, copyrights, and other

          intellectual property.” The Debtor represented that he had an “Application Pending”

          and that the value of this application was $1.00. [Doc. No. 19. p. 6 of 31]. Although

          Schedule B required the Debtor to “Give Particulars” about any patent, copyright, or

          other intellectual property, the Debtor did not do so. At the Hearing, the Debtor made

          it clear that the “Application Pending” was not an application to copyright the

          Treatment, but rather was an application for a patent unrelated to ”The Conjuring.”

          [Hr’g Tr. 90:1–11; 91:11–92:9, Dec. 1, 2015].

       20. The Debtor testified that he disclosed the patent application in Item No. 22 because

          he knew that the patent was registered. [Hr’g Tr. 87:5–9, Dec. 1, 2015].

       21. The Debtor did not disclose the Treatment on his Schedule B. [See Debtor’s Ex. No.

          2]; [Hr’g Tr. 84:20–86:6, Dec. 1, 2015]. Stated differently, by not scheduling the

          Treatment, the Debtor represented to this Court and to his creditors that he, in his

          individual capacity, did not own the Treatment.

       22. One reason that the Debtor did not disclose the Treatment was “[b]ecause I didn’t

          have a registration on it, sir.” [Hr’g Tr. 88:10–20, Dec. 1, 2015].

       23. A second reason that the Debtor did not disclose the Treatment was because:

                  I didn’t think that there was anything to put down because (a) I didn’t
                  think it had any value, (b) New Line said they weren’t using it. I

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                      couldn’t use it without the Perron Family rights and the Warren rights.
                      I couldn’t use it without getting sued, and I didn’t think it had any
                      value. No one was using it. I wasn’t thinking about a copyright
                      registration for it. I didn’t think there was any reason to register it
                      because I couldn’t use it. New Line had it blocked.

              [Hr’g Tr. 90:12–19, Dec. 1, 2015].

         24. Item No. 18a of the SOFA required the Debtor to “list the names, addresses,

              taxpayer-identification numbers, nature of the businesses, and beginning and ending

              dates of all businesses in which the debtor was an officer, director, partner, or

              managing executive of a corporation, partner in a partnership, sole proprietor, or was

              self-employed in a trade, profession, or other activity either full- or part-time within

              six years immediately preceding the commencement of this case, or in which the

              debtor owned 5 percent or more of the voting or equity securities within six years

              immediately preceding the commencement of this case.” The Debtor failed to make

              proper disclosure required by this Item Number 18a because he failed to list the

              required information of the following entities: Holdings, Silverbird, Evergreen,

              Gallows Hill, DBA, and Holdings. 7 Rather, the Debtor’s skeletal and misleading

              response to Item Number 18a was as follows: “Tony DeRosa-Grund, XXX-XX-9860,

              Magnolia Texas, Patent Development.” [Debtor’s Ex. No. 2]; [Doc. No. 19].




 7
   The record is unclear whether, and to what extent, the Debtor had any equity interest in Holdings. However, he
 was a “manager” of this entity as evidenced by his signing the Option Quitclaim Agreement and Producer Loanout
 Agreement in that capacity, [See New Line Ex. Nos. 4 & 5]. Thus, the Debtor needed to disclose Holdings by virtue
 of his position as its “manager.” Moreover, there is no question that the Debtor, on the Petition Date, had a
 substantial, if not 100%, ownership interest in Silverbird and Evergreen, and that he was an executive of these
 entities. Indeed, New Line’s Exhibit No. 4 (the Option Quitclaim Agreement) reflects that he was a member of
 Silverbird and a manager of Evergreen at the time he executed this contract, [New Line Ex. No. 4]; and New Line’s
 Exhibit No. 7 (amendment to the Option Quitclaim Agreement) reflects that he was a director of both Silverbird and
 Evergreen when executing this particular contract, [New Line Ex. No. 7]. Therefore, in responding to Item No. 18a,
 the Debtor should have disclosed the information requested about Silverbird and Evergreen.

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          iii. Pleadings and Orders Entered Regarding Nondischargeability of One
          Particular Debt and a General Discharge for the Debtor (Except for the One
          Nondischargeable Debt)

       25. On February 15, 2010, PSG and Gordon filed a complaint against the Debtor under §

          523(a) seeking to prevent the discharge of a certain judgment that the United States

          District Court for the Southern District of New York had entered against the Debtor

          on September 24, 2008. [Adv. Proc. No. 10-03068, Adv. Doc. No. 1-2]. This

          judgment was for $340,000.00 in compensatory damages, $200,000.00 in punitive

          damages, and $36,266.70 in attorneys’ fees, for a total amount of $576,266.70. (the

          “$576,266.70 New York Judgment”) [Adv. Proc. No. 10-03068, Doc. Nos. 1–1 & 1–

          4]. The $576,266.70 New York Judgment arose due to the Debtor’s fraudulent

          conduct relating to a television program involving professional poker players

          competing against amateurs. [Adv. Proc. No. 10-03068, Adv. Doc. No. 12–2].

       26. On June 23, 2010, Bankruptcy Judge Steen entered an order declaring that the

          $576,266.70 New York Judgment was a non-dischargeable debt. [Adv. Proc. No. 10-

          03068, Doc. No. 14].

       27. On July 26, 2010, Bankruptcy Judge Steen granted the Debtor a discharge pursuant to

          § 727 of the Code. [Doc. No. 54]. The order entered on the docket granted the

          Debtor a discharge of all of his debts except the $576,266.70 New York Judgment.

          [Id.].

          iv. The Trustee’s Final Accounting and This Court’s Closure of the Case

       28. On March 26, 2014, the Trustee submitted his final account and distribution report

          certifying that the Debtor’s Chapter 7 estate (the “Estate”) had been fully

          administered. [Doc. No. 88]; [Debtor’s Ex. No 4]. The Estate yielded net receipts of



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              $100,013.67. [Doc. No. 88];[Debtor’s Ex. No. 4]. Of this amount, $48,952.08 was

              distributed to pay allowed claims, and the remaining $49,128.59 was used to pay

              administrative expenses. [Id. at p. 1 of 12]. The aggregate amount of debts discharged

              without payment totaled $1,121,996.43. [Id. at p. 1 of 12]. On May 8, 2014, the

              Debtor’s Chapter 7 case was closed. [Doc. No. 90].

     E. Transactions Occurring During the Debtor’s Chapter 7 Case

                i. Transactions involving New Line, the Debtor, Silverbird, Evergreen, and
                   Holdings

         29. On November 11, 2009, New Line (on the one hand) and Holdings, the Debtor,

              Silverbird, and Evergreen (on the other) executed an Option Quitclaim Agreement

              (the “Option Quitclaim Agreement”). [New Line Ex. No. 4]. This agreement, subject

              to certain conditions precedent, granted New Line a right to acquire all of the Debtor,

              Holdings, Evergreen, and Silverbird’s right, title, and interest, except for certain

              reserved rights, in and to certain assets, including:

                  a. “Any and all literary material in connection with the project currently known

                      as ‘the Conjuring’ fka ‘The Untitled Hayes Brothers Project’ 8. . . ” [Id. at p.2

                      of 38, ¶1A(a)];

                  b. “The entire case file library. . . related to the Warren’s paranormal

                      investigations. . . including but not limited to all interviews, case histories,

                      photographs, notes, timelines. . . ” [Id., p. 3 of 38, ¶1A(a)(iii)];




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   The Hayes brothers are independent writers whom New Line (or New Line’s affiliate, Warner Brothers) hired to
 write the screenplay for “The Conjuring.” [Hr’g Tr. 57:17–19, Dec. 1, 2015]. In certain documents introduced into
 the record at the Hearing, references were occasionally made to the “Hayes Brothers Project.” [Hr’g Tr. 22:9–12,
 Dec. 1, 2015]. This phrase is nothing more than a reference to the putative screenplay for “The Conjuring.”


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                   c. “Any and all right, title and interest in and to the entire life stories of Ed and

                        Lorraine Warren and the Perrons. . . including without limitation, all

                        paranormal investigations of the Warrens and the paranormal experiences of

                        the Perrons,” [Id. at ¶1A(b)]; and

                   d. “Any and all agreements, assignments, instruments and other documents

                        heretofore made pursuant to which services are to be rented, and/or material

                        furnished in connection with any and all motion pictures or other productions

                        to be based in whole or in part on the Literary Material. . . or which transfer

                        rights in and to the Literary Material. . .” [Id. at ¶1A(c)];

                   e. “Any and all rights and interests of every type and nature heretofore or

                        hereafter acquired by [the Debtor, Holdings, Evergreen or Silverbird] with

                        respect to the Property9 and/or pursuant to the Agreements, including without

                        limitation, all motion picture and other rights to the life stories of the Warrens,

                        the life stories of the Perrons and the characters of Ed and Lorraine Warren.”

                        [Id. at p. 5 of 38, ¶1A(d)].

                   f. The Option Quitclaim Agreement was subsequently amended on October 19,

                        2010. [See Finding of Fact No. 41].

          30. Also on November 11, 2009, New Line and Holdings, the Debtor, Silverbird, and

              Evergreen executed a Producer Loanout Agreement (the “Producer Loanout


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   The term “Property” is defined as “any and all literary material (collectively, the ‘Literary Material’) in connection
 with the project currently known as ‘THE CONJURING’ fka ‘THE UNTITLED HAYES BROTHERS PROJECT’
 fka ‘THREE KNOCKS ON THE DOOR: THE LIVES AND CAREER OF ED AND LORRAINE WARREN’ fka
 ‘THE DEMONOLOGISTS,’ including without limitations… any and all drafts, revisions, and rewrites of that
 certain screenplay…and related material written by Harrison Smith, Jr….of that certain screenplay… and any
 related material written by Chad Hayes and Carey Hayes… entire case file library… any and all right, title, and
 interest in and to the entire life stories… any and all agreements, assignments, instruments and other documents
 heretofore made pursuant to which services are to be rendered, and/or materials furnished…” [New Line Ex. No. 4,
 p. 2-3 or 38].

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          Agreement”).      [New Line Ex. No. 5]. The Producer Loanout Agreement is an

          agreement “by which Mr. DeRosa-Grund serves [sic] as a producer were provided by

          his loanout company. . . And that’s a provision that provides that all the results and

          proceeds of anything that Mr. DeRosa-Grund did either before or after the agreement

          are deemed the property of New Line including ideas, suggestions, themes, plots,

          stories, characterizations, dialogue, etc.” [Hr’g Tr. 173:10–24, Dec. 1, 2015].

       31. Additionally, on November 11, 2009, the Debtor, Holdings, and New Line entered

          into an agreement entitled Certificate of Employment (the “COE”). The essential

          terms of the COE are that the Debtor agrees for “good and valuable consideration” to

          render services in connection with “The Conjuring” including “all ideas, suggestions,

          themes, plots, stories, characterizations, dialogues, titles and other materials, whether

          in writing or not in writing at any time heretofore or hereafter created or

          contributed… copyrights, neighboring rights, trademarks and any and all other

          ownership.” [New Line Ex. No. 22].

       32. The Trustee was not a party to, nor did he sign, the Option Quitclaim Agreement, the

          amendment to the Option Quitclaim Agreement, the Producer Loanout Agreement, or

          the COE. [See New Line Ex. Nos. 4, 5, 7 & 22].

       33. Because the Trustee was not a party to, and did not execute, the Option Quitclaim

          Agreement, the Amendment to the Option Quitclaim Agreement, the Producer

          Loanout Agreement, or the COE, no property of the Estate was transferred by virtue

          of the execution of these documents.




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                     ii. Transactions Involving the Trustee, New Line, Holdings, the Debtor and
                     Peter Safran 10

            34. On December 22, 2009, the Trustee filed a Motion to Approve Agreement Between

                Trustee and Evergreen Media Holdings, LLC, New Line Productions, Inc., Peter

                Safran, and Tony DeRosa-Grund (the “Trustee’s Motion”). [Doc. No. 33].

                     a. In the Trustee’s Motion, he asserted that he lacked sufficient information to

                         evaluate whether the Estate had an interest in the proceeds to be generated

                         from the movie to be made called “The Conjuring,” although he noted that the

                         Debtor maintained “that because Debtor’s family trust purportedly owns

                         Evergreen Media Holdings and because the deal was entered into post-

                         petition, the Estate lacks any interest in the rights related to the movie.” [Doc.

                         No. 33, ¶ 4].

                     b. Further, the Trustee represented that he was not in a “position to evaluate the

                         factual allegations that Debtor and [Holdings]. . . made           regarding the

                         ownership of the intellectual property and any other thing of value to be

                         transferred to New Line,” [Doc. No. 33, ¶ 5], and that the Debtor and

                         Holdings represented to the Trustee that if the “Trustee fails to accept the

                         proposal deal and release New Line of any claim that the Estate will forfeit

                         that collection of $100,000.00. . . [and] there will not be a second opportunity

                         to receive payment for a similar motion picture deal.” [Id.]

                     c. According to the Trustee, he was faced with a “difficult choice:” if he were to

                         conduct an “adequate investigation. . . of the facts surrounding Evergreen

                         Media Holdings’ acquisition of the motion picture rights, he risks the


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      Peter Safran was one of the producers of “The Conjuring.”

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                  threatened loss of $100,000.00 for the estate (which, according to the Debtor,

                  currently does not have a penny).” [Id.].

              d. The Trustee’s Motion requested that the Court “authorize him to release New

                  Line from any claim arising out of any of the intellectual property or other

                  rights to be assigned or otherwise transferred to New Line in exchange for the

                  payment of $100,000.00. . .” [Doc. No. 33]; [New Line Ex. No. 19].

       35. No creditor or party-in-interest (including the Debtor) ever objected to the allegations

          set forth in the Trustee’s Motion, nor did anyone object to the relief sought therein.

       36. On January 27, 2010, Bankruptcy Judge Steen entered an order approving the

          Trustee’s Motion (the “Order Approving Agreement”). [Doc. No. 38]. The Order

          Approving Agreement authorized the Trustee, in exchange for a $100,000.00

          payment made by New Line to him for the benefit of the Estate, to release any claims

          for injunctive relief that the Estate had or may have against New Line, its affiliates, or

          any entities involved in the “exploitation, marketing, distribution or production of the

          material described in the Deal Memo. . .         arising out of the execution of and

          performance under any of the agreements contemplated by the Deal Memo.” [Id. at ¶

          1]. Additionally, the Order Approving Agreement authorized the Trustee to accept

          the $100,000.00 payment from New Line in “full satisfaction and release of any

          claims for injunctive relief that the Estate has, had or may come to have against New

          Line arising out of or relating to the transfer of intellectual property and any other

          rights associated therewith or related thereto contemplated by the Deal Memo.” [Id.

          at ¶ 2]. Finally, the Order Approving Agreement recognized that in authorizing the

          Trustee to release any Estate claims, the release related to agreements concerning the



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              “Untitled Hayes Brothers Project”—otherwise known as “the Picture.” [Debtor’s Ex.

              No. 3]. 11

         37. After the Order Approving Agreement was signed and entered on the docket, the

              Trustee and New Line consummated the agreement, and New Line paid $100,000.00

              to the Trustee—funds that were eventually distributed to pay allowed claims. [See

              Finding of Fact No. 28].

 F. Dispute Breaks Out Over Whether New Line Has Misappropriated the Treatment

         38. At some point after Judge Steen signed the Order Approving Agreement on January

              27, 2010, a dispute broke out between the Debtor and New Line over whether New

              Line was misappropriating the Treatment in order to have its own writers work up the

              screenplay for the “The Conjuring.” [See New Line Ex. No. 6]; [Debtor’s Ex. No. 6].

         39. Negotiations ensued over this dispute, but no agreement was reached.

         40. On October 7, 2010, at 5:49 P.M., the Debtor, sent an e-mail to Craig Alexander

              (“Alexander”), the senior vice president and head of business and legal affairs of New

              Line, inquiring as to whether they could confer the following day regarding “John’s

              proposed compromise.” [Debtor’s Ex. No. 6]. This e-mail concerned a proposed

              compromise about the Debtor’s belief that the Hayes brothers and New Line were

              stealing the Treatment and using it to write the screenplay for “The Conjuring.” 12


 11
    Attached to the Order Approving Agreement was a so-called “Deal Memo” dated December 4, 2009. This
 document was signed by Holdings, the Debtor, New Line and Peter Safran. The Trustee did not execute this
 document, and this is understandable because the “Deal Memo” added terms to the Option Quitclaim Agreement
 and the Producer Loanout Agreement (to which the Trustee was also not a party). The Deal Memo was attached to
 the Order Approving Agreement in order to document why New Line was paying $100,000.00 to the Trustee (i.e. to
 ensure that the Trustee would not seek an injunction against New Line for any rights that New Line was acquiring
 under the Option Quitclaim Agreement and the Producer Loanout Agreement, and any other agreements referenced
 in the Deal Memo).
 12
   As set forth in fn. 8, the Hayes brothers are independent writers whom New Line (or New Line’s affiliate, Warner
 Brothers) employed to write the script/screenplay for “The Conjuring.” [Hr’g Tr. 57:17–19, Dec. 1, 2015].

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             [Debtor’s Ex. No. 6]. On October 7, 2010, at 7:51 P.M., Alexander responded to the

             Debtor’s e-mail by sending an e-mail back to him stating that: “I am afraid, I [i.e.

             New Line] can’t buy your treatment. I don’t think the writers ever saw it, and it would

             not be fair to them to introduce that into the credit determination.” 13 [Id.] On October

             7, 2010, at 8:44 P.M., the Debtor replied to Alexander’s e-mail by stating the

             following: “Bullshit Craig, at least 60%-65% of the story if not more, is from my

             Treatment.” [New Line Ex. No. 6](emphasis added). The Debtor then made the

             following threat:

                  I shut my mouth up till now to get this [movie] made, but no more. All
                  bets are off. I had the conversation with Peter Safran [one of the
                  producers] a while back and also with John, even before there were any
                  “issues” that this script was based on my story/treatment and transited way
                  beyond any producer duties, so shouldn’t I be credited/paid for that work.
                  No more Mr. Nice guy, no more patience. No one rips me off creatively or
                  otherwise. So I’ll just sue everyone here because I have had enough of
                  being defrauded and now screwed with. See you in court.

                  [New Line Ex. No. 6](emphasis added).

         41. On October 19, 2010, the Option Quitclaim Agreement was later amended to add an

             additional paragraph that read, in relevant part, “[i]f DeRosa-Grund contributed any

             oral or written material to the screenplay for the motion picture currently entitled

             ‘The Conjuring’ (including but not limited to, a treatment), such material is owned

             and controlled by [the Debtor, Evergreen, Silverbird, and Holdings] pursuant to the

             terms of the Certificate of Employment dated as of November 11, 2009 between New

             Line and Holdings for the services of DeRosa-Grund. . .” [New Line Ex. No. 7, p. 9

             of 11]. [Hr’g Tr. 171:24–172:13, Dec. 1, 2015].



 13
   The phrase “credit determination” refers to whether someone who has written a screenplay for a movie should be
 given credit at the end of the movie for writing the screenplay.

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 G. “The Conjuring” is Released and Becomes a Huge Success

          42. On July 19, 2013, “The Conjuring” was released and became one of the highest

              grossing films of that year. [Hr’g Tr. 6:17–18, Dec. 1, 2015]; [Debtor’s Ex. No. 5, p.

              2] (District Judge Lee Rosenthal’s Memorandum Opinion finding that the movie

              “grossed over $300 million worldwide.”).

          43. After the release of “The Conjuring” began generating substantial revenues, the

              Debtor continued to insist that New Line and Warner Brothers had misappropriated

              the Treatment and used it to write the screenplay for “The Conjuring.” [Debtor’s Ex.

              No. 6]; [New Line Ex. No. 6]. New Line and Warner Brothers both denied this

              accusation.

 H. After the Debtor’s Chapter 7 Case was Fully Administered, the Debtor Initiated
 Lawsuits Seeking to Recover Damages for, Among Other Actions, the Alleged
 Misappropriation by New Line of the Treatment.

          44. On March 28, 2014—two days after the Trustee filed his final account and

              distribution report, [Doc. No. 88]—the Debtor and Holdings filed suit against New

              Line and Warner Brothers in the United States District Court for the Southern District

              of Texas (the “District Court”) alleging (1) breach of contract; (2) breach of the

              implied covenant of good faith and fair dealing; (3) fraud in the inducement; (4)

              promissory estoppel; (5) conversion; (6) declaratory judgment; and (7) violation of

              the Lanham Act. [Civil Action No. 14-00793, Doc. No. 1]. 14


 14
    The Court was made aware of Civil Action No. 14-00793 and Civil Action No. 14-01117 because Debtor’s
 Exhibit No. 5 is a Memorandum and Opinion issued by the District Court presiding over those lawsuits. Further,
 counsel for the Debtor made this Court award of another suit pending in the District Court bearing Civil Action
 Number 15-02763. [Hr’g Tr. 14:17–15:6, Dec. 1, 2015]. The Court has reviewed the docket sheet of these suits, as
 well as the docket sheet of one other suit filed by the Debtor against New Line in the District Court. The Court has
 also reviewed the complaints filed by the Debtor to initiate these suits. In this Court’s Findings of Fact Nos. 44, 45,
 46, 52, & 53, this Court cites to various allegations about the Treatment that the Debtor made in these complaints.
 The Court is allowed to do so because “[c]ourt documents from another case may be used to show that the document
 was filed, that [a] party took a certain position, and that certain. . . allegations or admissions were made. . .” In re

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                   a. The civil action was assigned to the Honorable United States District Judge

                       Lee H. Rosenthal.

                   b. Sanford L. Dow (“Dow”), a partner at the Houston law firm of Dow Golub

                       Remels & Beverly, LLP), represented the Debtor in the civil action. [Id.].

                   c. In this lawsuit, the Debtor made the following allegations with respect to the

                       Treatment: (1) the Debtor’s “strategy and vision…developed into and became

                       the basis for the written story and treatment based on the ‘Perron Farmhouse’

                       Case File, all of which was used as the foundation and basis of the hit

                       theatrical motion picture ‘The Conjuring;’ ” (2) the Debtor “created,

                       conceived, and authored the story and treatment of the ‘Perron Farmhouse’

                       Case File;” (3) the Debtor “created the ‘The Conjuring’ trademark;” (4) the

                       Debtor sought to sell the aforementioned story and treatment, as well as the

                       Warrens’ life rights and Case Files, in conjunction with a feature motion

                       picture series using ‘The Conjuring’ trademark that he had created;” (5) the

                       Debtor “prior to entering into an agreement” with New Line worked with the

                       Hayes brothers to turn the story and treatment into a “ ‘pitch’ and, finally, a

                       formal script;” (6) the Hayes brothers “received copies of the [Debtor’s]

                       story, treatment, and recording,” and (7) New Line knew the Hayes brothers

                       used the Debtor’s “original story and treatment” as the “underlying foundation

                       and basis” for their work. [Id. at 5–6].



 FedEx Ground Package Sys., 2010 U.S. Dist, LEXIS 30303, at *10 (N.D. Ind. Mar. 29, 2010) (citation omitted); see
 also Anderson v. Dallas Cty., No. 3:05-CV-1248-G, 2007 WL 1148994, at *3 (N.D. Tex. Apr. 18, 2007) aff’d, 286
 F. App’x 850 (5th Cir. 2008) (“The Fifth Circuit has determined that a court may take judicial notice of a document
 filed in another court. . . to establish the fact of such litigation and related filings, but cannot take notice of the
 factual findings of another court.”) (quoting Taylor v. Charter Med. Corp., 162 F.3d 827, 830 (5th Cir. 1998) )
 (internal quotations omitted).

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                       d. The Debtor requested, among other relief, that New Line and Warner Brothers

                           pay damages for their alleged improper use of the Treatment. [Id. at 29–30].

                       e. The Debtor did not notify the Trustee of this suit.

                       f. The Debtor did not amend his Schedule B to disclose the Treatment. 15

                       g. The Debtor did not amend his Schedule B to disclose that he had filed a suit

                           based, at least in part, on events that occurred prior to the Petition Date (i.e.

                           the Debtor’s writing of the Treatment). 16

                       h. The Debtor’s case was still open on the date of the Debtor’s filing of this suit;

                           therefore, the Debtor could have amended his Schedule B without having to

                           reopen his case.

             45. On April 23, 2014—less than one month after the Trustee filed his final account and

                    distribution report—the Debtor, Holdings and Gerald D. Brittle 17 filed suit against

                    Lorraine Warren, Tony Spera, Graymalkin Media, LLC, New Line, and Warner

                    Brothers in the District Court alleging copyright infringement. [Civil Action No. 14-

                    01117, Doc. No. 1].



 15
    There is no question that Holdings, in addition to the Debtor, was the other plaintiff in this suit and that the prayer
 paragraph of the complaint reflects that they jointly sought the relief requested. But, this fact did not relieve the
 Debtor from his duty as the debtor in his Chapter 7 case from amending his Schedule B to disclose that he had filed
 suit (i.e. owned an asset) seeking damages based upon events that occurred, at least in part, prior to the Petition Date
 (i.e. his writing the Treatment). See In re Robert’s Plumbing & Heating, LLC, No. 10-23221, 2011 WL 2972092, at
 *11 (Bankr. D. Md. July 20, 2011) (“For purposes of the Schedules, which are intended to relate to facts or events
 occurring before the filing of the Petition, the Debtor disclosed all facts or events through and including [the petition
 date].”); see also, In re Castillo, 508 B.R. 1, 7-8 (Bankr. W.D. Tex. 2014) (“debtors have an express, affirmative
 duty to disclose all assets even if there is uncertainty about if those assets are property of the estate”); Kimberlin v.
 Dollar Gen. Corp., 520 F. App’x 312, 314 (6th Cir. 2013) (“Applying judicial estoppel under these circumstances
 recognizes the importance of the bankruptcy debtor’s affirmative and ongoing duty to disclose assets, including
 unliquidated litigation interests.”) (emphasis added).
 16
      See fn. 15.
 17
  Gerald D. Brittle is the author of “The Demonologist,” a book about the lives and experience of Ed and Lorraine
 Warren. [Civil Action No. 14-01117, Doc. No. 1, p. 12 of 33].

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                    a. This suit was initially assigned to the Honorable United States District Judge

                       David Hittner.

                    b. The Debtor, again represented by Sanford Dow, sought actual and punitive

                       damages. [Id.].

                    c. In this particular lawsuit, the Debtor asserted the following in regard to the

                       Treatment: (1) the Debtor’s “strategy and vision…developed into and became

                       the basis for” the treatment based on Perron Family Case file;           (2) the

                       Debtor’s “strategy, vision, story and treatment” was used as the “foundation

                       and basis” for “The Conjuring;” (3) New Line and Warner Brothers received

                       copies of the Debtor’s story, treatment, recording, “as well as any and all

                       notes and materials he possessed related to the ‘Perron Farmhouse’ Case file;”

                       and (4) New Line and Warner Brothers were “acutely and actually aware

                       that” the Debtor’s story and treatment were the “underlying foundation and

                       basis for the screenwriters work.” [Id. at 4–6].

                    d. The Debtor again requested, among other relief, that New Line, Warner

                       Brothers, and other defendants, pay damages for their alleged improper use of

                       the Treatment. [Id. at 30–32].

                    e. The Debtor did not notify the Trustee of this suit.

                    f. The Debtor did not amend his Schedule B to disclose the Treatment. 18

                    g. The Debtor did not amend his Schedule B to disclose that he had filed a suit

                       based, at least in part, on events that occurred prior to the Petition Date (i.e.

                       the Debtor’s writing of the Treatment). 19


 18
      See fn. 15.


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                       h. The Debtor’s case was still open on the date of the Debtor’s filing of this suit;

                           therefore, the Debtor could have amended his Schedule B without having to

                           reopen his case.

             46. On June 25, 2014, District Judge Rosenthal entered an order transferring Civil Action

                    14-01117 to her court and consolidating it under Civil Action 14-00793. [Debtor’s

                    Ex. No. 5, p. 24 of 24]; [Civil Action No. 14-00793, Doc. No. 21]; [Civil Action No.

                    14-01117, Doc. No. 22].

                       a. On October 28, 2014, Judge Rosenthal granted the Motion of New Line and

                           Warner Brothers to Dismiss or Stay in Favor of Ongoing Arbitration; or in the

                           Alternative to Transfer Venue. [Civil Action No. 14-00793, Doc. No. 44].

                       b. On November 4, 2014, District Judge Rosenthal issued a Memorandum

                           Opinion and corresponding order dismissing Civil Action 14-00793 and Civil

                           Action 14-01117 in favor of arbitration. [Civil Action No. 14-00793, Doc.

                           No. 45, p. 24 of 24]; [Civil Action No. 14-00793, Doc. No. 46].

                       c. The Debtor did not notify the Trustee of District Judge Rosenthal’s decision.

                       d. The Debtor did not amend his Schedule B setting forth that he had a claim in

                           arbitration against New Line that was based upon New Line’s alleged

                           misappropriation of the Treatment.

 I. Results of the Arbitration Proceeding

             47. After District Judge Rosenthal issued her dismissal order, the parties proceeded to

                    arbitration in California.   [Hr’g Tr. 157:7–10, Dec. 1, 2015].      The Debtor was

                    represented by two attorneys at this arbitration whose names are Charles W. Grimes

                    and Michael R. Patrick. [New Line Ex. No. 13, p. 1]. Extensive discovery was
 19
      See fn. 15.

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          conducted, including depositions; a full evidentiary hearing was held, which included

          testimony and the introduction of 497 exhibits; and then the arbitrator took the matter

          under advisement. [Hr’g Tr. 166:3–8, Dec. 1, 2015]. The Debtor failed to notify the

          Trustee of the existence of this arbitration proceeding.

       48. On February 5, 2015, the arbitrator issued a final arbitration award completely in

          favor of New Line and Warner Brothers. [New Line Ex. No. 13, p. 32 of 32].

          Indeed, the arbitrator ruled that the Debtor had failed to meet his burden of proof on

          any of his claims, and that “New Line is the prevailing party in this arbitration.” [Id.].

       49. After the issuance of the final arbitration award in favor of New Line and Warner

          Brothers, the Debtor filed an appeal of this award.            [New Line Ex. No. 14].

          Meanwhile, the Debtor, through his attorney, conducted negotiations with New Line

          and Warner Brothers in an effort to achieve a settlement. However, no settlement

          was ever reached.

 J. The Letter Sent By the Debtor’s Attorney to New Line After the Arbitrator Ruled
 Against the Debtor

       50. On July 20, 2015, Dow, as the attorney for the Debtor and Holdings, e-mailed a letter

          to O’Connor, the attorney for New Line (the “Dow Letter”). [New Line Ex. No. 15].

          The Dow Letter stated that “we have discovered several other causes of action that we

          intend to file against your clients, Lorraine Warren, Tony Spera, New Line

          Productions, Inc. (“New Line”), and Warner Bros Entertainment Inc. (“Warner

          Bros”), in the very near future,” [Id. at p. 1 of 73], and further stated that:

                  Mr. DeRosa-Grund intends to file a concurrent motion to reopen his
                  personal bankruptcy in light of the fact that the above-referenced
                  treatment should have been listed as an asset in the original bankruptcy
                  matter, but inadvertently was not. The reopening will address that
                  inadvertent error as his treatment was, and remains an asset of the

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                 bankruptcy estate. Mr. DeRosa-Grund and I have already met with the
                 U.S. Bankruptcy Trustee who was originally involved in the
                 bankruptcy, and have explained the facts and circumstances to him.
                 Based on our conversations, he has authorized us to convey to the
                 court that he will not oppose the reopening of the bankruptcy. A copy
                 of the motion to reopen the bankruptcy is also attached.

                 Finally, Mr. DeRosa-Grund and [Holdings] intend to file a motion
                 with the bankruptcy court requesting a Show Cause Order. Pursuant to
                 the Deal Memo, and the bankruptcy court’s order approving the same,
                 Safran and [Holdings] were supposed to be an indivisible producing
                 team. When New Line refused to employ and compensate [Holdings]
                 as producer on any and all sequel productions, New Line was clearly
                 in contempt of the bankruptcy court’s order. Because the foregoing
                 original order of the bankruptcy court was part of a core proceeding,
                 this adversarial proceeding cannot be adjudicated in any other forum
                 (i.e. mediation), as bankruptcy courts have the sole and exclusive
                 jurisdiction over core proceedings and proceedings related thereto.

          [Id. at p. 2 of 73]. After making the above-referenced threat to next sue New Line in

          bankruptcy court, the Dow Letter subsequently proposes the following: “If a

          settlement can be reached, my clients will agree to withdraw all current and

          contemplated litigation.” [Id. at p. 3 of 73][emphasis added]. Among the attachments

          to this e-mail was a copy of an unfiled application to reopen the Debtor’s case under §

          350, and a copy of an unfiled Show Cause Order Against New Line to be filed in the

          Debtor’s case once it was reopened. [Id. at pp. 68–73 of 73]. A review of the draft

          show cause order reflects that the Debtor, together with Holdings, was going to

          request that this Court impose sanctions of $250,000.00 per day against New Line for

          its alleged contempt of the Order Approving Agreement. [New Line Ex. No. 15, the

          last ¶ on the penultimate page].

       51. O’Connor, attorney for New Line, understood the Dow Letter to mean that “if [New

          Line] agreed to [the] demands and paid [the Debtor] the monies that the Arbitration

          Award denied him, that he wouldn’t file the litigation and he wouldn’t seek to reopen

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           this bankruptcy case. . .” [Hr’g Tr. 17:12–16, Dec. 2, 2015]. O’Connor testified that

           when he received the Dow Letter, he was “appalled” because “we [] spent 2-1/2 years

           litigating the issues in the Arbitration Award and Mr. DeRosa-Grund was essentially

           seeking a do-over by making a claim that the Bankruptcy Court was somehow

           implicated in this, which is a claim that he had never made.” [Hr’g Tr. 15:23; 16:13–

           17, Dec. 2, 2015]. No settlement was reached after Dow sent his letter to O’Conner.

 K. Post-Arbitration Lawsuit Filed By the Debtor

       52. On August 7, 2015, the Debtor, as the sole plaintiff, and once again represented by

           Dow, filed suit against Time Warner, Inc. (“Time Warner”), Warner Brothers, New

           Line, Chad Hayes, Carey Hayes, and Peter Safran in the District Court alleging

           copyright infringement, violation of the Lanham Act, and violation of Texas common

           law. [Civil Action No. 15-02273, Doc. No. 1, ¶4].

              a. The suit was assigned to the Honorable District Judge Nancy F. Atlas.

              b. The Debtor sought declaratory judgment, injunctive relief, actual and punitive

                  damages, attorney’s fees, court costs, and pre and post judgment expenses.

                  [Id.].

              c. In this lawsuit, the Debtor asserted the following in regard to the Treatment:

                  (1) the Debtor wrote the Treatment as a work of fiction, [Id. at p. 7]; (2) the

                  Debtor attempted to sell the Treatment to motion pictures studios for years

                  [Id.]; (3) the Debtor sent a copy of the Treatment to Stacey Snider, then

                  chairwomen of Dream Works who informed the Debtor she “definitely

                  understands the commercial potential for such a deliciously creepy story,

                  [Id.];” (4) in February of 2009, the Debtor sent a copy of the Treatment to



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                Gold Circle Films, who “was interested in entering into a deal with [the

                Debtor], whereby it would acquire the rights to The Conjuring Treatment…

                however, the two sides [the Debtor and Gold Circle Films] could not

                ultimately agree to the terms, [Id. at 7–8];” (5) New Line and Warner Brothers

                “unlawfully produced and exploited… ‘The Conjuring,’ a work derived from

                the [Debtor’s] original story and treatment, [Id. at p. 1];” (6) “At no time did

                [New Line and Warner Brothers] negotiate with the Trustee to exclude the

                [Debtor’s Treatment] from the bankruptcy estate, [Id. at p. 2];” (7) New Line

                and Warner Brothers never filed a motion with the bankruptcy court to

                exclude the Treatment from the bankruptcy estate, [Id.]; and (8) New Line and

                Warner Brothers never requested that the bankruptcy court transfer the

                Treatment from the bankruptcy estate to either New Line or Warner Brothers,

                [Id.].

             d. The Debtor requested, among other relief, that New Line and the other

                defendants be enjoined from “infringing the copyrights in The Conjuring

                Treatment.” [Id. at p. 32 of 36]. Additionally, the relief requested by the

                Debtor was for “an accounting and restitution… of all gains, profits, and

                advantages Defendants have derived from their…copyright infringement of

                The Conjuring Treatment.” [Id.].

             e. The Debtor did not seek to reopen his case at this time to file an amended

                Schedule B disclosing this cause of action, which was based, at least in part,

                on events that occurred prior to the Petition Date (i.e. the Debtor’s writing of

                the Treatment).



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              f. The Debtor did not seek to reopen his case at this time in order to file an

                  amended Schedule B disclosing the Treatment.

              g. The Debtor moved to dismiss this suit on August 28, 2015. [Civil Action No.

                  15-02273, Doc. No. 4]. On this same day, District Judge Nancy Atlas granted

                  this relief. [Civil Action No. 15-02273, Doc. No. 5].

       53. On September 22, 2015, the Debtor, representing himself pro se, filed yet another suit

          against Time Warner, Warner Brothers, New Line, Chad Hayes, and Carey Hayes in

          the District Court alleging copyright infringement, violation of the Lanham Act, and

          violation of Texas common law. [Civil Action No. 15-02763, Doc. No. 1].

              a. This suit was assigned to the Honorable United States District Judge Alfred H.

                  Bennett.

              b. The Debtor is representing himself pro se in this suit.

              c. With regards to the Treatment, the Debtor asserted the exact same allegations

                  previously asserted in Civil Action No. 15-02273 but without Peter Safran

                  listed as a defendant. [See Civil Action No. 15-02763, Doc. No. 1 and Civil

                  Action No. 15-02273, Doc. No. 1].

              d. The Debtor requested, among other relief, that New Line and the other

                  defendants be enjoined from “infringing the copyrights in The Conjuring

                  Treatment.” [Id. at p. 33 of 36]. Additionally, the relief requested by the

                  Debtor was for “an accounting and restitution. . . of all gains, profits, and

                  advantages Defendants have derived from their. . . copyright infringement of

                  The Conjuring Treatment.” [Id.].




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              e. On December 22, 2015, District Judge Bennett dismissed this suit. [Civil

                  Action No. 15-02763, Doc. No. 16].

 L. The Filing of the Motion to Reopen

       54. On September 23, 2015, the Debtor filed the Motion to Reopen. [Doc. No. 92]. Two

           objections were lodged to the Motion to Reopen; the first was filed by PSG and

           Gordon on October 14, 2015, [Doc. No. 93], but was later withdrawn on November

           25, 2015, [Doc. No. 97]. It was withdrawn because the Debtor paid PSG and Gordon

           the $576,266.70 New York Judgment on the eve of the Hearing. [Id. at p. 2 of 2].

           The second objection was lodged by New Line, which was also filed on October 14,

           2015. [Doc. No. 94].

       55. This Court held a multi-day hearing on the Motion to Reopen on December 1, 2015,

           December 2, 2015, December 3, 2015, December 7, 2015, on which date the parties

           delivered closing arguments and the Court took the matter under advisement.

 M. Checks Remitted by New Line to the Debtor or Entities with which He is Affiliated

       56. On April 16, 2010, New Line delivered a check for $75,000.00 made payable to the

           law firm of Stroock & Stroock & Lavan LLP, representing full payment of the initial

           option payment under the Option Quitclaim Agreement. [New Line Ex. No. 8]. At

           this time, Stroock & Stroock & Lavan represented the Debtor and the entities with

           which he is affiliated, and was authorized to serve as the designated recipient for

           these funds.

       57. On January 23, 2012, New Line delivered a check for $385,000.00, made payable to

           Stroock & Stroock & Lavan LLP, representing a full payment of the purchase price,

           less the initial option payment and third party rights payments, as set forth in



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            paragraph 4 of the Option Quitclaim Agreement. [New Line Ex. No. 9, p. 3]. At this

            time, Stroock & Stroock & Lavan was still representing the Debtor and the entities

            with which he is affiliated, and this law firm was authorized at that time to serve as

            the designated recipient for these funds.

        58. On July 2, 2014, New Line delivered a check to the Debtor for $750,000.00,

            representing the theatrical sequel rights payment at set forth in paragraph 5(c) of the

            Option Quitclaim Agreement. [New Line Ex. No. 10]. The check was made payable

            to “Tony DeRosa-Grund” and “Evergreen Media Holdings, LLC.” [New Line Ex.

            No. 10, p. 2]. New Line sent this check directly to the Debtor at his residential

            address in Magnolia, Texas. [Id.].

                                         III. CREDIBILITY

        There were two witnesses who testified at the Hearing: (1) the Debtor; and (2) O’Connor,

 an attorney who has extensive involvement representing New Line in the numerous lawsuits that

 the Debtor has filed against this company; O’Connor’s representation has also included the

 arbitration proceeding. In regards to the credibility of these two witnesses, the Court makes the

 following findings:

        1. The Debtor

        The Court finds that the Debtor is not a credible witness on several material issues. The

 Court makes this finding after listening to extensive testimony from the Debtor and, additionally,

 comparing certain answers that he gave under oath at the Hearing with information that he set

 forth under oath in his Schedules and SOFA as well as certain allegations that he made, and

 relief that he requested, in the various lawsuits that he filed against New Line in the District

 Court. Attached hereto as Appendix “A” to this Opinion are this Court’s specific observations



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 and findings about the Debtor’s credibility. Because the Debtor is not a credible witness on

 several issues, the Court gives his testimony little or no weight on these issues. On certain other

 issues, where the Debtor actually responded to the questions posed to him and where there was

 no controverting testimony or documentation—for example the Debtor’s testimony describing

 the events that resulted in his writing the Treatment—the Court gives at least some weight to the

 Debtor’s testimony.

        2. Michael O’Connor

        The Court finds that O’Connor is a very credible witness who forthrightly answered the

 questions posed to him. This Court gives his testimony considerable weight with one exception.

 The Court gives little weight to his specific testimony that New Line acquired title to the

 Treatment as a result of the execution of the Option Quitclaim Agreement (as amended), the

 Producer Loanout Agreement, and the COE. [Hr’g Tr. 30:7–33:19, Dec. 2, 2015]. Given certain

 language in these documents, the Court understands how O’Conner could, in good faith, honestly

 testify that he believes that New Line acquired title to the Treatment as a result of these

 documents. But, the Court places much greater weight on the unambiguous assertion made

 several months after the execution of these documents by New Line’s senior vice president,

 Alexander stating that: “I’m afraid I [i.e. New Line] can’t buy your treatment. I don’t think the

 writers ever saw it, and it would not be fair to them to introduce that into the credit

 determination.” [Finding of Fact No. 40]. Alexander’s statement reflects that New Line’s own

 executive did not believe that New Line had ever acquired title to the Treatment.




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                                    IV. CONCLUSIONS OF LAW

          A. Jurisdiction

          The Motion to Reopen is a contested matter under Rule 9014. The Court has jurisdiction

 over this contested matter pursuant to 28 U.S.C. §§ 1334(b) and 157(a). Section 1334(b)

 provides that “the district courts shall have original but not exclusive jurisdiction of all civil

 proceedings arising under title 11 [the Code], or arising in or related to cases under title 11.”

 District courts may, in turn, refer these proceedings to the bankruptcy judges for that district. 28

 U.S.C. § 157(a). In the Southern District of Texas, General Order 2012-6 (entitled General

 Order of Reference) automatically refers all eligible cases (which include contested matters) and

 adversary proceedings to the bankruptcy courts.

          B. Venue

          Venue is proper pursuant to 28 U.S.C. § 1408(1), as the Debtor resided in the Southern

 District of Texas for the 180 days preceding the Petition Date. Specifically, the Debtor resides in

 Magnolia, Montgomery County, Texas; and this county is located within the Southern District of

 Texas.

          C. Constitutional Authority of this Court to Enter a Final Order on the Motion to
          Reopen

          In the wake of the Supreme Court’s issuance of Stern v. Marshall, 131 S. Ct. 2594

 (2011), this Court is required to determine whether it has the constitutional authority to enter a

 final order in any dispute brought before it. In Stern, which involved a core proceeding brought

 by the debtor under 28 U.S.C. § 157(b)(2)(C), the Supreme Court held that a bankruptcy court

 “lacked the constitutional authority to enter a final judgment on a state law counterclaim that is

 not resolved in the process of ruling on a creditor’s proof of claim.” Id. at 2620. The pending

 dispute before this Court is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) because

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 reopening this case under § 350(b) concerns the administration of the Estate. Because Stern is

 replete with language emphasizing that the ruling is limited to the one specific type of core

 proceeding involved in that dispute (i.e. § 157(b)(2)(C)), this Court concludes that the limitation

 imposed by Stern does not prohibit this Court from entering a final order here.            A core

 proceeding under § 157(b)(2)(A)—particularly one involving an express Code provision

 governing the reopening of a case—is entirely different than a core proceeding under §

 157(b)(2)(C). See, e.g., Badami v. Sears (In re AFY, Inc.), 461 B.R. 541, 547–48 (8th Cir.

 B.A.P. 2012) (“Unless and until the Supreme Court visits other provisions of Section 157(b)(2),

 we take the Supreme Court at its word and hold that the balance of the authority granted to

 bankruptcy judges by Congress in 28 U.S.C. § 157(b)(2) is constitutional.”); see also In re Davis,

 538 F. App’x 440, 443 (5th Cir. 2013) cert. denied sub nom. Tanguy v. W., 134 S. Ct. 1002

 (2014) (“[W]hile it is true that Stern invalidated 28 U.S.C. § 157(b)(2)(C) with respect to

 ‘counterclaims by the estate against persons filing claims against the estate,’ Stern expressly

 provides that its limited holding applies only in that ‘one isolated respect’. . . We decline to

 extend Stern’s limited holding herein.”).

        Alternatively, even if Stern applies to all of the categories of core proceedings brought

 under § 157(b)(2), see In re Renaissance Hosp. Grand Prairie Inc., 713 F.3d 285, 294 n.12 (5th

 Cir. 2013) (“Stern’s ‘in one isolated respect’ language may understate the totality of the

 encroachment upon the Judicial Branch posed by Section 157(b)(2). . .”), this Court still

 concludes that the limitation imposed by Stern does not prohibit this Court from entering a final

 order in the dispute at bar. In Stern, the debtor filed a counterclaim based solely on state law,

 and the resolution of that counter claim would not necessarily lead to a determination of the

 validity or invalidity of the claim filed by the defendant against the debtor’s estate. Conversely,



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 in the case at bar, the Motion to Reopen is based solely on an express provision of the Code, §

 350(b), [and judicially-created bankruptcy law interpreting this provision; there is no state law

 involved whatsoever]. This Court is therefore constitutionally authorized to enter a final order

 on the Motion to Reopen. See In re Airhart, 473 B.R. 178, 181 (Bankr. S.D. Tex. 2012) (noting

 that the bankruptcy court has constitutional authority to enter a final order when the dispute is

 based upon an express provision of the Code and no state law is involved).

        Finally, in the alternative, this Court has the constitutional authority to enter a final order

 on the Motion to Reopen because the parties in this contested matter have consented, impliedly if

 not explicitly, to adjudication of this dispute by this Court. Wellness Int’l Network, Ltd. v.

 Sharif, 135 S. Ct. 1932, 1947 (2015) (“Sharif contends that to the extent litigants may validly

 consent to adjudication by a bankruptcy court, such consent must be expressed. We disagree.

 Nothing in the Constitution requires that consent to adjudication by a bankruptcy court be

 expressed. Nor does the relevant statute, 28 U.S.C. § 157, mandate express consent. . .”).

 Indeed, the Debtor filed the Motion to Reopen in this Court, [Doc. No. 92]; New Line filed its

 response opposing the Motion to Reopen, [Doc. No. 94]; and the parties proceeded to make a

 record in a multi-day hearing without ever objecting to this Court’s constitutional authority to

 enter a final order on the Motion to Reopen, [See Finding of Fact No. 55]. If these circumstances

 do not constitute consent, nothing does.

        D. Circumstances Under Which the Debtor’s Case May be Reopened

        A bankruptcy court has the authority to reopen a bankruptcy case under § 350(b) “to

 administer assets, to accord relief to the debtor, or for other cause.” 11 U.S.C. § 350(b). The

 term “for other cause” is a broad term which gives the bankruptcy court discretion to reopen a




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 closed estate when cause for such reopening has been shown. Matter of Case, 937 F.2d 1014,

 1018 (5th Cir.1991).

        In the case at bar, the Debtor, pursuant to Rule 5010, requests that this Court reopen his

 case to allow the Trustee to administer an asset—namely, the Treatment—that the Debtor asserts

 he owned on the Petition Date but inadvertently failed to disclose. New Line vigorously opposes

 the reopening of the case; alternatively, New Line argues that if the case is reopened, then the

 Debtor should be estopped from receiving any proceeds from the Trustee’s sale or other

 disposition of the Treatment because the Debtor’s failure to initially disclose the Treatment was

 not inadvertent. See e.g., In re Coastal Plains, Inc., 179 F.3d 197, 205 (5th Cir. 1999); In re

 Superior Crewboats, Inc., 374 F.3d 330, 334-35 (5th Cir. 2004) (holding that where

 nondisclosure of an asset is not inadvertent, the debtor is estopped from taking action concerning

 this asset that would personally benefit him financially).      Under these circumstances, the

 threshold question for this Court is to determine whether the Debtor, in his individual capacity,

 actually owned the Treatment on the Petition Date. If he did not own this asset, then there is no

 basis to reopen the case, as the Trustee would have no asset to administer. Conversely, if the

 Debtor did own the Treatment on the Petition Date, then there is a sound basis for reopening:

 namely, for the Debtor to schedule the Treatment, which in turn would allow the Trustee to

 administer this asset and use any proceeds from its sale or other disposition to pay off remaining

 allowed claims—in part, if not in whole. [See f.n. 4, describing the existing unpaid allowed

 claims of approximately $185,000.00 in the aggregate].

        For the reasons set forth below, the Court concludes that the Debtor did own the

 Treatment on the Petition Date, and that therefore the Motion to Reopen should be granted so

 that the Debtor can amend his Schedule B to disclose the Treatment and, further, so that the



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 Trustee can then sell or otherwise dispose of this asset in order to generate proceeds to pay the

 remaining allowed claims. This Court, although granting the Debtor’s request to reopen his case,

 will nevertheless bar the Debtor: (1) from having any standing to object to any proposed sale or

 other disposition of the Treatment by the Trustee; and (2) from receiving the excess proceeds, if

 any, after payment of all allowed claims and the Trustee’s fee. Relying upon Fifth Circuit

 precedent, the Court imposes this bar against the Debtor because it has concluded that the

 Debtor’s failure to initially disclose the Treatment was not inadvertent. See Reed v. City of

 Arlington, 650 F.3d 571 (5th Cir. 2011); Love v. Tyson Foods Inc., 677 F.3d 258 (5th Cir. 2012);

 In Re Jackson, 2012 WL 3071218, aff’d per curiam by the Fifth Circuit on direct appeal at In Re

 Jackson, 574 F. App'x 317 (5th Cir. 2014). 20

            E. The Debtor, in His Individual Capacity, Owned the Treatment on the Petition
            Date and Therefore the Case Should Be Reopened So That the Trustee Can
            Administer This Asset for the Benefit of Creditors Whose Claims Remain Unpaid

            As already noted above, in deciding whether to grant the Motion to Reopen, this Court

 must necessarily determine whether the Debtor, in his individual capacity, owned the Treatment

 on the Petition Date. It is Black Letter law that all assets owned by a debtor on the date of the

 filing of his bankruptcy petition become property of the bankruptcy estate. 11 U.S.C. § 541(a);

 In    re     Carlton,    309      B.R.     67,    71     (Bankr.     S.D.     Fla.    2004)      (“11     U.S.C.      §



 20
    The Debtor will no doubt be unhappy with this Court’s ruling and may have second thoughts about wanting to
 reopen his case to amend his Schedule B to disclose the Treatment. So that there is absolutely no confusion in the
 Debtor’s mind, he will have no choice but to amend his Schedule B. The order that this Court will enter reopening
 this case will require the Debtor to amend his Schedule B to disclose the Treatment. In re Paine, 250 B.R. 99, 106
 (B.A.P. 9th Cir. 2000) (“Furthermore, § 105(a) authorizes a bankruptcy court to act sua sponte to order the debtors
 to amend the schedules or statements.”). Further, this Court will require the Debtor to not only list the Treatment on
 his Schedule B, but it will require him to set forth the value of this asset. See In re Solly, 392 B.R. 692, 697 (Bankr.
 S.D. Tex. 2008) (“The Court finds that it is inconsistent with the intent of the Code to permit a debtor to schedule
 the value of an asset as ‘unknown.’ Accordingly, in the case at bar, the Debtor must amend her Schedules to set
 forth a specific dollar value on the Malpractice Claim.”). The Court will also require the Debtor to amend his
 Schedule B to disclose all other assets that he should have listed in his initial Schedule B—for example, his interest
 in Silverbird.


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 541(a)(1) defines property of the estate to include all legal or equitable interests of the debtor in

 property as of the commencement of the case.”).

        At the Hearing, the Debtor testified that he—and he alone—wrote the Treatment.

 Specifically, he testified as follows:

        And at that point the light bulb really went off and it was a stream of
        consciousness. And for the next 15 or 20 minutes on the tape I gave him what I
        thought would be the way to make a movie out of this. You know, the story, the
        start, the finish, the first act, middle, the ending. And that was really the
        beginning of all of this. . . I took that tape and then I wrote a treatment. I mean, I
        put the words on the paper and made a written treatment of it. And I, you know,
        enhanced it and embellished it and added some things to it. You know, sort of
        fine-tuned it.

 [Hr’g Tr. 41:11–22, Dec. 1, 2015]. This testimony leaves no doubt that the Debtor, and only the

 Debtor, developed the Treatment; therefore, he became its owner at the time of its creation.

 Schiller & Schmidt, Inc. v. Nordisco Corp., 969 F.2d 410, 413 (7th Cir. 1992) (“The creator of

 the property is the owner, unless he is an employee creating the property within the scope of his

 employment.”). Indeed, New Line does not dispute that the Debtor wrote the Treatment, and

 that he had an interest in the Treatment when he completed it. And, because the Debtor

 developed the Treatment several years prior to the Petition Date, [Findings of Fact Nos. 6 & 11],

 the Treatment became property of the Debtor’s Chapter 7 estate on the Petition Date—unless the

 Debtor conveyed the Treatment to some third party prior to the Petition Date.

        According to the Debtor, he has always owned the Treatment. [Hr’g Tr. 124:19–23, Dec.

 1, 2015]. Specifically, when asked whether he has always owned the Treatment, the Debtor

 responded as follows: “I would say yes, I didn’t think about it, but I would say that I believed

 I’ve always owned it.” [Id.]. Later in the Hearing, the Debtor once again reiterated that he—and

 he alone—has always owned the Treatment:




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        Q: Okay. So you told us that, to summarize here, you never let go of ownership of
        “The Conjuring” rights is what you testified, and the Perron rights and the Warren
        rights were transferred to my client after you filed your Bankruptcy Schedules,
        right? Yes or no?
        A: If I can parse it out.
        Q: Yes or no?
        A: I always owned “The Conjuring” treatment rights. When you conflate “The
        Conjuring” rights to include everything, it can’t include everything, because
        they’re separate and discreet bundles of rights. You got—never got the treatment,
        your client never got the treatment rights. They got the rights from the Perron
        family under the bankruptcy agreement, and they got the Warren’s rights under
        the Option Quitclaim Agreement, and that’s the correct statement.

        [Hr’g Tr. 153:14–154:3, Dec. 1, 2015][emphasis added].

        At the Hearing, there was no contrary testimony or documentation indicating that the

 Debtor sold the Treatment prior to the Petition Date. Granted, several years prior to the Petition

 Date, Silverbird acquired the Perron Life Rights. [Finding of Fact No. 7]. And, granted, three

 months before the Petition Date, Silverbird conveyed—or attempted to convey—the Perron Life

 Rights to Evergreen. [Finding of Fact No. 8]. Granted also, that Holdings acquired both the

 Perron Life Rights and the Warren Life Rights, possibly prior to the Petition Date. [Finding of

 Fact No. 9]. But, the Treatment is a separate and distinct asset from the Perron Life Rights and

 the Warren Life Rights, [Hr’g Tr. 153:21–154:3, Dec. 1, 2015]; [Hr’g Tr. 21:1-9, Dec. 2, 2015];

 [Hr’g Tr. 59:3–8, Dec. 2, 2015], and there is no written document evidencing that prior to the

 Petition Date, the Debtor ever conveyed the Treatment to Silverbird, Evergreen, Holdings or, for

 that matter, to any other entity or person. Thus, this Court finds that as of the Petition Date, the

 Debtor owned the Treatment. And, because the Debtor owned the Treatment as of the Petition

 Date, this Court finds that the Treatment became property of the Debtor’s chapter 7 estate on the

 Petition Date and that the Trustee, by operation of law, took title to the Treatment on this date.

 In Re Calvin, 329 B.R. 589, 602 (Bankr. S.D. Tex. 2005) (“When a debtor files a Chapter 7

 petition, the debtor is automatically divested of virtually all property interest held as of the

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 commencement of the case and, in turn these interest immediately vest in the estate.”) (internal

 quotes and citations omitted); see also In re Engman, 395 B.R. 610, 617 (Bankr. W.D. Mich.

 2008) (providing an overview of the purpose of Chapter 7 and the duties of a trustee, including

 conveying title to sell estate assets in order to generate proceeds to pay claims). 21

          New Line takes the position that it purchased the Treatment by virtue of the Option

 Quitclaim Agreement, the Producer Loanout Agreement, and the COE. [See Findings of Fact

 Nos. 29, 30, & 31]; [Hr’g Tr. 30:7–31:19, Dec. 2, 2015]. The Court rejects this position for two

 reasons. First, several months after the execution of these documents, Alexander, the senior vice

 president and head of business and legal affairs of New Line, responded to an email from the

 Debtor concerning a proposed settlement over the Debtor’s contention that New Line was

 misappropriating the Treatment to develop the screenplay for “The Conjuring.” [Finding of Fact

 No. 40]. Alexander’s response, set forth in an email dated October 7, 2010, was as follows: “I’m

 afraid I [i.e. New Line] can’t buy your treatment. I don’t think the writers ever saw it, and it

 would not be fair to them to introduce that into the credit determination.” [Id.]. This language

 unambiguously shows that New Line’s own executive did not believe that New Line had

 purchased the Treatment as a result of the execution of the Quitclaim Agreement, Producer

 Loanout Agreement, or the COE. 22

          Second, even if the Quitclaim Agreement (as amended), the Producer Loanout

 Agreement, and the COE did transfer title of the Treatment from the Debtor to New Line, such

 21
    The Petition Date was the date that the involuntary was filed against the Debtor, not the date that the order for
 relief was entered. There is no question that when an involuntary petition is filed, its filing creates an estate
 consisting of all of the putative debtor’s property. 11 U.S.C. § 303(b)(1) & (h)(1); In re E.D. Wilkins Grain Co., 235
 B.R. 647, 649 (Bankr. E. D. Cal. 1999). Thus, the Treatment became property of the Estate on May 7, 2009 (i.e. the
 Petition Date), not June 8, 2009 (i.e. the date the order for relief was entered on the docket).
 22
   New Line, the Debtor, Holdings, Silverbird, and Evergreen did execute an 11-page amendment to the Option
 Quitclaim Agreement on October 19, 2010—i.e. ten days after Alexander’s email, [New Line Ex. No. 7]—but the
 Court does not find any language contained in this amendment whereby the Debtor conveys the Treatment to New
 Line.

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 transfer is void. This is so because these agreements were executed only by New Line, Holdings,

 the Debtor, Silverbird and Evergreen, [Findings of Fact Nos. 29, 30, & 31]; the Trustee was not a

 party to these agreements and he never executed these agreements, [Finding of Fact No. 32]—

 nor, for that matter, did the Trustee ever execute any document conveying the Treatment to New

 Line or any other third party. [Id.]. For New Line to take title to the Treatment, it must have a

 bill of sale (or other similar document) executed by the owner of the Treatment—which is the

 Trustee; a bill of sale or assignment executed by the Debtor does not effectuate the conveyance.

 See Calvin, 329 B.R. at 602 (“Title [to assets that became property of the estate on the filing

 date] does not revest in the debtor until the property is either properly claimed and allowed as

 exempt, or abandoned by the trustee.”). 23

         Indeed, because the Treatment is property of the Estate that is subject to the exclusive

 jurisdiction of this Court, for New Line to take title to the Treatment, it must not only have a bill

 of sale from the Trustee; there must also be an order from this Court approving the Trustee’s sale

 to New Line. See, e.g., In re Sunland, Inc., 507 B.R. 753, 759 (Bankr. D.N.M. 2014) (“[A]bsent

 court approval, an agreement to sell estate property outside the ordinary course of business is not

 a binding contract”); In re Missler, 418 B.R. 259, 262 (Bankr. N.D. Ohio 2009) (“In order to

 facilitate a trustee’s duty to administer a debtor’s bankruptcy estate, § 363 empowers a trustee to

 sell estate property. This power, however, is circumscribed in a number of respects. The first

 such limitation, for example, set forth in § 363 provides that court approval is necessary before a

 trustee may sell property of the estate outside the ordinary course of business.”)(internal quotes

 and citations omitted). Because this Court has never approved a sale of the Treatment to New

 Line, this Court finds that New Line has never taken title to this asset and that this asset remains


 23
   The Treatment has never revested in the Debtor because: (1) the Trustee has never abandoned this asset; and (2)
 the Debtor has never claimed it as exempt property.

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 property of the Estate. In re Smith, 352 B.R. 500, 501 (Bankr. N.D. Ala. 2006) (“Court approval

 is a prerequisite before a contract can become binding upon the bankruptcy estate.”); In re

 Lavigne, 183 B.R. 65, 69 (Bankr. S.D.N.Y. 1995) aff’d, 199 B.R. 88 (S.D.N.Y. 1996) aff’d, 114

 F.3d 379 (2d Cir. 1997) (“an extraordinary transaction undertaken by the debtor or trustee

 without notice and a hearing is unenforceable”); In re Zeman, No. 09-52559-C, 2010 WL

 3123144, at *2 (Bankr. W.D. Tex. Aug. 6, 2010) (“If a debtor, acting with the powers of a

 Trustee, disposes of property out of the ordinary course of business without prior court approval,

 then the transaction may be unwound as invalid.”).

        It is true that New Line paid $100,000.00 to the Trustee pursuant to the Trustee’s Motion.

 [Findings of Fact Nos. 34, 36, & 37]. However, this payment was not in exchange for the sale of

 the Treatment by the Trustee. Rather, in exchange for this payment, the Trustee released any

 claims for injunctive relief that the Estate had against New Line for the “exploitation, marketing,

 distribution or production of the material described in the Deal Memo. . . arising out of the

 execution of and performance under any of the agreements contemplated by the Deal Memo.”

 [Finding of Fact No. 36]. Further, the Trustee accepted the $100,000.00 in “full satisfaction and

 release of any claims for injunctive relief that the Estate has, had or may come to have against

 New Line arising out of or relating to the transfer of intellectual property and any other rights

 associated therewith or related thereto contemplated by the Deal Memo.” [Id.]. In sum, New

 Line’s payment of $100,000.00 to the Trustee did not transfer title of the Treatment to New Line;

 rather, New Line’s $100,000.00 payment seems to bar the Trustee from—among other actions—

 seeking to enjoin New Line from using the Treatment to develop a screenplay for the “The

 Conjuring.” Thus, the Treatment remains property of the bankruptcy estate.




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         As previously noted, § 350(b) allows this Court to reopen a debtor’s case “to administer

 assets.” In the case at bar, an asset exists: the Treatment. Of course, the basis for reopening a

 case is particularly compelling if there is an asset in existence that has value. In re Winburn, 196

 B.R. 894, 898 (Bankr. N.D. Fla. 1996) (“[T]he facts and circumstances surrounding this case

 compel reopening, even after four years. The “asset”, as it currently stands, has a potential value

 in excess of $5 million dollars.”); In re Ward, 60 B.R. 660, 662 (Bankr. W.D. La. 1986). Here,

 the Treatment seems to have value to the extent that New Line has used the Treatment—without

 paying for such use—in producing “The Conjuring” because this movie has grossed over $300

 million in revenues worldwide, [Finding of Fact No. 42]. The Treatment may also have value to

 the extent that New Line has used the Treatment to produce sequels to “The Conjuring.” 24 The

 exact amount of the value of the Treatment is unclear based upon the record before this Court.

 Neither party adduced testimony or introduced exhibits on this particular point, and this Court

 presently makes no specific finding as to the exact amount of the Treatment’s value. At this

 juncture, the Court finds only that the Treatment appears to have some value—at least

 sufficiently so that cause exists to reopen the Debtor’s case and allow the Trustee to investigate

 its value and to determine whether and how to administer the Treatment. In re Nagy, 432 B.R.

 564, 568 (Bankr. M.D. La. 2010) (“[T]he trustee has a duty to investigate the value to the estate

 of scheduled property and to decide whether the property should be administered. . .”).

         In sum, because the Debtor owned the Treatment on the Petition Date, the Treatment

 became property of the Estate and should have been disclosed by the Debtor. Because it was not



 24
   The parties do not dispute that a sequel to “The Conjuring” is forthcoming. [See Hr’g Tr. 17:19–21, Dec. 1,
 2015]. “The studio has set a release date for the film, putting it smack in the middle of the warm season on June 10,
 2016.” Tyler McCarthy, 'The Conjuring 2' Release Date Announced; Everything We Know About 'The Enfield Poltergeist'
 June 2016 Premiere, INT’L BUS. TIMES, Nov. 12, 2014, available at: http://www.ibtimes.com/conjuring-2-release-date-
 announced-everything-we-know-about-enfield-poltergeist-june-1722701.


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 disclosed, and because title has continuously remained in the Estate up to this date, it is an asset

 that the Trustee needs to administer, as there are still unpaid allowed claims of approximately

 $185,000.00 that could be paid if the Trustee can generate proceeds from the sale or other

 disposition of the Treatment. [Debtor’s Ex. No. 4, pp. 4–5 of 12]. Stated differently, there are

 two reasons under § 350 to reopen this case: (1) there is an asset to be administered, i.e. the

 Treatment; and (2) cause exists because this asset seems to have some value, which in turn

 means that there is a possibility that the Trustee can monetize this asset to generate proceeds for

 distribution to allowed claims that still have not yet been paid. Nagy, 432 B.R. at 568.

        Under the circumstances described above, this Court will grant the Motion to Reopen;

 and to this extent the Debtor has succeeded in his objective of reopening his case in order to

 amend his Schedule B to disclose the Treatment and afford the Trustee the opportunity to

 administer this asset for the benefit of those creditors whose allowed claims remain unpaid.

 However, to the extent that the Debtor expects to benefit himself from the Trustee’s sale or other

 disposition of the Treatment, the Debtor will be sorely disappointed. This Court, which has wide

 discretion whether to reopen the case and, if so, whether to place any conditions thereon, see,

 e.g., Citizens Bank & Trust Co. v. Case (In re Case), 937 F.2d 1014, 1018 (5th Cir.1991), has

 decided to place restrictions on the Debtor. Specifically, as discussed below in section IV(F),

 because this Court finds that the Debtor’s failure to initially disclose the Treatment was not

 inadvertent, this Court invokes the doctrine of judicial estoppel to bar the Debtor from ever

 benefitting from the Trustee’s administration of the Treatment.

        At the Hearing, counsel for the Debtor suggested that it would be premature for this

 Court to invoke the doctrine of judicial estoppel and that this Court should only focus on whether

 the case should be reopened to allow the Debtor to amend his Schedule B and provide the



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 Trustee with the opportunity to administer the Treatment. Counsel seemed to suggest that no

 decision should be made on the Debtor’s rights to any excess proceeds from the Trustee’s sale or

 other disposition of the Treatment unless and until this asset is sold, all allowed claims are paid,

 and there is an actual excess of monies available for distribution to the Debtor. [Hr’g Tr. 73:15–

 75:15, Dec. 7, 2015]. This Court disagrees with counsel for the Debtor that this particular issue

 is not ripe. First, New Line has raised this issue. [Hr’g Tr. 29:14-33:2, Dec. 1, 2015]; [Hr’g Tr.

 26:16-57:6, Dec. 7, 2015]. Second, even if New Line had not raised the issue, this Court has the

 right—indeed, it has the independent duty—to raise judicial estoppel sua sponte. Grigson v.

 Creative Artists Agency, LLC, 210 F.3d 524, 530 (5th Cir. 2000) (“Judicial estoppel is not raised;

 but, because that doctrine protects the judicial system, we can apply it sua sponte in certain

 instances.”) (internal citation omitted); In re Airadigm Communications, Inc., 616 F.3d 642,

 664, n. 14 (7th Cir.2010) (“The FCC did raise the issue of judicial estoppel in its opening brief. .

 ., although the doctrine can be raised by courts sua sponte because judicial estoppel concerns the

 integrity of the judicial system independent of the interests of the parties.”).

        F. The Principle of Judicial Estoppel Bars the Debtor From Ever Benefiting from
        the Trustee’s Administration of the Treatment

         “The doctrine of judicial estoppel prevents a party from asserting a claim in a legal

 proceeding that is inconsistent with a claim taken by that party in a previous proceeding.” Reed,

 650 F.3d at 573–74 (quoting 18 James Wm. Moore et al., Moore’s Federal Practice § 134.30 at

 63 (3d ed.2011)). “In a bankruptcy case, judicial estoppel both deters the dishonest debtors—

 whose failure to fully and honestly disclose all their assets undermines the integrity of the

 bankruptcy system—and protects the rights of creditors to an equitable distribution of the estate's

 assets.” In re Jackson, No. 06-36268, 2012 WL 3071218, at *26 (Bankr. S.D. Tex. July 27,

 2012) citing Id. at 574. Where a debtor “fails to disclose an asset to a bankruptcy court, but then

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 pursues a claim in a separate tribunal based on that undisclosed asset,” judicial estoppel is

 particularly appropriate. Jethroe v. Omnova Solutions, Inc., 412 F.3d 598, 600 (5th Cir. 2005).

 “In assessing whether judicial estoppel should apply, we look to see whether the following

 elements are present: (1) the party against whom judicial estoppel is sought has asserted a legal

 position which is plainly inconsistent with a prior position; (2) a court accepted the prior

 position; and (3) the party did not act inadvertently.” In re Jackson, No. 06-36268, 2012 WL

 3071218, at *26.; Superior Crewboats, 374 F.3d at 335.

        1. Element #1: The Debtor has Asserted a Legal Position in the District Court which
        is Plainly Inconsistent with the Initial Position that He Asserted in this Court

        In the case at bar, the Debtor initially represented to this Court that he did not own the

 Treatment. He made this representation precisely because he did not list this asset on his

 Schedule B. [Finding of Fact No. 21]. However, after the Debtor received his discharge, he

 began filing suit in the District Court representing to that Court that he did own the Treatment

 and that he wanted a judgment against New Line for damages resulting from New Line’s alleged

 misappropriation of the Treatment. [Findings of Fact Nos. 44, 45, & 52]. Thus, the first element

 of judicial estoppel has been met.

        2. Element #2: Prior to the Debtor’s Assertion in the District Court that He Owned
        the Treatment, This Court Had Already Accepted the Debtor’s Prior
        Representation in this Chapter 7 Case that He Owned No Interest in this Asset.

        On July 26, 2010, this Court issued a discharge to the Debtor, [Finding of Fact No. 27],

 because this Court had accepted his initial position that the only assets he owned on the Petition

 Date were those listed on his Schedules A and B; namely, that he owned the following assets: (1)

 one red fabric recliner; (2) miscellaneous personal clothes; (3) a stock interest in Gallow Hill

 Pictures, LLC; (4) a stock interest in Evergreen Media Group, LLC; and (5) a pending patent

 application. [Debtor’s Ex. No. 2]; [Findings of Fact Nos. 16 & 17]; [Doc. No. 19, pp. 3–7 of 31].

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 Stated differently, this Court issued a discharge to the Debtor because this Court had accepted his

 initial position that he did not own the Treatment, as this asset was not listed on his Schedules.

 After this Court accepted the Debtor’s representation that he did not own the Treatment, the

 Debtor asserted an inconsistent legal position in the District Court by seeking a judgment against

 New Line for damages resulting from New Line’s alleged misappropriation of the Treatment.

 [Findings of Fact Nos. 44, 45, 52 & 53]. Thus, the second element of judicial estoppel has been

 met.

        There is also another basis for this Court to conclude that the second element of judicial

 estoppel has been satisfied. In the Trustee’s Motion, he set forth that the Debtor represented to

 him that the Estate lacks any interest “in the rights related to the movie” and that the Estate

 “currently does not have a penny.” [Finding of Fact No. 34a & c]. The Trustee’s Motion

 contained language setting forth that any response had be filed within 21 days, and there is no

 question that the Debtor and his counsel of record received this motion. [Doc. No. 33, p. 5 of 5].

 The Debtor filed no response to the Trustee’s Motion, nor did any other creditor or party in

 interest. [Finding of Fact No. 35]. In reliance upon the representations made in the Trustee’s

 Motion, as well as the fact that no responses thereto were filed, this Court entered an order

 approving the Trustee’s Motion.      [Finding of Fact No. 36].      Stated differently, this Court

 approved the $100,000.00 agreement negotiated by the Trustee with New Line because the Court

 had no information suggesting that the Estate had any rights “related to the movie” and therefore

 there seemed to be no viable alternative to bringing in any money into the Estate for distribution

 to creditors. Yet, at the time the Trustee’s Motion was filed, the Debtor did, in fact, have

 information that the Estate had certain rights “related to the movie.” This is so because the

 Debtor believed at the time of the filing of the Trustee’s Motion that he owned the Treatment—



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 and he had always believed that he owned the Treatment [Hr’g Tr. 153:14–154:3, Dec. 1, 2015].

 Moreover, the Debtor knew that New Line might want to purchase the Treatment to develop the

 script/screenplay for “The Conjuring.” [See Hr’g Tr. 11:25–13:22, Dec. 3, 2015];[New Line Ex.

 No. 15, p. 3].   Because the Debtor owes a duty to make complete disclosure of all his assets In

 re Coastal Plains, Inc., 179 F.3d at 207-08, he had duty to speak up—in this instance, to file a

 response informing the Court that the Trustee’s allegation that “the Estate lacks any interest in

 the rights related to the movie” was incorrect. The Debtor had a duty to inform the Court that the

 Estate did, in fact, have an interest in a right related to movie: namely, the Treatment. If the

 Court had known that the Estate owned the Treatment, it might not have approved the Trustee’s

 Motion, but instead informed the Trustee that the $100,000.00 agreement was not sufficiently

 beneficial to the Estate and that he needed to return to the bargaining table with New Line to

 attempt to obtain greater consideration for the Estate.

        The Fifth Circuit has held that: “[s]ilence alone, where there is a duty to speak, may

 create an estoppel.” Ashland Oil & Ref. Co. v. Beal, 224 F.2d 731, 738 (5th Cir. 1955). “From

 pure but misleading silence, coupled with a duty to speak, an estoppel will arise.” Id. The

 Debtor’s failure to file a response to the Trustee’s Motion led this Court to accept the incorrect

 allegation in the Trustee’s Motion that “the Estate lacks any interest in the rights related to the

 movie” and thereby approve the relief requested by the Trustee. After this Court accepted this

 incorrect allegation, the Debtor subsequently took an inconsistent legal position in the District

 Court by asserting that he owned the Treatment and that New Line should be required to pay him

 damages resulting from its alleged misappropriation of the Treatment. [Findings of Fact Nos.

 44, 45, 52 & 53]. Thus, under these circumstances, the second element of judicial estoppel is

 met.



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          3. Element #3: the Debtor Did Not Inadvertently Fail to Disclose the Asset.

          A “debtor’s failure to satisfy its statutory disclosure is ‘inadvertent’ only when, in

 general, the debtor either lacks knowledge of the undisclosed [asset] or has no motive for [its]

 concealment.” In re Coastal Plains, Inc., 179 F.3d at 210. Neither consideration exculpates the

 Debtor in the case at bar. The evidence reflects that: (1) on the date that the Debtor signed his

 Schedule B under oath—which was July 10, 2009 (the “Schedule Date”)—the Debtor had

 knowledge of the Treatment; and (2) the Debtor did indeed have a motive to conceal the

 Treatment from his creditors.

          i. As of the Petition Date, the Debtor had Knowledge of the Treatment

          The Debtor’s own testimony at the Hearing reflects that he had knowledge of the

 Treatment. First, when asked why he did not disclose the Treatment, the Debtor responded as

 follows: “[B]ecause I didn’t have a registration on it sir.” [Finding of Fact No. 22]. The

 Debtor’s answer unequivocally shows that he knew about the existence of the Treatment as of

 the Schedule Date. While the fact that the Treatment was unregistered is not a sound basis for

 failing to disclose this asset, what is key for purposes of analyzing inadvertence is whether the

 Debtor knew about the existence of the Treatment. His answer clearly indicates that he knew

 about this asset.

          Second, the Debtor testified that he did not schedule the Treatment because “I didn’t

 think it had any value.”           [Finding of Fact No. 23].             Once again, the Debtor’s answer

 unequivocally shows that he knew about the Treatment. And, once again, while the fact that the

 Treatment may not have had any value in his mind is not a sound basis for failing to disclose this

 asset, 25 what is key for purposes of analyzing inadvertence is whether the Debtor knew about the


 25
   Case law is clear that the debtor’s “belief that an interest has no value does not except it from being scheduled.”
 In re Darr, 472 B.R. 888, 899 (Bankr. E.D. Mo. 2012). Stated differently, “[a] debtor's belief that property had no

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 existence of the Treatment on the Schedule Date. His answer clearly indicates that he knew

 about this asset.

         Indeed, when responding to the question as to why he did not schedule the Treatment, the

 Debtor never asserted that he failed to schedule this asset on the grounds that he did not know

 about it or did not own it. In fact, two exchanges between New Line’s counsel and the Debtor at

 the Hearing leaves no doubt that the Debtor had knowledge of the Treatment as of the Schedule

 Date and that he believed he owned the Treatment on this date:

         Q: You always believed that you owned [the Treatment] even at the time at that
         you filled out the Bankruptcy Schedules, right?
         A: I would say yes, I didn’t think about it, but I would say that I believed I’ve
         always owned it.

         [Hr’g Tr. 124:19–23, Dec. 1, 2015][emphasis added].


         Q: Okay. So you told us that, to summarize here, you never let go of ownership of
         “The Conjuring” rights is what you testified, and the Perron rights and the Warren
         rights were transferred to my client after you filed your Bankruptcy Schedules,
         right? Yes or no?
         A: If I can parse it out.
         Q: Yes or no?
         A: I always owned “The Conjuring” treatment rights. When you conflate “The
         Conjuring” rights to include everything, it can’t include everything, because
         they’re separate and discreet bundles of rights. You got—never got the treatment,
         your client never got the treatment rights. They got the rights from the Perron
         family under the bankruptcy agreement, and they got the Warren’s rights under
         the Option Quitclaim Agreement, and that’s the correct statement.

         [Hr’g Tr. 153:14–154:3, Dec. 1, 2015][emphasis added].

         Thus, this Court finds that the Debtor did not lack knowledge of the Treatment as of the

 Schedule Date. Moreover, this Court finds that the Debtor affirmatively knew about the

 existence of the Treatment and, in his mind, believed that he owned this asset. The Court’s


 value is not license to omit it from Schedule B.” Id. at 897; see also In re McCarthy, 488 B.R. 814, 828 (B.A.P. 1st
 Cir. 2013) (“In addition, a debtor cannot claim that he omitted an asset because it had little or no value.”).


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 findings mean that inadvertence cannot be satisfied unless the Debtor can prove that he had no

 motive for concealing the Treatment. In re Jackson, No. 06-36268, 2012 WL 3071218, at *31

 (Bankr. S.D. Tex. July 27, 2012), citing In re Coastal Plains, Inc., 179 F.3d at 210.

         ii. The Debtor had Motive to Conceal the Treatment

         In Love, the Fifth Circuit’s discussion on when motive to conceal exists makes it very

 difficult for any debtor to show that he had no motive to conceal what he failed to disclose.

 Specifically, the Fifth Circuit declared that “the motivation sub-element is almost always met if a

 debtor fails to disclose a claim or possible claim to the bankruptcy court. Motivation in this

 context is self-evident because of potential financial benefit resulting from the nondisclosure.”

 Love, 677 F.3d at 262 (citing Thompson v. Sanderson Farms, Inc., 2006 U.S. Dist. LEXIS

 48409, 12–13 (S.D.Miss. May 31, 2006) (citation omitted)). Granted, in Love, what the debtor

 failed to disclose was a cause of action—as opposed to literary material such as the Treatment—

 but this Court sees no logical reason why the very high bar that the Fifth Circuit has established

 in Love for debtors to prove that they had no motive to conceal a cause of action should be any

 lower when debtors are attempting to prove that they had no motive to conceal any other type of

 asset, such as the Treatment. After all, it can be just as compellingly argued that motivation for

 potential financial benefit resulting from nondisclosure is self-evident when the nondisclosure is

 literary material such as the Treatment. 26

         In performing its analysis, this Court notes that the Fifth Circuit left the “no motive” door

 open very slightly by stating that “the motivation sub-element is almost always met if a Debtor

 fails to disclose a claim or possible claim to the bankruptcy court.” Id. (emphasis added). The

 26
   Indeed, because the Debtor filed suit and based one of his causes of action on the grounds that New Line had
 misappropriated the Treatment and therefore owed him damages, [Findings of Fact Nos. 44, 45, 52 & 53], the
 Debtor’s conduct is very similar to the debtor’s conduct in Love because in the case at bar, the Trustee is also the
 proper party-plaintiff in any suit brought by the Debtor against New Line for misappropriating the Treatment.


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 words “almost always” indicate that the Fifth Circuit recognizes that there are certain

 circumstances where nondisclosure of an asset does not automatically establish motivation. In

 Love, the Fifth Circuit did not articulate any laundry list of examples where nondisclosure does

 not automatically establish motivation, so presumably this exception to the general rule is left up

 to the sound discretion of the bankruptcy court. The Fifth Circuit does, however, emphasize one

 factor that a bankruptcy court should consider when assessing whether motivation exists when

 there is nondisclosure: “When reviewing potential motive, the relevant inquiry is intent at the

 time of non-disclosure.” Id. at 263 (citing Robinson v. Tyson Foods, 595 F.3d 1269, 1276 (11th

 Cir. 2010)).

         Here, the Debtor had motive to conceal the Treatment on the Schedule Date. By failing

 to disclose the Treatment on his Schedule B, the Debtor was able to receive a general discharge

 from this Court for debts exceeding $1.0 million, [Finding of Fact No. 28], while simultaneously

 pursuing financial gain from this undisclosed asset—i.e. seeking some unspecified amount of

 dollars from New Line for its use of the Treatment to develop the screenplay for and thereafter

 produce “The Conjuring.” The Debtor’s conduct has effectively deprived his creditors from

 having any chance to receive full payment on their claims. 27

         Indeed, only a few months after filing his Schedule B without disclosing the Treatment,

 the Debtor began threatening New Line with a lawsuit on the grounds that it was

 misappropriating the Treatment in order to develop a screenplay for “The Conjuring.” This

 threat came not only less than three months after the Schedule Date; it came less than ten weeks

 after the Debtor received his discharge, which was July 26, 2010 (the “Discharge Date”). And, it

 27
   It is no small point that the Debtor’s actions sought to avoid paying not only the creditors who held dischargeable
 debts, but also the two creditors who held the judgment that was a nondischargeable debt—i.e. the $576,266.70 New
 York Judgment. [See Findings of Fact Nos. 25 & 26]. It was only after the Debtor filed the Motion to Reopen and
 drew an objection thereto from these two creditors did he decide to pay them off—in effect to purchase their
 agreement to withdraw their opposition to the Motion to Reopen. [See Doc. No. 97].

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 came while the Debtor’s case was still open, so the Trustee was still fulfilling his duties of trying

 to locate assets of the Estate to administer. Specifically, on October 7, 2010, the Debtor sent a

 very hostile email to New Line’s senior vice president and head of business and legal affairs

 (Craig Alexander). [Finding of Fact No. 40]. The Debtor sent this email less than one hour after

 receiving an email from Alexander in which Alexander stated that: “I’m afraid I [i.e. New Line]

 can’t buy your treatment. I don’t think the writers ever saw it, and it would not be fair to them to

 introduce that into the credit administration.”       [Id.].   The Debtor, upset by this statement,

 responded with the following threat:

        [A]t least 60-65% of that story [for the screenplay of “The Conjuring”] if not
        more, is from my treatment… I shut my mouth up till now to get this [movie]
        made, but no more. All bets are off. I had this conversation with Peter Safran a
        while back and also with John, even before there were any ‘issues’ that this script
        was based on my story/treatment and transited way beyond any producer duties,
        so shouldn’t I be credited/paid for that work. No more Mr. Nice Guy, no more
        patience. No one rips me creatively or otherwise. So I’ll just sue everyone here
        because I have had enough of being defrauded and now screwed with. See you in
        court.

        [Id.][emphasis added].

        The language that the Debtor used in this email unequivocally shows that: (1) the Debtor

 believed that he owned the Treatment; (2) the Debtor believed that New Line was improperly

 using the Treatment to develop the script (or screenplay) for “The Conjuring;” (3) the Debtor

 wanted New Line to pay him for its use of the Treatment; and (4) if New Line would not pay him

 for its use of the Treatment, he would file suit against New Line. The Debtor’s own language

 thus shows that he had a motive to conceal the Treatment from his creditors: he wanted New

 Line to pay him directly for its use of the Treatment—as opposed to paying the Trustee (who

 would then use the proceeds to pay the Debtor’s creditors).




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        Indeed, the Debtor’s very specific language in this email reflects not only a financial

 motive in not disclosing the Treatment on his Schedule B; it reflects a criminal intent. His

 statement that “I shut my mouth up till now to get this made” suggests that he committed a

 bankruptcy crime by deliberately lying under oath in his Schedule B (by not disclosing the

 Treatment) because he believed that if he had disclosed it, then linking it to his bankruptcy

 would have undermined the development of the script for the “The Conjuring.” See, e.g., In Re

 Woodruff, 78 B.R. 554, 555 (Bankr. E. D. Ark. 1987) (citing 18 U.S.C. § 152, the court states

 that “[t]he debtor perjured himself and gave a false oath when he submitted his 1984 bankruptcy

 petition [and] schedules. Thereon he signed a statement, under oath, that the information

 contained in the schedules was true and correct.”); In re Arana, 456 B.R.161, 169 (Bankr.

 E.D.N.Y. 2011) (“And the knowing and fraudulent concealment of property belonging to the

 estate of a debtor is a federal crime punishable by a fine, a prison term of up to five years, or

 both.”).   Stated differently, the Debtor deliberately did not disclose the Treatment on his

 Schedule B because he wanted the screenplay for “The Conjuring” to be developed as quickly as

 possible—through the use of the Treatment—and this objective could be best accomplished by

 his hiding this asset from the bankruptcy process and directly selling it himself to New Line.

        In sum, just ten weeks after he received his discharge but while his case was still open,

 the Debtor, having received the ultimate benefit from the bankruptcy system, was abusing the

 system by threating to sue New Line for refusing to pay him for the Treatment—an asset which

 the Debtor testified he did not disclose when he filed his Schedule B on July 10, 2009 “because I

 didn’t think it had any value.” [Finding of Fact No. 23]. Even if the Debtor did not believe the

 Treatment had any value on July 10, 2009—and the Court does not believe the Debtor’s

 testimony on this point—there is no question that the Debtor believed the Treatment had value as



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 of October 7, 2010, when he sent his hostile email to New Line’s senior vice president

 threatening to file suit because New Line would not pay him for “my Treatment.” One simply

 does not threaten to sue someone else for alleged theft of one’s work unless one believes that this

 work has value.

        What the Debtor knew as of October 7, 2010 is extremely important in this Court’s

 “motive to conceal” analysis. The Debtor unequivocally knew that the Treatment had value as of

 October 7, 2010. Thus, while he did not disclose it on July 9, 2009 because “I didn’t think it had

 any value,” [Finding of Fact No. 23], he should have disclosed it once he knew that it did have

 value. All he needed to do was file an amended Schedule B on October 7, 2010; indeed, his case

 was still open, so he did not even need to reopen his case to schedule the Treatment.

        Yet, the Debtor did not file an amended Schedule B disclosing the Treatment. There is

 no question that he had a duty to do so and there is also no question that, by his own testimony,

 he should have scheduled the Treatment once he knew it had value. In re Coastal Plains, Inc.,

 179 F.3d at 210 (“The duty of disclosure in a bankruptcy proceeding is a continuing one. . .”);

 In re Castillo, 508 B.R. 1, 7–8 (Bankr. W.D. Tex. 2014) (“[D]ebtors have an express, affirmative

 duty to disclose all assets even if there is uncertainty about if those assets are property of the

 estate.”); Kimberlin v. Dollar Gen. Corp., 520 F. App’x 312, 314 (6th Cir. 2013) (“Applying

 judicial estoppel under these circumstances recognizes the importance of the bankruptcy debtor’s

 affirmative and ongoing duty to disclose assets, including unliquidated litigation interests.”)

 (emphasis added). The Debtor’s failure to return to this Court on October 7, 2010 to disclose the

 Treatment underscores his intent to conceal this asset. See Jethroe v. Omnova Sols., Inc., 412

 F.3d 598, 600 (5th Cir. 2005) (“The obligation to disclose [assets] in bankruptcy proceedings is

 an ongoing one” and the bankruptcy court properly inferred intentionality when the debtor filed



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 and pursued claims during the pendency of his bankruptcy case but never amended his petition to

 include the lawsuit).

          There is more. After New Line refused to buckle under to the Debtor’s threat to sue in his

 email of October 7, 2010, the Debtor did in fact carry out his threat to sue New Line. Indeed, he

 proceeded to file a plethora of lawsuits against New Line, among others, in the District Court.

 First, on March 28, 2014, the Debtor—together with Holdings—filed suit against New Line and

 Warner Brothers (the “First Suit”). [Finding of Fact No. 44]. Second, on April 23, 2014, the

 Debtor—together with Holdings and Gerald D. Brittle—sued New Line, Warner Brothers and

 three other defendants (the “Second Suit”). [Finding of Fact No. 45]. Third, on August 7, 2015,

 the Debtor, as the sole plaintiff, filed suit against New Line, Warner Brothers, and three other

 defendants (the “Third Suit”). [Finding of Fact No. 52]. Fourth, on September 22, 2015, the

 Debtor, once again as the sole plaintiff, sued New Line, Warner Brothers, and three other

 defendants (the “Fourth Suit”). [Finding of Fact No. 53]. The complaints that the Debtor filed in

 all of these suits expressly alleged that the defendants (including New Line) pilfered the

 Treatment in developing the script for “The Conjuring;” and the relief sought in each of these

 complaints, among other things, was that damages be awarded for the defendants’ improper use

 of the Treatment to develop the script for “The Conjuring.” [Findings of Fact Nos. 44c-d, 45c-d;

 52c-d, 53c-d]. In filing all of these suits, the Debtor clearly was taking the position that the

 Treatment had value. Yet, at no point prior to the filing of any of these lawsuits did the Debtor

 return to this Court to amend his Schedule B to disclose the Treatment. His actions highlight his

 intention to conceal the Treatment from this Court, the Trustee, and his creditors. 28


 28
   In the First Suit and the Second Suit, there were plaintiffs other than the Debtor, but the complaints did not
 contain any allegations that one of the plaintiffs other than the Debtor owned the Treatment and that therefore that
 particular plaintiff—and not the Debtor—was seeking damages for the alleged misappropriation of the Treatment.
 Thus, the Debtor cannot contend that the reason he failed to return to this Court when he filed the First Suit and the

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          There is even more. After the Debtor filed the First Suit and the Second Suit, the District

 Court consolidated these suits and then, on October 28, 2014, dismissed them in favor of

 arbitration. [Finding of Fact No. 46a]. Thereafter, the Debtor, New Line and Warner Brothers

 underwent arbitration in California; extensive discovery was conducted, including depositions;

 and a full evidentiary hearing was held, which included testimony and the introduction of 497

 exhibits. [Finding of Fact No. 47]. On February 5, 2015, the arbitrator issued a 32-page written

 decision that ruled in favor of New Line and Warner Brothers on every point in dispute.

 [Finding of Fact No. 48]. The Debtor then appealed this ruling, [Finding of Fact No. 49], and

 this appeal is pending as of the date of this Opinion.

          The Court reviews these events—which took place between October 26, 2014 and

 February 5, 2015—because of certain testimony that the Debtor gave at the Hearing.

 Specifically, the Debtor testified that it was only in late 2014 that he first became aware that the

 Treatment had value. [Hr’g Tr. 125:8–9; 126:13–20; 147:3–12, Dec. 1, 2015]. Assuming that

 the Debtor’s testimony is really true—and this Court does not believe him on this point—his

 own words provide a further basis for this Court to find that the Debtor had a motive to conceal.

 This is so because if he really had an “Ah Hah” moment in the fall of 2014 and concluded that

 the Treatment had value, then he had a duty to return to this Court at that time and seek to reopen

 his case to amend his Schedule B and disclose the Treatment. Jethroe, 412 F.3d at 600–01;

 Kimberlin, 520 F. App’x at 314. He had a duty to take this action so that the Trustee could

 administer this asset—which would have necessarily included stepping into the shoes of the



 Second Suit is because he believed one of the other plaintiffs owned the Treatment. And, if the Debtor did try to
 offer such an explanation, it would ring hollow for two reasons. First, he has testified that he has always owned the
 Treatment. [Hr’g Tr. 124:19–23, Dec. 1, 2015]. Second, the Debtor was the only plaintiff in the Third Suit,
 [Finding of Fact No. 52] which—like the First Suit and Second Suit—sought damages for the alleged misuse of the
 Treatment. Yet, when he filed the Third Suit, the Debtor still did not return to this Court to disclose the Treatment.
 [Finding of Fact No. 52f].

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 Debtor in the arbitration. Instead, what did the Debtor do when he had his “Ah Hah” moment in

 late 2014 and realized that the Treatment had value? He did not seek to reopen his case in order

 to disclose the Treatment and its value to the Trustee and his creditors, but rather plowed forward

 on his own in the arbitration hoping to convince the arbitrator to grant him, and only him (to the

 exclusion of the Trustee and his creditors), monetary damages. These actions further underscore

 his intent to conceal the Treatment.

        But, there is even more. After the arbitrator ruled against the Debtor on February 5,

 2015, what did the Debtor do? He did not seek to reopen his case at that time to disclose the

 Treatment. Rather, he appealed the arbitration decision as a tactic to convince New Line and

 Warner Brothers to negotiate a settlement with him—and him alone (to the exclusion of the

 Trustee and his creditors). When this tactic failed—New Line and Warner Brothers refused to be

 bullied into a settlement—what did the Debtor do next? He did not seek to reopen his case at

 that time to disclose the Treatment. Rather, he had his attorney, Sanford Dow, write a letter

 threatening more lawsuits against New Line and Warner Brothers. [Finding of Fact No. 50].

 However, this letter contained more than a threat. That was the “stick.” The “carrot” was a

 settlement proposal that, at least in this Court’s view, might well constitute a bankruptcy crime

 and most assuredly undermines any argument of the Debtor that his failure to disclose the

 Treatment was inadvertent.

        Here is why. In his letter to New Line’s attorney, Dow makes the following assertions:

        Additionally, Mr. DeRosa-Grund intends to files a concurrent motion to reopen
        his personal bankruptcy in light of the fact that the above-referenced treatment
        should have been listed as an asset in the original bankruptcy matter, but
        inadvertently was not. The reopening will address that inadvertent error as his
        treatment was, and remains, an asset of the bankruptcy estate. Mr. DeRosa-Grund
        and I have already met with the U.S. Bankruptcy Trustee who was originally
        involved in the bankruptcy, and have explained the facts and circumstances to
        him. Based on our conversations, he has authorized us to convey to the court that

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         he will not oppose the reopening of the bankruptcy. A copy of the motion to
         reopen the bankruptcy is also attached.

         Finally, Mr. DeRosa-Grund and [Holdings] intend to file a motion with the
         bankruptcy court requesting a Show Cause Order. Pursuant to the Deal Memo,
         and the bankruptcy court’s order approving same, Safran and [Holdings] were an
         supposed to be indivisible producing team. When New Line refused to employ
         and compensate [Holdings] as producer on any and all sequel productions, New
         Line was clearly in contempt of the bankruptcy court’s order. Because the
         foregoing original order of the bankruptcy court was part of a core proceeding,
         this adversarial proceeding cannot be adjudicated in any other form (i.e.
         mediation), as bankruptcy courts have sole and exclusive jurisdiction over core
         proceedings related thereto.

         [Finding of Fact No. 50]; [New Line Ex. No. 15].

         After setting forth the Debtor’s intention to return to this Court to seek to reopen his case,

 disclose the Treatment, and request this Court to issue a show cause order to New Line, Dow

 then made the following offer to New Line: “If a settlement can be reached, my clients [which

 include the Debtor] will agree to withdraw all current and contemplated litigation.” [Id.]

 [emphasis added].

         Dow sent this letter on July 20, 2015. On this date, the only litigation pending was the

 arbitration appeal. [Finding of Fact No. 50]. The Debtor had certainly not filed the Motion to

 Reopen; indeed, he would not do so for another 63 days. [Finding of Fact No. 54]. Thus, the

 only reasonable conclusion that one could draw from Dow’s proposal is this: if a settlement

 could be reached to the Debtor’s satisfaction, then the Debtor would dismiss his appeal of the

 arbitrator’s ruling and, additionally, would not seek to reopen his case so as to disclose the

 Treatment and seek a show cause order against New Line. Once again, the Debtor’s actions—

 this time, through the actions of his attorney 29—reveal a clear and unequivocal financial motive


 29
   An attorney’s actions are imputed to the client. Pioneer Inv. Servs. Co. v. Brunswick Associates Ltd. P'ship, 507
 U.S. 380, 396, 113 S. Ct. 1489, 1499, 123 L. Ed. 2d 74 (1993) (“[W]e have held that clients must be held
 accountable for the acts and omissions of their attorneys”); In re Moser, 347 B.R. 471, 472 (Bankr. W.D.N.Y. 2006)
 (“As a general rule, the actions and inactions of an attorney are imputed to a client… the action ‘of counsel is

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 to conceal the Treatment from this Court, the Trustee, and the Debtor’s creditors. Essentially,

 the proposal in the letter was an attempt at extortion, with the Debtor effectively saying to New

 Line the following: “Listen, New Line, if you will only pay me the money I deserve for the

 Treatment, I will not tell the Bankruptcy Court, the Trustee, or my creditors about the Treatment

 nor will I sue you in Bankruptcy Court. We can then both quietly walk away with each of us

 having achieved our respective objectives: you will have unfettered use of the Treatment to

 generate revenues from making sequels of ‘The Conjuring’ and I will become a millionaire from

 your generous payment while continuing to cheat the bankruptcy system by ensuring that none of

 these funds fall into the hands of those creditors holding unpaid claims from my Chapter 7 case.”

 See 18 U.S.C. § 152(6). 30

          New Line, to its credit, did not take the bait. Indeed, its attorney (O’Connor) quite

 justifiably testified at the Hearing that he was “appalled” when he read Dow’s letter. [Finding of

 Fact No. 51]; [Hr’g Tr. 15:23, Dec. 2, 2015]. And, when New Line did not buckle under and pay

 off the Debtor, what did the Debtor do? He did not seek to reopen his case at that time to

 disclose the Treatment. Rather, he tried yet again to bring New Line to the negotiating table sub

 rosa by filing the Third Suit on August 7, 2015. [Finding of Fact No. 52]. But, this ploy failed,

 as New Line (and other defendants sued in the Third Suit) refused to settle with the Debtor.

          Apparently, at this point, Dow (the Debtor’s attorney of record) and the Debtor had some

 disagreement about prosecuting the Third Suit because they sought dismissal of this suit on

 August 28, 2015—which the District Court granted on the same day. But then the Debtor,

 imputed to his or her client, who is bound thereby, under the rule that the acts and omissions of an attorney acting
 within the scope of his or her authority are regarded as the acts of the person he or she represents.’ ”) (citing 7 Am.
 Jur. 2d Attorneys at Law, § 157 (1997)).
 30
   18 U.S.C. § 152 is entitled “Concealment of Assets: False Oaths and claims; Bribery.” Subsection 6 sets forth
 that “a person who… knowingly and fraudulently gives, offers, receives, or attempts to obtain any money or
 property, remuneration, compensation, reward, advantage, or promise thereof for acting or forbearing to act in any
 case under title 11 shall be fined under this title, imprisoned not more than 5 years, or both.”

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 representing himself pro se, filed the Fourth Suit three weeks later on September 22, 2015

 seeking the same relief against the same defendants as the Third Suit. [Findings of Fact Nos.

 52(d) & 53]. Then, one day later, on September 23, 2015, the Debtor filed the Motion to

 Reopen. [Finding of Fact No. 54].

        Under all of the above-described circumstances, it strains credulity to believe that the

 Debtor now comes to this Court with the good faith intention of “trying to do the right thing”

 [Hr’g Tr. 13:8, Dec. 1, 2015], by reopening his case to disclose the Treatment. Rather, the

 Debtor’s timing of returning to this Court on September 23, 2015 demonstrates, to an extreme

 degree, a bad faith intention to play fast and loose with the judicial system. The Debtor only

 filed the Motion to Reopen on September 23, 2015 because, having failed for almost six years—

 both in and out of the courtroom—to obtain payment from New Line for the Treatment, he now

 wants the Trustee to lay claim to ownership of the Treatment, monetize this asset, and then, after

 paying off remaining allowed claims and the Trustee’s fee, remit the remaining proceeds to

 himself. If the Debtor’s timing in now returning to this Court with the Motion to Reopen does

 not demonstrate the Debtor’s motive to conceal, then nothing does. Love v. Tyson Foods, Inc.,

 677 F.3d 258, 262 (5th Cir. 2012) (“[T]he motivation sub-element is almost always met if a

 debtor fails to disclose a claim or possible claim to the bankruptcy court. Motivation in this

 context is self-evident because of potential financial benefit resulting from the nondisclosure”)

 (quoting Thompson v. Sanderson Farms, Inc., No. 3:04CV837–WHB–JCS, 2006 U.S. Dist.

 LEXIS 48409, at *12–13 (S.D. Miss. May 31, 2006).

        In sum, given all of the circumstances discussed above, this Court finds that there was no

 inadvertence by the Debtor’s failure to disclose the Treatment. Therefore, while the Court will

 reopen this case in order to allow the Trustee to administer the Treatment, the Debtor will be



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 judicially estopped from receiving any benefit from the Trustee’s sale or other disposition of the

 Treatment, or any rights associated therewith (such as filing suit to recover damages for any

 misappropriation of the Treatment).

        G. The Debtor’s Position that His Failure to Disclose the Treatment on His Original
        Schedule B was Due to Reliance Upon His Bankruptcy Attorney Does Not Make the
        Debtor’s Nondisclosure Inadvertent

        During the Hearing, the Debtor gave testimony suggesting that his failure to disclose the

 Treatment on his initial Schedule B was due to the fact that his attorney (Nelson Hensley) filled

 out the Schedules and that he (i.e. the Debtor) relied upon his attorney’s work. [Hr’g Tr. 91:19–

 20, Dec. 1, 2015]. The thrust of the Debtor’s testimony was that his failure to disclose was an

 error on the part of his attorney—which, in his view, means that his failure to disclose was

 “inadvertent.” There are two reasons why this position does not stand.

        First, the Debtor admitted that before signing his Schedules, he reviewed them with his

 attorney. [Finding of Fact No. 15]. The Debtor also admitted that he (i.e. the Debtor) signed the

 last page of his Schedules—namely the Declaration Concerning Debtor’s Schedules—under

 penalty of perjury, representing under oath that they were true and correct. [Finding of Fact No.

 15]; [Debtor’s Ex. No. 2, p. 31 of 31]. It is Black Letter law that a debtor who reviews his

 Schedules with his attorney cannot blame his attorney for inaccuracies in the Schedules—even if

 the debtor is purportedly inexperienced with financial affairs. See In re Sholdra, 249 F.3d 380,

 383 (5th Cir. 2001); see also Estel v. Bigelow Mgmt., Inc., 323 B.R. 918, 923 (E.D. Tex. 2005)

 (holding that the “argument that it is all his lawyer’s fault is not persuasive”); In re Hansen, 325

 B.R. 746, 760 (Bankr. N.D. Ill. 2005). Thus, the Debtor, not Hensley, is responsible for his

 inaccurate representation on his Schedule B that he does not own the Treatment. Such an

 inaccuracy precludes the Debtor from establishing inadvertence. See Love 677 F.3d at 262



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 (“[T]he motivation sub-element is almost always met if a debtor fails to disclose a claim or

 possible claim to the bankruptcy court. Motivation in this context is self-evident because of

 potential financial benefit resulting from the nondisclosure”) (internal quotations omitted).

        Second, even if the Debtor had not reviewed the Schedules with Hensley before signing

 them, but rather simply signed them in reliance on the answers that he claimed Hensley inputted

 on the Schedules, such circumstances would still not constitute inadvertence. This is so because

 of Supreme Court precedent that precludes a client from escaping the legal consequences of his

 attorney’s negligent conduct:

        There is certainly no merit to the contention that dismissal of petitioner’s claim
        because of his counsel's unexcused conduct imposes an unjust penalty on the
        client. Petitioner voluntarily chose this attorney as his representative in the action,
        and he cannot now avoid the consequences of the acts or omissions of this freely
        selected agent. Any other notion would be wholly inconsistent with our system of
        representative litigation, in which each party is deemed bound by the acts of his
        lawyer-agent and is considered to have ‘notice of all facts, notice of which can be
        charged upon the attorney.’

 Link v. Wabash R. Co., 370 U.S. 626, 633-34, 82 S. Ct. 1386, 1390, 8 L. Ed. 2d 734 (1962),

 (quoting Smith v. Ayer, 101 U.S. 320, 326, 25 L.Ed. 955); see Pioneer Inv. Servs. Co. v.

 Brunswick Associates Ltd. P’ship, 507 U.S. 380, 381, 113 S. Ct. 1489, 1491, 123 L. Ed. 2d 74

 (1993) (stating that “the proper focus is upon whether the neglect of respondents and their

 counsel was excusable”).

        Here, the Debtor freely chose Hensley to represent him in his Chapter 7 case. [Finding of

 Fact No. 14]. As one court has said in rejecting a debtor’s attempt to prove inadvertence by

 blaming his attorney: “[Y]ou take them as you get them. If [the debtor] choose poorly in his

 selection of counsel, such does not provide relief here.” Estel, 323 B.R. at 923. Therefore, the

 Debtor is bound by the acts of Hensley—including Hensley’s answers to the questions posed on

 Schedule B. Thus, even if Hensley himself filled in the information on Schedule B—which


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 clearly did not disclose that the Debtor owned the Treatment, [Finding of Fact No. 21]—the

 Debtor is bound by Hensley’s answers. The Debtor therefore cannot establish that the failure of

 his attorney to disclose the Treatment on Schedule B constitutes inadvertence on the Debtor’s

 part. See, e.g., Hibernia Nat’l Bank v. Perez, 124 B.R. 704, 710 (E.D. La. 1991) aff'd sub nom.

 Matter of Perez, 954 F.2d 1026 (5th Cir. 1992) (“[T]he advice of counsel is not a defense when it

 is transparently plain that the property should be scheduled.”) (internal quotation marks and

 citation omitted). To allow the Debtor to establish inadvertence under these circumstances

 would—using the Supreme Court’s language—“be wholly inconsistent with our system of

 representative litigation.” Link, 370 U.S. at 634.

        H. The Debtor’s Position that He Did Not Have the Financial Means to File the
        Motion to Reopen Any Earlier is Wholly Unpersuasive and Therefore Does Not
        Make the Debtor’s Nondisclosure of the Treatment Inadvertent

        At the Hearing, after the Debtor testified that it was in late 2014 that he concluded the

 Treatment had value, New Line’s counsel asked him why he waited until the fall of 2015 to file

 the Motion to Reopen. The Debtor responded that he “did not have the financial resources” to

 seek to reopen the case until September of 2015. [Hr’g Tr. 126:22–25, Dec. 1, 2015]. This is the

 only reason that the Debtor gave as to why he waited approximately one year between

 concluding that the Treatment has value and returning to this Court to disclose the Treatment

 through the filing of the Motion to Reopen.

        The Debtor’s explanation for this year-long delay is, to put it mildly, hard to swallow.

 During this year-long gap between “discovering” that the Treatment had value and his filing of

 the Motion to Reopen, the Debtor was being represented by very high-powered attorneys who

 were prosecuting the First Suit and the Second Suit before District Judge Rosenthal, [Findings of

 Fact Nos. 44 & 45]; and then, when she dismissed these suits in favor of arbitration, the Debtor



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 was being represented by two attorneys from Connecticut at this arbitration. [New Line Ex. No.

 13, p. 1, which sets forth the names of the attorneys representing the Debtor in the arbitration].

 And then, after the arbitrator ruled against the Debtor, the Debtor, through the same attorney who

 filed the First Suit and the Second Suit (i.e. Dow), filed the Third Suit in the District Court

 [Finding of Fact No. 52]. These attorneys were assuredly not working pro-bono for the Debtor;

 somehow, he was paying them.

        Moreover, on July 2, 2014, New Line remitted a check payable to the Debtor and

 Holdings for the amount of $750,000.00. [Finding of Fact No. 58]. The Debtor therefore could

 have easily used some of these funds to retain counsel to file the Motion to Reopen at a much

 earlier date than September 23, 2015. Indeed, when the Debtor, according to his own testimony,

 had his “Ah Hah” moment in late 2014 and concluded the Treatment had value, he surely had

 access to $750,000.00 that he had received on July 2, 2014 to retain counsel for filing the Motion

 to Reopen at that time.

        Finally, the Debtor was both the manager and the executive chairman of Holdings, [Hr’g

 Tr. 106:15–107:4; 110:10–13, Dec. 1, 2015]; he assuredly was receiving compensation in these

 capacities during the year-long hiatus between his “discovery” that the Treatment had value and

 his filing the Motion to Reopen.

        In sum, it strains credulity that up until September 23, 2015, the Debtor lacked the

 financial wherewithal to pay the $260.00 filing fee for filing the Motion to Reopen and to retain

 counsel to draft and prosecute this motion; to allow the Debtor to establish inadvertence on this

 flimsy basis would be absurd. The Court simply does not believe the Debtor’s testimony that he

 was impecunious during the one-year gap between the Debtor’s “discovery” that the Treatment

 had value and his filing of the Motion to Reopen. Rather, the Court finds that the one-year delay



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 in filing the Motion to Reopen was due not to lack of funds, but rather to lack of honesty. The

 Court finds that the Debtor deliberately held off returning to this Court because he hoped, by

 prosecuting multiple suits against New Line, [Findings of Fact Nos. 44, 45, & 52], participating

 in arbitration, [Findings of Fact Nos. 47 & 48], as well as threatening more suits, [Finding of

 Fact No. 50], that New Line and he could quietly reach a settlement whereby New Line would

 pay him a substantial amount for the Treatment and he would slip away with the funds in his

 pocket and prevent the funds from ever being distributed to those creditors holding unpaid claims

 in his Chapter 7 case. The Debtor’s strategy was a woeful failure.

    I. Judicial Estoppel Bars the Debtor from Ever Benefitting from the Trustee’s
    Administration of the Treatment

        Because this Court will reopen the Debtor’s case so that the Debtor can amend his

 Schedule B to disclose the Treatment, the Trustee will have a duty to administer this asset for the

 benefit of creditors; stated differently, the Trustee’s duty will be to sell or otherwise dispose of

 the Treatment and use the proceeds to pay remaining unpaid claims—in part, if not in full. See

 Matter of Troy Dodson Const. Co., Inc., 993 F.2d 1211, 1216 (5th Cir. 1993). Normally, the

 Trustee would also owe a duty to the Debtor to ensure he received any excess funds after all

 creditors are paid in full. See In re Kazis, 257 B.R. 112, 114 (Bankr. D. Mass. 2001) (“The

 Trustee also owes a duty to the Debtor to maximize value, particularly here where there is a real

 chance that all creditors may be paid in full and the Debtor may receive funds back.”); see also

 In re Kay, 223 B.R. 816, 821 (Bankr. M.D. Fla. 1998) (“[A]ll surplus funds are returned to the

 Debtor.”). Thus, the Debtor, as a party in interest would typically have standing to object to any

 sale or disposition of the Treatment the Trustee might propose in the future if the Debtor

 believed that the Trustee’s proposed disposition was not generating as many proceeds as

 possible. In re Hutchinson, 5 F.3d 750, 756 (4th Cir. 1993) (noting that a party in interest is

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 “generally understood to include all persons whose pecuniary interests are directly affected by

 the bankruptcy proceedings”) (citation omitted); In re Delta Underground Storage Co., Inc., 165

 B.R. 596, 598 (Bankr. S.D. Miss. 1994) (noting that a party in interest “has been held to refer to

 anyone who has a practical stake in the outcome of a case”).

        Here, however, under Reed, the Debtor has lost his standing to object to any proposed

 disposition of the Treatment by the Trustee because the Debtor is barred from receiving any

 benefit due to his failure to disclose this asset. See Reed, 650 F.3d at 573. Prohibiting the

 Debtor from ever receiving any benefit from the Trustee’s administration of the Treatment

 fulfills the fundamental objective of the doctrine of judicial estoppel: “The purpose of the

 doctrine is to protect the integrity of the judicial process, by preventing parties from playing fast

 and loose with the courts to suit the exigencies of self interest.” In re Coastal Plains, Inc., 179

 F.3d at 205 (internal quotation marks, parentheses, brackets and citation omitted).

        In the case at bar, the Debtor like many film-makers, has played fast and loose with the

 truth in order to create a picture upon which this Court would issue a ruling that would keep the

 door open for the Debtor to personally benefit from the Treatment. His strategy has not worked.

 The Court is now closing—indeed slamming—the door shut to the possibility that the Debtor can

 ever benefit from the Trustee’s administration of the Treatment. This Court wants to emphasize

 to the Debtor here and now that if any excess proceeds remain after the Trustee administers the

 Treatment and completely pays off all claims and his own fee, then this Court will direct that

 these excess proceeds go not to the Debtor, but rather to the United States or be made available

 to public interest, charitable, educational, and other public service organizations. See In re

 Premiere Holdings of Texas LP, 393 B.R. 156, 159 (Bankr. S.D. Tex. 2008); see also In re

 Xpedior Inc., 354 B.R. 210, 239 (Bankr. N.D. Ill. 2006). In fact, this Court took this approach in



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 Jackson—where the debtor lied about his ownership of a patent—and the Fifth Circuit endorsed

 this approach regarding distribution of excess proceeds. In Re Jackson, 2012 WL 3071218, aff’d

 per curiam by the Fifth Circuit on direct appeal at In Re Jackson, 574 F. App’x 317, 320 (5th Cir.

 2014) (“The bankruptcy court's ruling does not allow [the defendants in undisclosed lawsuit

 initiated by the debtor] to get off scot-free. The estate can pursue the claims [the debtor] asserted,

 and if successful, the bankruptcy court ordered that any recovery exceeding the $40,538.00 in

 remaining claims would either escheat to the United States or be made available to public

 interest, charitable, educational, and other public service organizations.”)

        This Court will do even more to ensure that the Debtor’s persistent, pernicious, perfidy

 towards the judicial system stops. It is possible—although unlikely—that the Trustee, after

 investigating the history of the Treatment and the litigation over this asset, concludes that the

 Treatment either has no value or is of inconsequential value. Stated differently, it is possible that

 the Trustee concludes that he cannot administer the Treatment for the benefit of the Estate.

 Under this scenario, the normal result would be that the Treatment would be abandoned to the

 Debtor pursuant to § 554(c) once the case was closed. In re Nagy, 432 B.R. 564, 568 (Bankr.

 M.D. La. 2010) (“Abandonment takes place by operation of law when a case is closed under

 Bankruptcy Code section 554(c), which deems abandoned to the debtor any scheduled property

 of the estate that is unadministered at the close of the case.”) (internal quotation marks and

 citation omitted). Indeed, “[p]roperty abandoned under [§] 554 reverts to the debtor, and the

 debtor's rights to the property are treated as if no bankruptcy petition was filed.” Kane v. Nat’l

 Union Fire Ins. Co., 535 F.3d 380, 385 (5th Cir. 2008). Although the Debtor is barred under

 Reed from receiving any benefit from the Trustee’s administration of the Treatment, the Debtor

 could still wind up with title to this asset revesting in his name. Such a result would accord him



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 the standing that he needs to file yet another lawsuit against New Line once again alleging that

 New Line has wrongfully appropriated the Treatment and needs to pay him damages for so

 doing. Under this scenario, there is a possibility that the Debtor could end up pocketing money

 himself. Such a result would undermine the very purpose of judicial estoppel.

        Fortunately, the Code allows this Court to prevent this scenario from occurring. Section

 554(c) sets forth that property of the estate that a Trustee abandons is deemed abandoned to the

 debtor unless “the court orders otherwise.” Given the Debtor’s perjurious conduct in this case,

 and his penchant for filing multiple suits in the District Court, [See Findings of Fact Nos. 44, 45,

 52, & 53], this Court, as part of its decision to reopen this case, will “order otherwise” by barring

 the Trustee from ever abandoning the Treatment. If necessary, the Court will close this case with

 the Treatment simply remaining part of the Estate. The Court will take this action using its

 powers under § 105(a). In re Trevino, 535 B.R. 110, 132 (Bankr. S.D. Tex. 2015) (“One of the

 primary functions of § 105(a) is to ‘prevent an abuse of process.’ A bankruptcy court has broad

 authority to take necessary or appropriate actions to prevent an abuse of process.”) (citing

 Marrama v. Citizens Bank of Mass., 549 U.S. 365, 375, 127 S.Ct. 1105, 166 L.Ed.2d 956

 (2007)). Whatever else happens, this Debtor will never again be able to have a scintilla of an

 argument that he has standing to bring suit on the grounds that he has an interest in the Treatment

 and that therefore he is entitled to damages for its misappropriation. It is time to put a stop to the

 Debtor’s vexatious and fraudulent litigation tactics.

        Finally, after the Debtor amends his Schedule to list the Treatment, this Court will also

 invoke its powers under § 105(a) to enjoin the Debtor from amending his Schedule C to claim

 that the Treatment is exempt property to which he is entitled. Not only does § 105 allow this

 Court to issue orders “to prevent an abuse of process;” this section authorizes the Court to issue



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 “any order… that is necessary or appropriate to carry out the provisions of this title.” Here, if the

 Debtor, after amending his Schedule B to list the Treatment, could then amend his Schedule C to

 exempt this asset, he would be defeating the very purpose of the principle of judicial estoppel: he

 would be obtaining a financial benefit for himself despite his fraudulent conduct of hiding the

 existence of the Treatment in the first place. This Court will not allow such a result to occur, as

 it would constitute an abuse of process. Indeed, this Court will not be the first court to deny an

 exemption based upon a debtor’s misconduct. In re Colvin, 288 B.R. 477, 483 (E.D. Mich.

 2003) (“In this case, it is commensurate with the debtors’ conduct in failing to disclose their

 $10,000 tax refund to deny to them their claim of exemption in that refund. As the Seventh

 Circuit observed, if debtors could omit assets at will, with the only penalty that they had to file

 an amended claim once caught, cheating would be altogether too attractive. . .”) (internal

 quotations and citations omitted); In re Talmo, 185 B.R. 637, 644 (Bankr. S.D. Fla. 1995)

 (“Despite the permissive language of the rule, the Court has the discretion to not permit

 amendments: (i) if the proposed amendment would prejudice creditors; (ii) if the debtor has acted

 in bad faith; or (iii) if the debtor concealed assets.”). In short, the Debtor will not be allowed to

 do an “end run” around the principle of judicial estoppel by exempting the Treatment after

 amending his Schedule B to disclose this asset.

                                            V. CONCLUSION

        It is noteworthy that after this Court entered an order for relief in this case, PSG and

 Gordon filed a complaint to determine dischargeability against the Debtor and successfully

 obtained an order from this Court declaring that the $576,266.70 New York Judgment was a

 nondischargeable debt. [Findings of Fact Nos. 25 & 26]. The $576,266.70 New York Judgment

 arose from the Debtor’s fraudulent acts relating to a television program about poker. [Finding of



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 Fact No. 25]. The game of poker necessarily requires a participant to take risk in order to win a

 pot of cash.

        In the case at bar, the Debtor decided to play poker with this Court when he filed the

 Motion to Reopen because he submitted himself for cross examination under oath at the Hearing.

 He took this risk in the hope that he would convince this Court to reopen his case so that the

 Trustee can administer the Treatment, pay off remaining creditors, and leave enough money on

 the table so that the Debtor could rake in a substantial amount of cash. Unfortunately for the

 Debtor, his gamble has not paid off. Based upon his testimony at the Hearing, and the exhibits

 introduced and the testimony adduced by New Line, and a review of the Debtor’s Schedules and

 SOFA, this Court finds the Debtor to be a conniving and dissembling individual whose failure to

 schedule the Treatment was anything but inadvertent. His explanations of why he did not

 initially disclose the Treatment in July of 2009, and why he did not get around to disclosing it to

 this Court until September of 2015, are nothing more than fictionalized concoctions that he

 conjured up as a litigation strategy for the Hearing.

        Like the poker player in the old westerns who gets shot for his cheating ways, the Debtor

 here has cheated the bankruptcy system and will now suffer the consequences. Specifically,

 while this Court will reopen the Debtor’s case, the Court will bar him from ever benefiting from

 the Trustee’s sale or other disposition of the Treatment. And, for his efforts to game the

 bankruptcy system, this Court will refer him to the United States Attorney for the Southern

 District of Texas for that office to investigate whether his conduct amounts to a bankruptcy

 crime worthy of prosecution. The Debtor’s conjuring up various and sundry explanations to

 justify his lengthy nondisclosure of the Treatment could cost him dearly in cash and might cost




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 him dearly in his freedom. Sir Walter Scott’s observation is unquestionably applicable to the

 Debtor: “Oh what a tangled web we weave, when first we practise to deceive.” 31

         An order consistent with this Memorandum Opinion will be simultaneously entered on

 the docket.

 Signed this 22nd day of January, 2016
 Signed: January 22, 2016

                                                               ____________________________________
                                                               __________________________________
                                                                               Jeff Bohm
                                                               Jeff Bohm
                                                                  Chief United States Bankruptcy Judge
                                                               United States Bankruptcy Judge




 31
   Sir Walter Scott, Marmion, Canto vi. Stanza 17. The Court notes that the word “practise” is not misspelled in this
 quotation.

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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 EVERGREEN MEDIA HOLDINGS,                §
 LLC and TONY DEROSA-GRUND                §
                                          §
        Plaintiffs,                       §
                                          §
 v.                                       §     CIVIL ACTION NO. 4:14-CV-00793
                                          §              (“Senior Case”)
 WARNER BROS. ENTERTAINMENT,              §
 INC. and NEW LINE PRODUCTIONS,           §
 INC.                                     §
                                          §
        Defendants.                       §

                               Consolidated with
                                       §
 EVERGREEN MEDIA HOLDINGS, LLC,        §
 TONY DEROSA-GRUND, and                §
 GERALD D. BRITTLE,                    §
                                       §
       Plaintiffs,                     §
                                       §
 v.                                    §     CIVIL ACTION NO. 4:14-CV-01117
                                       §              (“Junior Case”)
 LORRAINE WARREN, TONY SPERA,          §
 GRAYMALKIN MEDIA, LLC, NEW LINE       §
 PRODUCTIONS, INC., and WARNER         §
 BROS. ENTERTAINMENT, INC.,            §
                                       §
       Defendants.                     §

        DEFENDANTS NEW LINE PRODUCTIONS, INC. AND WARNER BROS.
                        ENTERTAINMENT INC.’S

              (1) MOTION TO STAY OR DISMISS ALL OF PLAINTIFFS
            EVERGREEN MEDIA HOLDINGS, LLC AND TONY DEROSA-
         GRUND’S CLAIMS IN FAVOR OF ONGOING ARBITRATION OR TO
         TRANSFER VENUE; OR, ALTERNATIVELY, MOTION TO DISMISS
           PLAINTIFFS EVERGREEN MEDIA HOLDINGS, LLC AND TONY
          DEROSA-GRUND’S CLAIMS AGAINST NEW LINE PURSUANT TO
               FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6); AND

        (2) MOTION TO DISMISS PLAINTIFF GERALD D. BRITTLE’S CLAIMS
            PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)
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                       NATURE AND STAGE OF THE PROCEEDING

        Plaintiffs Evergreen Media Holdings, LLC and Tony DeRosa-Grund (collectively,

 “DeRosa-Grund”) and Plaintiff Gerald D. Brittle (collectively with DeRosa-Grund, “Plaintiffs”)

 spuriously allege that Defendants New Line Productions, Inc. and Warner Bros. Entertainment,

 Inc. (collectively, “New Line”) have based its unreleased motion picture productions currently

 entitled “Annabelle” and “The Conjuring 2” on a book entitled The Demonologist: The

 Extraordinary Career of Ed and Lorraine Warren (“The Demonologist” or the “Book”), in order

 to avoid paying DeRosa-Grund a “rights payment” for the motion picture “Annabelle” under

 agreements previously entered into between the parties. Further, without alleging a single

 similarity between the works, Plaintiffs claim that New Line’s motion pictures infringe on

 Brittle’s copyright in The Demonologist and on DeRosa-Grund’s purported right to exploit The

 Demonologist (the “Demonologist Option”). Because there is no basis in law or fact for any of

 Plaintiffs’ claims, and because DeRosa-Grund’s claims in this action are not properly before this

 court in any event, all of Plaintiffs’ claims against New Line should be dismissed.

        New Line brings this motion to stay or dismiss in favor of a currently pending arbitration

 in California, or in the alternative to transfer venue, as to all of the claims brought by DeRosa-

 Grund in this action: Counts I, II, III, IV, and XIII. Alternatively, New Line moves to dismiss

 all of DeRosa-Grund’s claims against it in this action pursuant to Fed. R. Civ. P. 12(b)(6):

 Counts II, III, XII, and XIII. New Line further moves to dismiss all of Brittle’s claims against it

 in this action pursuant to Fed. R. Civ. P. 12(b)(6): Counts X, XI, XII, and XIII.

        Because New Line’s motion pictures have not been released, and disclosing details about

 their content could fatally harm the market for these works, New Line has filed a Motion for

 Limited Protective Order (Dkt. 33), concurrently herewith, seeking to file synopses of the

 unreleased motion pictures under seal, and to lodge a copy of the motion picture “Annabelle”


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 and a script for “The Conjuring 2,” which is still in development, with the Court for in camera

 review. Pending the Court’s decision on New Line’s Motion for Limited Protective Order (Dkt.

 33), New Line has only included a minimal comparison between the works in this Motion, in

 order to protect the details of these unreleased motion pictures. New Line respectfully requests

 that it be allowed to file a supplemental brief with a more detailed comparison of the works after

 the Court rules on its Motion for Limited Protective Order.

                              SUMMARY OF THE ARGUMENT

        This action involves two sets of claims against New Line. One set arises from and relates

 to contracts among DeRosa-Grund and New Line. The other consists of facially meritless

 copyright infringement claims. All of the claims should be stayed or dismissed for the following

 reasons:

        First, all of DeRosa-Grund’s claims in this action (Counts I, II, III, IV, and XIII) are

 subject to binding arbitration, as they arise from rights he purportedly acquired under the

 Demonologist Option and the Warren Agreements.1 The issue of who, in fact, owns the rights

 under the Demonologist Option and the Warren Agreements – New Line maintains it owns these

 rights – is currently being litigated in an ongoing arbitration between the parties in Los Angeles,

 California, which is being conducted subject to binding arbitration provisions in agreements

 entered into between New Line and DeRosa-Grund. As a result, pursuant to Section 3 of the

 1
   As discussed in greater detail below, the “Demonologist Option” refers to rights DeRosa-Grund
 purportedly acquired from Brittle to exploit The Demonologist. However, DeRosa-Grund admits
 in the Complaint that these rights are only exercisable if Ms. Warren, the co-owner of the
 copyright in The Demonologist, grants DeRosa-Grund the same rights. Compl. ¶ 72. The
 “Warren Agreements” refers to a series of agreements entered into by a third party and DeRosa-
 Grund that purport to transfer rights in certain property related to the Warrens’ paranormal
 investigations. The validity of the Warren Agreements is disputed, however, regardless of this
 dispute, any rights that actually existed under the Warren Agreements were expressly transferred
 to New Line under an agreement between New Line and DeRosa-Grund. Ex. 4, Quitclaim
 Agreement ¶ 1A(c)(i)(4)-(10)).


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 Federal Arbitration Act (“FAA”), these claims should be stayed or dismissed. Alternatively,

 DeRosa-Grund’s claims should be transferred to the Central District of California, based on valid

 forum selection clauses in the parties’ agreements.

         Second, DeRosa-Grund’s claim for copyright infringement against New Line (Count III)

 fails because DeRosa-Grund’s allegations reveal that he has a mere option from only one of the

 two copyright owners of the Book, namely Brittle. Such an option is at most only a contract

 right to acquire a copyright ownership interest, according to the conditions of the agreement. It

 is not ownership of the copyright. Adding to its speculative nature, DeRosa-Grund cannot even

 exercise the option without the consent of Defendant Lorraine Warren, the other owner in The

 Demonologist’s copyright. Based on this, DeRosa-Grund necessarily admits that he does not

 own a copyright interest in The Demonologist. But even if he were able to exercise his option

 with Ms. Warren’s consent, it would give him, at most, a non-exclusive license from Brittle

 because that is all a co-owner of copyright can grant. The United States Copyright Act explicitly

 provides that a non-exclusive license is not a form of copyright ownership. As a result, DeRosa-

 Grund has no standing to bring any claim for copyright infringement. Accordingly, this claim

 fails as a matter of law.

         Third, Plaintiffs’ claims based on copyright infringement against New Line (Counts III

 and XI) fail because any similarities between the works relate to historical facts, and facts are not

 copyrightable. Though it deals with the supernatural, The Demonologist is presented entirely as

 a work of non-fiction, a factual account of the work of the Warrens. Plaintiffs are estopped to

 assert otherwise. Accordingly, because Brittle cannot own a copyright in the facts and events set

 forth in his book, he cannot base a copyright claim upon those facts. When the historical facts




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 are filtered out, there are no actionable similarities between New Line’s motion pictures and the

 non-fiction Book. As a result, Plaintiffs’ copyright infringement claims fail as a matter of law.

          Fourth, the claims for tortious interference with contract against New Line (Counts II and

 X) are preempted by Plaintiffs’ copyright infringement claims, and thus must be dismissed.

          Finally, Plaintiffs’ claims for declaratory judgment and civil conspiracy (Counts XII and

 XIII), to the extent they are derivative of the meritless claims discussed above, must be

 dismissed.

                                    STATEMENT OF ISSUES

          1.     Whether all of DeRosa-Grund’s claims (Counts I, II, III, IV, and XIII) should be

 stayed or dismissed pursuant to Section 3 of the FAA, or in the alternative, whether these claims

 should be transferred to the Central District of California pursuant to 28 U.S.C. § 1404(a) and the

 forum selection clauses in the agreements;

          2.     Whether DeRosa-Grund’s claim for copyright infringement (Count III) should be

 dismissed because he is not an owner of the relevant exclusive right in the Book’s copyright and

 thus does not have standing to bring a copyright claim;

          3.     Whether all of Plaintiffs’ claims for copyright infringement (Counts III and XI)

 should be dismissed because, as a matter of law, there is no actionable similarity between the

 works;

          4.     Whether Plaintiffs’ state law claims (Counts II and X) against New Line are

 preempted by the United States Copyright Act; and

          5.     Whether Plaintiffs’ claims for declaratory judgment and civil conspiracy (Counts

 XII and XIII), to the extent they are dependent on the claims that fail, also fail as a matter of law.




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                                   STATEMENT OF FACTS2

        The Works: There are three works at issue in this case: The Demonologist book, New

 Line’s unreleased motion picture “Annabelle,” and New Line’s motion picture project “The

 Conjuring 2.”

        The Demonologist details several of Ed and Lorraine Warren’s paranormal investigations.

 Ex. 1, The Demonologist. The Warrens are real people and the book is presented as a work of

 non-fiction. Id., Author’s Preface, p. ix. Ms. Warren and Mr. Brittle co-own the copyright for

 the Book. Request for Judicial Notice, Ex. 1, Declaration of William J. Stowe (“Stowe Decl.”),

 Ex. G (federal copyright registration); see also Ex. 1, The Demonologist (the first page lists Ms.

 Warren and Brittle as copyright owners). The Book contains a chapter entitled “Annabelle”

 discussing the Warrens’ investigation of a possessed Raggedy Ann doll, and a chapter entitled

 “The Enfield Voices” discussing the Warrens’ investigation of a haunted house in Enfield,

 England. Ex. 1, The Demonologist. Large portions of both chapters appear to be transcripts of

 tape recorded conversations. Id., pp. 40-50, 210-18.

        New Line’s unreleased “Annabelle” movie, though inspired by the real doll from the

 Warrens’ paranormal investigation, features a fictitious couple who come to own the doll and

 relates events not found in or based on the Book. Ex. 3, Declaration of Craig Alexander

 (“Alexander Decl.”), ¶ 2, Ex. A.         New Line has completed principal photography of

 “Annabelle.” Id. ¶ 2. It is set to be released in October 2014. Id.

        New Line is developing a motion picture project currently entitled “The Conjuring 2.”

 Id. ¶ 3. “The Conjuring 2” is still in the screenplay stage and dramatizes the well-publicized

 2
   The arbitration clauses in the agreements between New Line and DeRosa-Grund, as well as
 facts related to the pending arbitration, were set forth in New Line’s Motion to Dismiss or Stay
 in Favor of Ongoing Arbitration in the Senior Action (Dkt. 8, pp. 3-8). New Line hereby refers
 to and incorporates those factual references herein.


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 Enfield Poltergeist haunting in Enfield, England during the late 1970s. Id., Ex. B; Request for

 Judicial Notice, Stowe Decl., Exs. A-C.

        The contents of the three works are summarized in more detail in § II.D., infra.

        The Contracts: There are three main contracts relevant to this motion to dismiss: Two

 agreements between New Line and DeRosa-Grund, and a purported option agreement between

 DeRosa-Grund and Brittle.

        New Line and DeRosa-Grund entered into two agreements related to “The Conjuring”

 property in 2009: the Quitclaim Agreement, and Amendment thereto (“Quitclaim Agreement”)

 and   the   Producer    Loanout    Agreement     (“Producer    Agreement”)     (collectively,   the

 “Agreements”). The Agreements provide for binding arbitration over any disputes that “aris[e]

 out of or relate[] to [the] Agreement[s] or the interpretation, performance or breach thereof . . .

 .” Ex. 4, Quitclaim Agreement ¶ 21; Ex. 5, Producer Agreement ¶ 25.

        Plaintiffs’ Complaint alleges that DeRosa-Grund and Brittle entered into an agreement

 under which Brittle granted DeRosa-Grund an option to acquire Brittle’s rights in The

 Demonologist, which he refers to as the Demonologist Option. Compl. ¶ 72. DeRosa-Grund

 admits, however, that his rights “are exercisable if and only if [DeRosa-Grund] secures

 corresponding rights from Mrs. Warren.” Id. DeRosa-Grund does not (and cannot) allege that

 he secured such rights from Ms. Warren. See Compl. Tellingly, DeRosa-Grund fails to even

 attach a copy of the purported Demonologist Option to his Complaint. See Compl.




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                                               ARGUMENT

 I.     ALL OF DeROSA-GRUND’S CLAIMS SHOULD BE STAYED OR DISMISSED
        IN FAVOR OF ARBITRATION, OR IN THE ALTERNATIVE, DeROSA-
        GRUND’S CLAIMS AGAINST NEW LINE SHOULD BE TRANSFERRED TO
        THE CENTRAL DISTRICT OF CALIFORNIA3

        Aside from the numerous legal defects with DeRosa-Grund’s claims (discussed infra), all

 of DeRosa-Grund’s claims in this action (Counts I, II, III, IV, and XIII) rely on his assertion that

 he owns the Warren Agreements and the Demonologist Option. Put another way, if DeRosa-

 Grund does not own the Warren Agreements and the Demonologist Option, he lacks standing to

 bring any of his current claims.

        As more fully briefed in Defendants Warner Bros. Entertainment Inc. and New Line

 Productions, Inc.’s Motion to Dismiss or Stay in Favor of Ongoing Arbitration; or in the

 Alternative to Transfer Venue (Dkt. 8), New Line and DeRosa-Grund entered into two

 agreements related to “The Conjuring” property in 2009: the Quitclaim Agreement and the

 Producer Agreement. The Agreements provide for binding arbitration over any disputes that

 “aris[e] out of or relate[] to [the] Agreement[s] or the interpretation, performance or breach

 thereof . . . .” Ex. 4, Quitclaim Agreement ¶ 21; Ex. 5, Producer Agreement ¶ 25. Under the

 Agreements, any rights relating to the “Property” that DeRosa-Grund acquires before or after the

 Agreements are entered into are the property of New Line. Ex. 4, Quitclaim Agreement, ¶

 1A(d); Ex. 5, Producer Agreement, ¶ 9(a). The Property is broadly defined as the entire case file

 library (approximately 8,000 case files) related to the Warrens’ paranormal investigations, the

 life stories of the Warrens, any prior scripts related to the project, and all rights under any

 agreement previously entered into between DeRosa-Grund and any other entity in his prior
 3
   The standards for review to stay or dismiss claims under the FAA, and to transfer venue under
 28 U.S.C. § 1404(a), were set forth in New Line’s Motion to Dismiss or Stay in Favor of
 Ongoing Arbitration in the Senior Action (Dkt. 8, pp. 12-15). New Line hereby incorporates
 those standards here.


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 attempts to make a movie based on the Warrens’ lives or case files. Ex. 4, Quitclaim Agreement

 ¶ 1A. The Quitclaim Agreement also lists the Warren Agreements as part of the Property that

 DeRosa-Grund explicitly quitclaimed to New Line. Id. ¶ 1A(c)(i)(4)-(10).

        Based on the clear language in the Agreements, New Line is asserting in the Arbitration

 that it – and not DeRosa-Grund – owns the Demonologist Option and the Warren

 Agreements. Ex. 2, Declaration of Michael J. O’Connor, Ex. A, Second Amended Demand for

 Arbitration, ¶ 82. The arbitration is set for November 3-7, 2014, at which time the arbitrator will

 determine whether New Line or DeRosa-Grund owns the Warren Agreements and the

 Demonologist Option. Id. ¶ 2. Specifically, New Line has asked the Arbitrator for a declaration

 that “[a]ny rights acquired by DeRosa-Grund with respect to the Demonologist Option are the

 sole property of New Line under the Agreements” and that “[a]ny rights acquired by DeRosa-

 Grund under the Warren Agreements are the sole property of New Line under the terms of the

 Agreements.” Id., Ex. A, Second Amended Demand for Arbitration, ¶ 82.

        Even if the Demonologist Option and Warren Agreements were not explicitly part of the

 ongoing Arbitration (they are), this Court should still stay or dismiss DeRosa-Grund’s claims

 premised on his ownership of the Demonologist Option or the Warren Agreements, as such

 claims “aris[e] out of or relate[] to [the] Agreement[s] or the interpretation, performance or

 breach thereof . . . .” Ex. 4, Quitclaim Agreement ¶ 21; Ex. 5, Producer Agreement ¶

 25. Specifically, DeRosa-Grund’s claims relate to and require, among other things, an

 interpretation of the Agreements to determine who in fact owns the Demonologist Option and the

 Warren Agreements.

        Thus all of the claims brought by DeRosa-Grund in this action (Counts I, II, III, IV, and

 XIII) are clearly arbitrable and should be stayed or dismissed pursuant to Section 3 of the FAA




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 pending the resolution of an actively-litigated JAMS arbitration in California, which has been

 pending since June 2013. Ex. 4, Quitclaim Agreement ¶ 21; Ex. 5, Producer Agreement ¶

 25. As set forth in greater detail in New Line’s Motion to Dismiss or Stay in Favor of Ongoing

 Arbitration in the Senior Action (Dkt. 8), and the Reply in Support thereof (Dkt. 28), “courts

 must ‘rigorously enforce’ arbitration agreements according to their terms.” Am. Exp. Co. v.

 Italian Colors Restaurant, 133 S.Ct. 2304, 2309 (2013) (citation omitted). Section 3 of the FAA

 requires a mandatory stay of legal proceedings whenever the issues in a case are within the reach

 of an arbitration agreement. 9 U.S.C. § 3; Midwest Mech. Contractors Inc. v. Commonwealth

 Constr. Co., 801 F.2d 748, 751 (5th Cir. 1986). In the alternative, DeRosa-Grund’s claims

 against New Line should be transferred to the Central District of California, in light of the

 Agreements’ forum selection clauses, pursuant to 28 U.S.C. § 1404(a); Ex. 4, Quitclaim

 Agreement ¶ 21; Ex. 5, Producer Agreement ¶ 25.

        Moreover, the Court has the inherent authority to order a discretionary stay to control its

 own docket. See Ambraco, Inc. v. Bossclip B.V., 570 F.3d 233, 243 (5th Cir. 2009). It should

 exercise such discretion and stay DeRosa-Grund’s claims against Warren and Spera (Counts I,

 IV, and XIII), for although Warren and Spera are not signatories to the Agreements mandating

 arbitration, the claims DeRosa-Grund asserts against them will necessarily turn on whether

 DeRosa-Grund (or New Line) actually owns the Warren Agreements and the Demonologist

 Option – a decision the arbitrator will make in November 2014.

        In the event the Court does not grant this motion to stay or dismiss DeRosa-Grund’s

 claims, such claims fail for the reasons discussed below.




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 II.    PLAINTIFFS’ COPYRIGHT INFRINGEMENT CLAIMS FAIL AS A MATTER
        OF LAW

 A.     Standard of Review

        Under Fed. R. Civ. P. 8(a), a pleading must contain “a short and plain statement of the

 claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A defendant may

 bring a motion for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P.

 12(b)(6). The plaintiff must allege “more than labels and conclusions, and a formulaic recitation

 of the elements of a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 127 S.Ct.

 1955, 1964-65 (2007); see also Elsensohn v. St. Tammarny Parish Sheriff’s Office, 530 F.3d 368,

 372 (5th Cir. 2008) (quoting Twombly, 127 S.Ct. at 1974). “Complaints alleging copyright

 infringement are no exception to this rule and can be decided as a matter of law.” Randolph v.

 Dimension Films, 634 F. Supp. 2d 779, 787 (S.D. Tex. 2009) (“Randolph II”). Here, Plaintiffs’

 Complaint fails to allege    how and in what manner the New Line’s motion picture and

 unpublished script infringe any copyright in the Book.       Thus, all of Plaintiffs’ copyright

 infringement claims should be dismissed.

        Alternatively, the Court may, on a Rule 12(b)(6) motion treat the works described in the

 Complaint as incorporated by reference into the pleadings, and compare the works to determine

 whether New Line’s motion picture and unpublished script infringe the copyright in the Book. A

 court should dismiss a copyright claim pursuant to Rule 12(b)(6) where either the evidence

 demonstrates that no reasonable jury could find the two works at issue are substantially similar

 or the court determines that any such similarities pertain only to unprotected elements in the

 works. Christianson v. West Publishing Co., 149 F. 2d 202, 203-204 (9th Cir. 1945) (affirming

 grant of 12(b)(6) motion); Rucker v. Harlequin Ent., Ltd., 2013 WL 707922, at *4 (S.D. Tex.

 2013) (“Harlequin”) (granting motion to dismiss for lack of substantial similarity); Randolph v.



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 Dimension Films, 630 F.Supp.2d 741, 749 (S.D. Tex. 2009) (“Randolph I”) (granting motion to

 dismiss for lack of substantial similarity); Campbell v. Walt Disney Co., 718 F.Supp.2d 1108

 (N.D. Cal. 2010) (granting 12(b)(6) motion); Capcom Co., Ltd. v. MKR Group, Inc., 2008 WL

 4661479 (N.D. Cal. 2008) (granting 12(b)(6) motion); Nelson v. PRN Prods., 873 F.2d 1141,

 1143-44 (8th Cir. 1989) (affirming grant of motion to dismiss based on lack of substantial

 similarity); Architecture, LLC v. Simone Development Corp., 602 F.3d 57 (2d Cir. 2010)

 (affirming grant of motion to dismiss based on lack of substantial similarity). “Works referenced

 in the pleading and critical to the claims are properly considered on a 12(b)(6) motion without

 converting it to one for summary judgment.” Harlequin, 2013 U.S. Dist. LEXIS 26299, at *2;

 Randolph I, 630 F. Supp. 2d at 745.

        Plaintiffs allege that New Line’s motion picture “Annabelle” and the screenplay for “The

 Conjuring 2” (“The Conjuring 2” is still in development and is only a screenplay at this stage)

 infringe their copyright in The Demonologist (Counts III and XI).           To prove copyright

 infringement, Plaintiffs must show “ownership of a valid copyright and actionable copying.”

 Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991); Peel & Co. v. The Rug

 Market, 238 F.3d 391, 394 (5th Cir. 2001).          “A plaintiff bringing a claim for copyright

 infringement must demonstrate (1) ownership of a valid copyright, and (2) copying of constituent

 elements of the work that are original.” Funky Films, Inc. v. Time Warner Entm’t Co., 462 F.3d

 1072, 1076 (9th Cir. 2006) (quoting Feist, 499 U.S. at 361); accord Positive Black Talk, Inc. v.

 Cash Money Records, Inc., 394 F.3d 357, 367 (5th Cir. 2004); Harlequin, 2013 WL 707922, at

 *4 (citing Funky Films, 462 F.3d at 1076). “When, as here, there is no allegation of or direct

 evidence of copying, the second element requires the plaintiff to prove that the defendants had

 access to the plaintiff’s copyrighted work and that there is substantial similarity of protected




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 elements between the works.” Harlequin, 2013 WL 707922, at *4 (citing Rice v. Fox Broad.

 Co., 330 F.3d 1170, 1174 (9th Cir. 2003).

        The Court may dismiss a claim for copyright infringement at the pleadings stage. Id.

 (“Complaints alleging copyright infringement can be decided as a matter of law”); see also

 Randolph I, 630 F. Supp. 2d at 745 (substantial similarity may be decided as a matter of law on a

 motion to dismiss); Taylor v. IBM, 54 Fed. Appx. 794, 2002 WL 31845220, at *1 (5th Cir. 2002)

 (affirming dismissal of copyright infringement claim pursuant to Rule 12(b)(6)); Tabachnik v.

 Dorsey, 257 Fed. Appx. 409 (2d Cir. 2007) (same).

 B.     DeRosa-Grund Does Not Own A Copyright In The Demonologist

        DeRosa-Grund has brought a claim for copyright infringement against New Line (Count

 III), based on his assertion that he owns the Demonologist Option. Compl. ¶¶ 87, 92. As a

 threshold requirement, however, DeRosa-Grund must allege that he actually owns the copyright

 at issue. Peel & Co., 238 F.3d at 394; 17 U.S.C. § 501(a). Here, DeRosa-Grund admits that the

 Demonologist Option is only an option, that is, a contract right to acquire a copyright in the

 future under defined conditions. That is not ownership of a copyright. Additionally, that right is

 speculative because it is only “exercisable if and only if [DeRosa-Grund] secures corresponding

 rights from Ms. Warren.” Compl. ¶ 72. DeRosa-Grund does not (and cannot) allege that he

 secured such rights from Ms. Warren, however, and thus, DeRosa-Grund has no copyright

 interest whatsoever. He has instead an unexercised option to obtain certain rights in the future

 assuming he can somehow persuade Ms. Warren to agree to grant him her corresponding rights.

 This admission is fatal to his copyright claims. Peel & Co., 238 F.3d at 394.

        In addition, and more fundamentally, under United States copyright law the most

 DeRosa-Grund could have through a grant from a single co-owner of a copyright (i.e., Brittle) is

 an option to obtain non-exclusive rights to the book (regardless of whether the option claims to


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 be for “exclusive” rights). Sybersound Records v. UAV, 517 F. 3d 1137, 1145 (9th Cir. 2008).

 In Sybersound, the plaintiff argued that it had standing to sue as a co-owner of the copyright for

 nine (9) songs, based on its contention that it “stepped into the shoes” of TVT, the actual co-

 owner of the copyright, when it received an “exclusive assignee and licensee” of TVT’s

 copyright interest in the songs for the purpose of karaoke use. Id. The Ninth Circuit disagreed,

 finding that, “as a co-owner of the copyright, TVT could not grant an exclusive right in the

 karaoke-use interest of the nine referenced copyrights.” Id. As the owner of a mere option to

 obtain non-exclusive rights, and, even if the option were exercised, as a mere licensee of non-

 exclusive rights, DeRosa-Grund lacks standing to bring a copyright infringement action against

 New Line. A licensee of non-exclusive rights is not a copyright owner. Id.

        Thus, DeRosa-Grund’s claim for copyright infringement should be dismissed with

 prejudice as any amendment would be incapable of curing the defects just described.

 C.     Plaintiffs Fail To Allege, And Cannot Allege, Substantial Similarity of Protected
        Elements Between The Works

        In order to establish copyright infringement, Plaintiffs must prove that New Line had

 access to the Plaintiffs’ copyrighted work and that there is “substantial similarity of protected

 elements between the works.” Harlequin, 2013 WL 707922, at *4 (citing Rice, 330 F.3d at

 1174). However, here Plaintiffs fail to allege that New Line had access to the Book and, even

 more strikingly, Plaintiffs utterly fail to allege any substantial similarities between the works,

 whether in plot, theme, dialogue, mood, setting, pace, characters or sequence of events. See

 Randolph I, 630 F. Supp. 2d at 746-49. The Complaint is in fact completely and conspicuously

 silent on what protectable element or elements New Line allegedly “copied” from the Book. As

 more fully described below, that failure of allegation is not an oversight capable of cure. It is the

 inevitable result of the fundamentally dissimilar nature of the works at issue in the case—the



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 Book’s wholly factual account of the actual work of the Warrens, and New Line’s dramatized

 works which tell different, original stories inspired by the Warrens’ work, but add characters and

 events not found in the Book.

        Without meeting this basic pleading requirement as set forth in Twombly and Iqbal,

 Plaintiffs cannot possibly maintain these claims, nor can they prevent dismissal by relying on the

 conclusory statement that “Plaintiffs believe that New Line is attempting to . . . circumvent the

 [Agreements] by attempting to claim that their productions are based upon a parallel set of rights

 . . . in connection with chapters from The Demonologist.” Compl. ¶ 39. Plaintiffs’ failure and

 inability to plead even minimal facts is fatal to their claims. Iqbal, 556 U.S. at 678.

        Accordingly, Counts III and XI should be dismissed. Because there is no actionable

 similarity between the works, as demonstrated supra, Plaintiffs’ copyright claims should be

 dismissed with prejudice as any amendment would be futile.

 D.     The Works At Issue

        1.       The Warrens’ “Annabelle” And “Enfield Poltergeist” Investigations

        The two historical Warren investigations at issue are “Annabelle” and the “Enfield

 Poltergeist.”   Compl. ¶ 39.     The “Annabelle” case involved a Raggedy Ann doll named

 “Annabelle” that was possessed by a demonic spirit. Id. ¶¶ 26, 46. The “Enfield Poltergeist”

 case involved the Hodgson family, living in Enfield, England, who called the police after the

 children claimed that furniture was moving on its own and heard unexplained knocking sounds.

 Compl. ¶ 27, 47. This alarming activity escalated to the point where the children claimed to hear

 demonic voices, and claimed to have levitated. Id. ¶ 47.

        The historical facts related to both the “Annabelle” and the “Enfield Poltergeist” cases

 have been widely reported on: The “Enfield Poltergeist” generated extensive media interest at

 the time of the alleged paranormal activities in the 1970s and was widely reported on by a


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 number of newspapers. Request for Judicial Notice, Ex. 1, Stowe Decl., Exs. A-C. In addition,

 the “Annabelle” case is an occult favorite and a simple Google search on the Internet returns a

 number of websites reporting the well-known facts of the case. Id., Exs. D-F.

        2.      The Demonologist: Chapter III “Annabelle”

        The Book offers Brittle’s purely factual account of the Warrens’ investigations. Indeed,

 in his Author’s Preface, Brittle states: “all the information presented in this book is true. These

 are real cases that happened to real people[.]” Ex. 1, The Demonologist, p. ix. The Plaintiffs are

 estopped to assert now that any of the book is fictional. 1 Nimmer, §2.11; Houts v. Universal

 City Studios, Inc., 603 F. Supp. 26 (C.D. Cal. 1984) (plaintiff author of book estopped to claim

 that case studies by medical examiner used to create episodes of the TV show “Quincy” were

 fictional); Oliver v. Saint Germain Foundation, 41 F. Supp. 296 (S.D. Cal. 1941) (plaintiff

 estopped to disavow earlier claim that his manuscript was dictated to him by spirits from another

 planet).

        The Demonologist’s “Annabelle” chapter is essentially a transcript of a recorded

 interview conducted by Mr. Warren of two nurses who claimed they had communicated with a

 human spirit. Id., p. 39. One nurse told Mr. Warren that a Raggedy Ann doll that her mother

 bought her for her birthday had begun to move around the apartment on its own. Id., pp. 40-41.

 The nurses further said that the doll started leaving notes written in a small child’s handwriting.

 Id., p. 41. These incidents prompted the nurses to contact a medium who told them that a little

 girl named Anabelle Higgins had died on the property. Id., p. 42. The medium told the nurses

 that the spirit of this little girl asked to move into the doll and stay with them. Id. The women

 said yes, and thereafter called the doll “Annabelle.” Id., pp. 42-43. The incidents with the doll




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 became more violent. Id., pp. 44-46. Eventually an exorcism was performed, and the Warrens

 took the doll home with them to protect the public. Id., p. 50.

        The “Annabelle” chapter is purely factual, as it is essentially a recitation of a recorded

 interview conducted by the Warrens of the nurses who claimed that the doll they called

 “Annabelle” was possessed by the human spirit of a little girl who had died. Historical facts

 include: that there was a supposed demonically possessed doll named Annabelle; that two nurses

 owned the doll; that a medium told the nurses that the spirit of a deceased girl named Annabelle

 Higgins inhabited the doll; that the doll moved around by itself and communicated with its

 owners; that a priest tried to perform an exorcism of the doll; and that the Warrens investigated

 the case and later kept the doll.

 3.     New Line’s Unreleased Motion Picture Production “Annabelle”4

        New Line’s unreleased motion picture “Annabelle,” though inspired by the real doll from

 the Warrens’ paranormal investigation, features a young couple who come to own the doll and

 relates events not found in or based on the Book. Ex. 3, Alexander Decl., ¶ 2, Ex. A. New Line

 has completed principal photography of “Annabelle.” Id., ¶ 2. It is set to be released in October

 2014. Id.

        The movie “Annabelle” is an original story in which a doll, though not a Raggedy Ann

 doll, is manipulated by a demonic spirit. Id., Ex. A. Other than Ed and Lorraine Warren, the

 only individuals from the Annabelle chapter of The Demonologist appearing in the film are the


 4
   As discussed above, because the parties could not agree on a stipulated protective order, in
 order to protect the value of its unreleased properties, New Line is filing this Motion without a
 detailed discussion of the motion picture productions “Annabelle” and “The Conjuring 2”
 pending the outcome of the Court’s decision on New Lines’ Motion for Limited Protective Order
 (Dkt. 33). New Line respectfully requests that it be allowed to file a supplemental brief
 containing a more detailed summary and analysis of the works upon the Court’s determination of
 its Motion for Limited Protective Order (Dkt. 33).


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 real life nurses and their roommate who historically owned the Annabelle doll, and even then

 they make only a fleeting appearance in the film. Id. Instead of depicting the documented story

 of Annabelle, the movie revolves around a young couple who owned the Annabelle doll before

 the nurses acquired it. Id. While in this couple’s possession, Annabelle haunts them through

 supernatural events depicted in the film. Id. Notably, the young couple and the story told in the

 movie are not found in the Book.       Id. Although there is a character in the movie named

 “Annabelle Higgins,” this character is an adult woman and is not the human spirit of a deceased

 young girl.5

                4.     The Demonologist: Chapter XIV “The Enfield Voices”

        Half of The Demonologist’s “The Enfield Voices” chapter is spent discussing the

 Warrens’ thoughts on the practice of demonology in general, and the other half is spent once

 again transcribing a recorded interview conducted by Mr. Warren related to the paranormal

 events that took place in England.

        The chapter opens with a story in which Mr. Warren loses control of his car while driving

 in a place called the “Lord’s Valley” in Pennsylvania. Ex. 1, The Demonologist, p. 207-08. The

 Warrens were discussing past paranormal investigations when the car began to swerve and lift

 off the ground. Id. The story appears to have been included in the chapter to illustrate the

 author’s point that, “[n]ext to exorcism, demonology is perhaps the most dangerous business on

 earth.” Id., p. 208. The chapter then discusses the many precautions the Warrens take to keep

 themselves safe during their paranormal investigations. Id., p. 208-09.

        Next, the chapter recounts Mr. Warren’s investigation into the alleged paranormal

 activity occurring in the home of a single mother and her children (the book does not identify the

 5
  A synopsis of the movie “Annabelle” and a copy of the unreleased movie will be lodged with
 the Court upon determination of New Line’s Motion for Limited Protective Order (Dkt. 33).


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 family by name). Id., p. 210. The children allegedly drew the spirits into the house after playing

 with an Ouija board. Id. As a result, a demonic spirit entered the home and brought “six

 buddies” along. Id. The spirits caused “knockings, rappings, scratchings, [and] poundings,” and

 as time went on, the phenomena intensified, causing the girls to levitate. Id. It is not clear from

 the chapter whether Lorraine Warren also travelled to England to investigate the case.

        Mr. Warren thought that the most compelling aspect of the case was the voice

 manifestations of the six different spirits. Id., p. 212. As a result, most of the discussion of the

 Enfield investigation is comprised of a lengthy transcript of an alleged conversation between Mr.

 Warren and the spirits. Id., p. 212-18. Notably, the chapter does not discuss what happened to

 the family or how the case was resolved. Id., p. 223. The chapter concludes with a discussion of

 Ms. Warren’s opinion on why “so much negative supernatural activity [is] happening right

 now[.]” Id., p. 219-23.

        Historical facts include: that an unidentified family was haunted by demoniac spirits in a

 house in Enfield, England; that the family included a single mother and her children; that the

 children invited the spirits into the house while playing with an Ouija board; that there were

 unexplained knockings, scraping and poundings in the house; that allegedly furniture moved and

 the children levitated; and that the spirits vocalized.

                5.      New Line’s Unreleased Motion Picture Production “The Conjuring 2”

        New Line is developing a motion picture project currently entitled “The Conjuring 2,” an

 original screenplay based on the “Enfield Poltergeist” haunting in Enfield, England during the

 late 1970s. Ex. 3, Alexander Decl., ¶ 3. The historical facts related to these paranormal events

 were widely reported on in the news. Request for Judicial Notice, Stowe Decl., Exs. A-C.

 Unlike the Book, “The Conjuring 2” actually tells the story of the Hodgson family and does not




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 merely report facts about the haunting as the Book largely does. Ex. 1, Alexander Decl., Ex. B.

 The screenplay also does not include any of the minor narrative elements included in the Book.

 Id. For example, “The Conjuring 2” does not open up with a flash back of the Warrens’ car

 sliding down a cliff (id.), and it does not include the lengthy dialogue between Mr. Warren and

 six (6) demons inhabiting the home in Enfield, England, that makes up a large portion of the

 discussion of the Warrens’ investigation into the case in the Book.            Id.   Likewise, “The

 Conjuring 2” is not presented in an interview format with Mr. Warren. Id. While the Warrens

 do appear as characters in the movie, no one is disputing their existence as paranormal

 investigators who investigated this case.6

 E.     There Is No Actionable Similarity Between The Works

        Here, the only arguable similarities between the works are certain facts concerning the

 cases. Because facts are not subject to copyright protection, these claims must fail.

        Facts, like ideas, are not entitled to copyright protection. In Feist, the Supreme Court of

 the United States confirmed that “[t]o qualify for copyright protection, a work must be original

 to the author.” 499 U.S. at 345 (emphasis added). “‘No one may claim originality as to facts.”

 Id. at 347 (citations omitted). “The same is true of all facts – scientific, historical, biographical,

 and news of the day. ‘[T]hey may not be copyrighted and are part of the public domain available

 to every person.’” Id. at 348 (emphasis added). Thus, facts themselves are beyond the scope of

 copyright protection. Miller v. Universal City Studios, Inc., 650 F.2d 1365, 1372 (5th Cir. 1981).

        While the selection and sequencing of facts may receive some limited copyright

 protection, the very same facts may be reshuffled without infringement. Feist, 499 U.S. at 349.


 6
  A synopsis of the current version of the screenplay for “The Conjuring 2” and a copy of the
 current version of screenplay will be lodged with the Court upon determination of New Line’s
 Motion for Limited Protective Order (Dkt. 33).


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 “Thus, if the compilation author clothes facts with an original collocation of words, he or she

 may be able to claim a copyright in this written expression. Others may copy the underlying

 facts from the publication, but not the precise words used to present them.” Id. at 348.

        An instructive case on this issue, is the Ninth Circuit’s decision in Novak v. Warner Bros.

 Pictures, LLC, 387 Fed. Appx. 747 (9th Cir. 2010). In Novak, the plaintiff alleged that the

 dramatic film We Are Marshall infringed on the copyright in plaintiff’s documentary film about

 the tragedy that struck a university’s football program after most of the players, coaches, and

 prominent supporters of the team, were killed is a plane crash in the 1970s. Id.at 748. The Ninth

 Circuit upheld the district court’s dismissal of the claim, finding that, while the same historical

 facts underlie both productions, historical facts are not protected by copyright. Id. (citations

 omitted). The plaintiff argued that substantial similarity could be shown in the same sequencing

 of events in the opening montages of the two films, but the court disagreed, finding that the

 opening sequences significantly differed, in that the opening sequence in the documentary

 included the film’s title and many additional shots of the town and university campus. Id. at 749.

 Because the only “concrete or articulable similarities” between the works consisted of historical

 facts and scenes a faire, the plaintiff could not show that the works were substantially similar,

 thus defeating her claim as a matter of law. Id. at 749. Novak is illustrative of how courts

 analyze copyright infringement claims where the works at issue are based on historical facts. See

 Narell v. Freeman, 872 F.2d 907, 911 (9th Cir. 1989) (copying historical facts from a

 copyrighted book was not actionable, because facts and ideas are not protected and the scope of

 protection for historical accounts is narrow indeed); see also Benay v. Warner Bros. Entmt., 607

 F.3d 620, 625 (9th Cir. 2010) (substantial similarities between a screenplay and a movie were not




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 actionable, since the similarities resulted from shared historical facts, familiar stock scenes, and

 characteristics naturally flowing from the works’ shared basic plot premise).

         Though it deals with the supernatural, the Book is presented entirely as a work of non-

 fiction, a factual account of the work of the Warrens. Plaintiffs are estopped to assert otherwise.

 1 Nimmer, §2.11; Houts, 603 F. Supp. 26 (C.D. Cal. 1984); Oliver, 41 F. Supp. 296 (S.D. Cal.

 1941). Accordingly, since Brittle cannot own a copyright in the facts and events set forth in his

 book, he cannot base a copyright claim upon those facts. These include the historical persons of

 Ed and Lorraine Warren; the family haunted in Enfield, England (unnamed in the Book, but the

 real life Hodgson family); and the nurses who owned a possessed doll named Annabelle. It also

 includes the historical facts of the possessed doll in Annabelle; the poltergeist in Enfield; the use

 of Ouija board, knocking sounds, levitation of children, and demonic voices in Enfield; and any

 other historical person or fact contained in the Book. See Narell, 872 F.2d 907, 911. These facts

 are not protectable.

         Because New Line’s works and the Book share historical inspiration, it is not surprising

 that there are some historical facts in common between the works such as the appearance of the

 Warrens, a possessed doll, or a haunted house is Enfield, England. It is also not actionable. In

 the Court’s substantial similarity analysis all such facts must be filtered out as unprotectable

 elements. “A court must distinguish between the protectable and unprotectable material because

 a party claiming infringement may place no reliance upon any similarity in expression resulting

 from unprotectable elements.” Randolph I, 630 F. Supp. 2d at 746 (citations omitted). And once

 the historical facts are “filtered” out of the substantial similarity analysis, there are no similarities

 between the Book and movies, much less “substantial” ones.

         Accordingly, the copyright claims fail.




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 III.   PLAINTIFFS’ STATE LAW CLAIMS AGAINST NEW LINE ARE PREEMPTED

        A state cause of action is preempted by Section 301 of the Copyright Act if the rights at

 issue come within the subject matter of copyright, as set forth in Sections 102 and 103, and the

 rights at issue are equivalent to the exclusive rights of Section 106. Daboub v. Gibbons, 42 F.3d

 285, 289-90 (5th Cir. 1995); Gemcraft Homes, Inc. v. Sumurdy, 688 F. Supp. 289, 294 (E.D. Tex.

 1988). In Gemcraft, the court found that architectural plans fixed in a tangible medium are

 within the subject matter of copyright. Id. The court held that “to the extent plaintiff’s claims

 for tortious interference with contract complain that plaintiff has lost benefits from its exclusive

 rights to the architectural plans, the cause of action would be preempted.” Id. at 295. Moreover,

 where the “defendant’s alleged acts would violate both state law and federal copyright law, then

 the state right is deemed ‘equivalent to copyright.’” Compliance Review Services, Inc. v. Davis-

 Osuawu, No. H-04-3635, 2006 WL 3541715, at *3-4 (S.D. Tex. 2006) (citations omitted) (claim

 for tortious interference with contract preempted where it arose out of the same set of operative

 facts as the copyright infringement claim).

        Plaintiffs assert two claims for tortious interference of contract against New Line, both of

 which allege that New Line’s motion pictures are based on The Demonologist: (1) in Count II,

 DeRosa-Grund alleges that New Line tortiously interfered with the Demonologist Option by

 creating the “Annabelle” and “The Conjuring 2” motion pictures “based on” The Demonologist;

 and (2) in Count X, Brittle alleges that New Line tortiously interfered with the Collaboration

 Agreement by “exploiting” chapters from The Demonologist for its motion pictures “Annabelle”

 and “The Conjuring 2.” Compl. ¶¶ 78, 83, 127.

        There can be no dispute that The Demonologist, a book, comes within the subject matter

 of copyright, as set forth in Sections 102 and 103. Gemcraft Homes, 688 F. Supp. at 294. In

 Count II, DeRosa-Grund alleges that New Line tortiously interfered with his exclusive right to


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 exploit The Demonologist under the Demonologist Option by basing its motion pictures on The

 Demonologist. Compl. ¶ 83. DeRosa-Grund’s allegation that New Line interfered with his

 “exclusive rights” under the Demonologist Option is equivalent to the exclusive rights granted

 under Section 106, i.e., the right to prepare derivative works based on the copyrighted work. 17

 U.S.C. § 106(2). As a result, DeRosa-Grund’s claim is preempted as a matter of law. Gemcraft

 Homes, 688 F. Supp. at 295.

        Brittle’s claim that New Line tortiously interfered with the Collaboration Agreement by

 basing its motion pictures on The Demonologist (Count X), is based on the same conduct giving

 rise to his copyright infringement claim against New Line (Count XI), i.e., that New Line

 improperly based its motion pictures on The Demonologist. Compare Compl. ¶ 127, with id. ¶¶

 130, 131. As discussed above, where the “defendant’s alleged acts would violate both state law

 and federal copyright law, then the state right is deemed ‘equivalent to copyright.’” Davis-

 Osuawu, 2006 WL 3541715, at *3-4; see also 1 Nimmer, § 1.01(B)(1) (claim for interference

 with contract is pre-empted where not qualitatively different from claim for copyright

 infringement). Here, if New Line did in fact base its motion pictures on The Demonologist, as

 Brittle alleges, this conduct would give rise to a copyright claim by Brittle as the co-owner of

 The Demonologist. Accordingly, Brittle’s state law claim is preempted. Id.

        Finally, both of these claims fail for the additional reason that, as discussed in §II.D.,

 New Line’s motion picture productions are not “based on” The Demonologist, which can be

 proven by either a review of the Complaint (Plaintiffs allege no similarities between the works),

 or a review of the works themselves.




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 IV.    THE DEPENDENT CLAIMS AGAINST NEW LINE FALL WITH THE CLAIMS
        DISCUSSED ABOVE

        Because the claims for declaratory judgment (Count XII) and civil conspiracy (Count

 XIII) against New Line are derivative of the claims discussed above, which fail as a matter of

 law, these dependent claims should be dismissed as well. See, e.g., Turner v. Pavlicek, No. H-

 10-00749, 2011 WL 4458757, at *14 (S.D. Tex. Sept. 22, 2011) (noting that “a defendant’s

 liability for conspiracy depends on participating in some underlying tort,” and “[i]f the

 underlying tort claim fails, the conspiracy claim fails as well as a matter of law.”); Cole v. Fed.

 Home Loan. Mortg. Group, No. 3:11-cv-1833, 2012 WL 555194, at *5 (N.D. Tex. Jan. 23, 2012)

 (dismissing claim for declaratory relief with prejudice where such claim was derivative of other

 meritless claims subject to dismissal).

                                           CONCLUSION

        WHEREFORE New Line respectfully requests that this Court grant its motion to stay or

 dismiss all of DeRosa-Grund’s claims in this action (Counts I, II, III, IV, and XIII) in favor of

 ongoing arbitration, or in the alternative, transfer venue to the Central District of California.

 Alternatively, New Line respectfully requests that all of DeRosa-Grund’s claims against it be

 dismissed, with prejudice pursuant to Fed. R. Civ. P. 12(b)(6). New Line further respectfully

 requests that all of Brittle’s claims against it (Counts X, XI, and XII) be dismissed, with

 prejudice pursuant to Fed. R. Civ. P. 12(b)(6).

                                              Respectfully Submitted,

                                              JACKSON WALKER L.L.P.

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                             CERTIFICATE OF CONFERENCE

        I hereby certify that I conferred with Plaintiffs’ counsel prior to filing this Motion and
 was informed Plaintiffs are opposed to this Motion. Therefore, this Motion is necessary.

                                                /s/ Charles L. Babcock
                                                Charles L. Babcock

                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2014, a copy of the foregoing document was filed
 electronically using the Court’s Electronic Case Filing System, which will provide electronic
 notification of its filing to all counsel who have appeared in this action.

                                                /s/ Charles L. Babcock
                                                Charles L. Babcock




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                                                 The Wall Street Journal

                                                October 31, 1989 Tuesday

LENGTH: 1325 words

HEADLINE: And You Thought `Ghostbusters' Was Just a Movie Farce? --- Specialists in Spirits Dispatch Demons
and Poltergeists;
 Exorcism Remains a Tool

BYLINE: By Bill Richards, Staff Reporter of The Wall Street Journal

BODY:

    If there's somethin' strange in your neighborhood . . .

    If there's something' weird and it don't look good.

    Who ya gonna call?

    For starters, some people call Ed and Lorraine Warren.

     When it comes to busting ghosts, the Monroe, Conn., couple are perfect demons. They claim to have busted spirits,
poltergeists and other spooks in hundreds of houses around the country. They say they now get three or four
"legitimate" calls a week from people harried by haunts. "I firmly believe in angels, devils and ghosts," says Mr.
Warren, whose business card identifies him as a "demonologist."

    If psychics don't work, but your house still seems haunted, you can call any one of a swelling band of skeptics such
as Richard Busch. A professional magician and musician, he heads the Pittsburgh branch of the Committee for the
Scientific Investigation of the Paranormal. Mr. Busch says there is a scientific explanation for all haunts, and he can
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even tell you how to encourage the spirits. "All you have to do is eat a big pizza, and then go to bed," he says. "You'll
have weird dreams, too."

    Either way, the ghostbusting business is going like gangbusters. Tales of haunts and horrors are proliferating
beyond the nation's Elm Streets and Amityvilles. "I get calls nearly every day from people who have ghosts in their
house," says Raymond Hyman, a skeptical psychology professor at the University of Oregon.

     In a public opinion poll published in the October issue of Parents Magazine, a third of those queried said they
believe that ghosts or spirits make themselves known to people. "The movies, the books, the tabloids -- even Nancy
Reagan is boosting this stuff," says Paul Kurtz, a philosophy professor at the State University of New York at Buffalo,
who heads the Committee for the Scientific Investigation of the Paranormal. The committee, formed in 1967, now has
60 chapters around the world.

     The spirits, of course, could hardly care less whether people do or don't believe in them. They don't even give a nod
to human sensibilities by celebrating Halloween. For the spooks it's just another day of ectoplasmic business as usual,
ghostbusters say; the holiday seems to occasion no unusual number of ghost reports.

    One of the busiest ghostbusters is Robert Baker, a 68-year-old semi-retired University of Kentucky psychology
professor whose bushy gray eyebrows arch at the mere mention of a ghost. Mr. Baker says he has personally bested
more than 50 haunts, from aliens to poltergeists.

     Mr. Baker heads the Kentucky Association of Science Educators and Skeptics. Like Hollywood's Ghostbusters,
Kentucky's stand ready to roll when haunts get out of hand. But they don't careen around in an old Cadillac, wear funny
suits or blast away at slimy spirits. Mr. Baker drives a 1987 Chevy and usually wears a tweed jacket on his ghostbusting
forays.

    "I've never met a ghost that couldn't be explained away by perfectly natural means," he says.

     When a Louisville woman complained that a ghost was haunting her attic, Mr. Baker discovered a rat dragging a
trap across the rafters.

    A foul-smelling demon supposedly plagued a house in Mannington, Ky. Mr. Baker found an opening under the
house that led to a fume-filled coal mine. When the weather cools, Mr. Baker says, hobos often hole up in abandoned
houses. "People see activity in there, and the next thing you know, you've got a haunting," he says.

     On a recent afternoon, Mr. Baker and a reporter go ghost-busting, visiting Kathleen Stinnett, a Lexington woman
who has phoned the University of Kentucky to report mysterious happenings in her house. Mrs. Stinnett says she never
believed in ghosts before, but lately her vacuum cleaner turned itself on, a telephone flew off its stand, doors slammed
inexplicably, and she heard footsteps in her empty kitchen.

    "I was doing the laundry and nearly broke my neck running upstairs to see who was there, and it was nobody," she
says, eyes wide at the recollection.

     Mr. Baker hears her out, pokes around a bit, asks a few questions and proposes some explanations. Of the
self-starting vacuum cleaner, he says: "Could be Cuddles, {Mrs. Stinnett's dog}." The flying telephone: "You tangle the
base cord around a chair leg, and the receiver does seem to fly off." The ghostly footsteps: "Interstate 64 is a block
away, and heavy traffic can sure set a house to vibrating."

    "I'm not sure he's explained everything," Mrs. Stinnett says grudgingly. "There are some things that have gone on
here that nobody can explain," she says. Mr. Baker promises to return if the haunting continues.

    For especially stubborn haunts, Mr. Baker carries a secret weapon, a vial of cornstarch. "I tell people it's the
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groundup bones of saints," he says. "I sprinkle a little around and tell the demons to leave. It's reassuring, and it usually
works."

    Oregon's Mr. Hyman has investigated claims of flying cats, apparitions and bouncing chandeliers and has come up
with a plausible explanation, he says, for every one. "Invariably," he says, "eyewitnesses are untrustworthy."

    Two years ago, a Canadian reader bet Omni Magazine $1,000 that it couldn't debunk the uncanny goings-on in "the
Oregon Vortex," a former Indian burial ground in southern Oregon. To viewers from a distance, visitors to the spot
seemed to shrink disproportionately, relative to the background. The magazine called in Mr. Hyman as a consultant.

    He showed up with a carpenter's level, carefully measured every surface and showed how the apparent shrinkage
was caused by the perspective. "A very striking illusion," Mr. Hyman says now, his voice dripping with skepticism,
"but an illusion nevertheless." The Canadian wound up writing a check.

     The Rev. Alphonsus Trabold, a theology professor and exorcism expert at St. Bonaventure University in Olean,
N.Y., frequently is asked to exorcise unruly spirits, and he often obliges. "On certain occasions a spirit could be
earthbound and make itself known," he says. "It happens."

    Father Trabold often uses what he calls "a therapeutic exorcism": a few prayers and an admonition to the spirit to
leave. "If the person believes there's an evil spirit, you ask it to be gone," he says. "The suggestion itself may do the
healing."

     But sometimes more energetic attacks are required. To wrestle with a demon in a house owned by a Litchfield,
Conn., woman, the Warrens recently called in an exorcist, the Rev. Robert McKenna, a dissident clergyman who hews
to the Catholic Church's old Latin liturgy. I attend, and so does a television crew from New York City.

     Mr. Warren pronounces the Litchfield case "your typical demonic infestation." A Scottish dwarf built the small red
house 110 years ago and now his demonic ghost haunts it, Mr. Warren says. The owner, who begs anonymity, asserts
that the dwarf, appearing as a dark shadow, has manhandled her, tossing her around the living room and yanking out a
hank of hair. Two previous exorcisms have failed.

    "This is a very tenacious ghost," Mr. Warren says darkly.

    Father McKenna moves through the house praying in Latin, urging the demon to split. Suddenly the woman begins
swaying and then writhing. "She's being attacked by the demon," Mrs. Warren stagewhispers as the priest sprinkles holy
water over the squirming woman, and the television camera grinds. A half-hour later, the woman is smiling and
chatting; the demon seems to have gone. But Mr. Warren says the woman has "psychic burns" on her back from the
confrontation. She declines to show them.

    "This was an invisible, powerful force that's almost impossible for a layman to contemplate," Mr. Warren says
solemnly as the ghostbusting entourage packs up to leave. "This time though," he says, "I think we got it."

    ---

   Lyrics from "Ghostbusters" by Ray S. Parker Jr. 1984 by Golden Torch Music Corp. (ASCAP) and Raydiola Music
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        DAILY NtWb-KtUJKU, MAKKlSONBUKO,
 16               FRIDAY, OCTOBER30, 198)




 The Occult: No Laughing Matter                                                                                                                                                                             Muiic Festival Group To Meet
                                                                                                                                                                                                      EDINBURG - The annual dinner
                                                                                                                                                                                                    meeting of the Shenandoah Valley Music
                                                                                                                                                                                                                                                      Jane Cain, former assistant to the
                                                                                                                                                                                                                                                    mayor of Milwaukee, will be the guest
                                                                                                                                                                                                                                                    speaker. Also at the meeting, a new
          By CHRIS SIMMONS                           Warrens were involved was the Long become paralyzed. The light, Warren hanged owner and now causes anyone                                      Festival Committee will be held Nov. 11         board of directors and officers for 1982
          Ntwi-Record Stiff Writer                   Island haunting which became the basis said, will take on the shape of a ghost and who sits in It to die.                                      atEdinburgMlll.                                 will be elected.
   BRIDGEWATER - The next time                       for "The Amityville Horror."                 the haunting will end.                          One thing Warren would not talk about
you're tempted to pull out the old Ouija                Warren spoke only briefly about that        Other ghosts, Warren suggested, are was his worst experience with the super-
board, think twice.                                  case Wednesday and said that the             more tangible. He related a case where a natural.

                                                                                                                                                                                                                                                    BE A
   According to demonologist Ed Warren,              literary license exercised in the book was   pregnant woman would meet an old man            "In giving it recognition and talking
It could be the beginning of some very               unnecessary because the real case was        along a New England beach every morn- about it to you, your thinking about it
disturbing problems.                                 scary enough.                                ing before the birth of her child. After the could bring it on yourself," he explained,
   "You have opened the door," he warn-                 The Warrens, who have been in- birth,            she returned to the beach but could      Happily, Warren did reveal that not all
ed a large crowd at Bridgewater College              vestigating weird happenings for 35 not          find the old man. It turned out he had ghosts are nasty. Some, apparently, are
this week. "It doesn't have to come that             years, touched on several aspects of the     been dead 10 years.                           just there,
night. But It will come."                            supernatural during their two-hour             "They   (ghosts)  can  be  as solid as we     But if one of the evil spirits does hap-
   What will come?                                   presentation. Subjects included photos of    are," Warren said.                            pen to visit you one night, Warren had
   If you believe Warren, "it" could be                                                             On a more subtle supernatural some advice—make the sign of the cross
                                                     ghosts, a rather lively Raggedy Ann doll, phenonena,
unspeakably horrible demons intent on                 a girl who could walk through matter, cursed chairWarren            talked about the and command the demon in the name of
physically harming people foolish                     nighttime awakenings, curses and plain                      of Thirsk,   England — a Jesus Christ to leave.
enough to challenge spirits during                    oldhauntings.                               chair that was kicked out from under its        "It will leave," he said. "It has to."
amateur-night seances.                                   The photos — many not particularly
   Warren'and his wife, Lorraine,                     dramatic — purported to show ghosts
presented a Halloween Week slide                      popping up in unlikely places.
presentation on the supernatural here                    In one case, a couple had gone to a
Wednesday night.                                      cemetery two weeks after the death of                                   WEEKEND/
    One of the slides showed a severely               the wife's mother. They had a camera
 bruised young woman, who Warren said                 along, and the wife snapped a picture of                             DOUBLE FEATURE
 had been attacked after challenging a                her husband sitting in their car.                                                   HOURS:
 spirit to prove itself during a seance.
    That night, he said, the girl suddenly
                                                         When the film was developed, Warren
                                                      said, "there was Ma sitting in the back                                Mon.     &   Tues.  — 4-9 P.M.                                                           49 paymettfa on
 felt a body In bed beside her and was sub-           seat." He showed a slide of the picture.                                       Wed. —Closed
 jected to a violent sexual assault by a
 non-hum an spirit.
                                                         The oversized Raggedy Ann doll, as
                                                      Warren told it, came to life after being
                                                                                                                Thurs., Fri., Sat. & Sun. —12 Noon-9 P.M.                                                  Christmas Savings Club . . .
    Three days later, he said, the girl came          taken over by the spirit of a young girl                                FRIDAY BUFFET
 to him for help.
    "She looked like she was in a bad acci-
                                                      who had been killed in an accident.
                                                         Eventually the doll turned violent and
                                                                                                                                         5-9 P.M.                                                         Valley National Will Give Yon
 dent," Warren recalled.                                                                                      Barbecued Spareribs, Baked Fish Filets, Crab                                                                              50th
                                                      somehow began slashing people. In one
    The Connecticut ghost hunter said he
 actually saw hair being ripped from the
                                                      case, an acquaintance of the Warrens
                                                      flung the doll aside and was almost killed
                                                                                                              Cakes, Shrimp Chow AAein With Fried Rice, Fried
                                                                                                              Chicken, Meatloaf; Succotash, Macaroni & Cheese,
                                                                                                                                                                                                          You 50th PAYMENT...                                   CHRISTMAS CLUI
                                                                                                                                                                                                                                                                   PAYMENT

 girl's scalp and teeth marks appearing               when his brand-new car went inex-                       Stewed Tomatoes, Green Beans; Salad Bar; Coffee                                                                                                          FREE
 on her body as the Invisible demon con-              plicably out of control.                                or Tea.                                                                                                                                               A Bin Frtdl
 tinued its attack.                                      "He was not killed because the devil                                          $5.95 Adults                                                                                                               V»IL« NATIONAL
                                                                                                                                                                                                                                                                      IANK
    Eventually, he said, the girl was exor-           can go only so far," said Warren.                                     $3.25 Children Under 12
 cised.                                                  The girl who could walk through mat-
    Warren's message was obvious. As he                ter lived in suburban London and was                        MENU SERVICE AVAILABLE
 put it, "You shouldn't fool around with               subject to all sorts of strange                                  WITH SALAD BAR ALSO
 the occult."                                         phenomena, Warren said.                                                                                                                                                           $ 3.00 «och w*«k lor 49 w««ks—$ 150.00
                                                          "I have film of her levitating from (a)                                                                                                        Select your club from          $ 4.00 each wMtk for 49 w««kt—$ 200.00
    He went so far as to urge his chilled au-
                                                       bed," he claimed. The footage was shown                               SUNDAY BUFFET                                                                the list at the right         $ 5.00 «och w»«k for 49 wt«k»—$ 250.00
 dience to take their Ouija boards into the                                                                                        12Noon-7P.M.                                                                                         $10.00Mchw««kfor49wMk(—$ 500.00
 faraway woods, bury them, make a sign                 on Home Box Office, he added.
 of the cross over the mound and then                    Warren said the girl "has actually                    Roast Turkey, Dressing & Gravy, Barbecued
                                                                                                                                                                                                                                        $20.00 Mch w««k for 49 wttki—$1000.00
 sprinkle holy water on it.                            passed through a brick wall."                           Spareribs, Beef Stroganoff With Noodles, Fried
    The Warrens are two of the best known                 The husband-and-wife team from                       Chicken, Baked Western Ham With Pineapple                                                    Withdrawal <rom the club prior to maturity will result in a $1.00 penalty.
  ghost hunters in the United States, They             Monroe, Conn., has supposedly in-                       Sauce;     Squash Casserole, Green Beans, Sweet
  currently are involved in a court case               vestigated some 3,000 hauntings, and, as
                                                       Warren noted, "We're not called in                      Potatoes, Mashed Potatoes; Assortment of Salads
  where an accused murderer is claiming                because of Casper the Ghost."                           & Desserts; Coffee or Tea.
  be was possessed by a demon.
    In the Danbury, Conn., case, a teen-age
  boy is accused of stabbing a 40-year-old
                                                         Demonic appearances at night also
                                                      were discussed by Warren. The most                                  $3.25
                                                                                                                                     $6.50 Adults
                                                                                                                                      Children Under 12
                                                                                                                                                                                                                                 Wtey National Bank
                                                      likely time for these, he said, is 3 a.m.                                                                                                                                   Horrisonburg-Bridgewoter. Va.
  man to death.
    The defense, according to the
  Associated Press, is claiming that the
                                                      because spirits see that hour as an insult
                                                      to the Trinity.                                           Sager's Restaurant                                                                                                  Where People Come Ffrsf

                                                         Typically, he indicated, the haunting                           Rt. 211, 7 Miles West Of Luray
  boy's body had been possessed by the                begins when a person is awakened from a                              On Massanutten Mountain
  devil several times before the man's                sound sleep by a touch or a sound.                             Or 3 Miles East Of New Market, Va.
  death and then again at the moment of                  Nothing can be seen, but the person
  the attack.                                         knows something is there. Then, a ball of
    Another celebrated case in which the              light will form and the person will

                                                                                                                                       Paid Political Advertisement




            Will Virginians Support
                Smear Tactics?
        (The following is the text of an address given by Donald D. Litten at the
        Charlottesville Rotary Club on October 27,1981; Senator Miller could not
        attend because he was campaigning with President Reagan)
       Mr. President, the Democratic
    nominee for Lt. Governor, Rotarians,              (but didn't introduce) eliminated a dou-       man's coinscience and Nathan has pro-
    and guests:                                       ble taxation on power. A block of electric     ceeded under that theory. He has looked
       Here in Jefferson's country it is ap-          power was being taxed once by VEPCO            to the substance of legislation and not to
    propriate to give at least one quote from         when it generated it and taxed again           its form. He has never promoted or voted
    the sage of Monticello. In view of my sub-        when the same block of power was sold to       for any bill in which he did not believe.
    ject matter I have chosen this:                   the electric co-operatives. The bill           He has never received a cent for voting
    "Advertisements," said Jefferson, "con-           eliminated that double taxation and it         for any bill.
    tain the only truths to be relied on in a         resulted in a direct rate reduction on the     THE ISSUES THE USS SARATOGA
    newspaper."                                       electric bills of 700,000 consumers to the         When this campaign commenced
       Well, one week from today Virginians           tune of {13- Million. I know of no other re-   Nathan thought that the race would be
    will vote. We have been doing that for a          cent legislation that has reduced electric     between himself and the gentleman from
    long time here in the Old Dominion. I am          rates. I know of a great deal that have in-    Portsmouth who used to be the mayor of
    sure politicians have said in every elec-         creased it. There is no conflict, we say, in   that city and who used to be the chair-
    tion that each one was critical. I rather         drafting and voting for a bill that helped      man of the Virginia Democratic Party.
    believe that Jefferson would have said            700,000 people reduce their staggering         He thought that the issues would be such
    that all elections are equal, but I also feel     electric rates.                                 things as the rehabilitation of the USS
    that some are perhaps more equal than             EAST SIDE vs. WEST SIDE                         Saratoga. You will recall how Senator
    others. It seems to me that this is one of          Now, the other bill. The other bill had       Warner and our other representatives in
    the more equal because it will settle and         to do with a basic unfairness in the law        Congress were fighting to have this work
    probably for a long time whether                  where people who lived east of the Blue         done in Newport News. It meant 2600 jobs                                                          NATHAN MILLER
    negative or positive campaigning best             Ridge were treated differently from peo-        for Virginians. You will recall how the
    appeals to Virginia.                              ple who lived west of the Blue Ridge. The       National Administration and President
    CONFLICTS OF INTEREST                             people who lived east of the Blue Ridge         Carter wanted it done in Philadelphia.           confiscation. I am reminded of the fact      taken an active interest in such matters        being levied against Nathan, discussing
       Let us talk, and talk directly, about          were allowed to have a day in court if          Do you recall that the gentleman from            that the United States income tax com-       as Project Concern. A man who has               not the issues in the campaign or the
    conflicts of interest. There are two bills        after 35 years mineral reservations on          Portsmouth suddenly and inexplicably             menced with a maximum tax of 1 percent       helped hundreds of people. A man who is         things that ought to be discussed, that
    in question that have been commented              their land had not been mined. That day         issued a public statement saying that the        of net income.                               so open and so unassuming that no one           will have to be decided during the next
    on, that were passed by the General               in court gave them a chance to prove to         work ought to be done in Philadelphia            LIBERALISM VS. CONSERVATISM                  even calls him by any name other than           four years, but rather attacking
                                                      the judge that there were no minerals           rather than Newport News. That state-               But, basically, Nathan thought the        his first, ,                                    Nathan's honesty, integrity, and
    Assembly.                                                                                                                                          campaign would be fought over the fact       THE KANGAROOCOURT
    THE COOP BILL                                     there that had ever been mined and that         ment has puzzled Nathan ever since. It                                                                                                        character, I cannot help but be reminded
       One is the so-called "Co-operative             the reservation should be removed. No           still continues to puzzle him. He has call-      that his opponent is perceived to be, and       The hierarchy has hastily called a           of another ad that appeared in a
    Bill". In discussing a cooperative I think        such opportunity to have a day in court         ed on his opponent again and again for an        does not really deny being, the most         meeting of a Senate committee stacked           presidential election in 1964.1 ask you to
    it is important to understand what it is          existed for people west of the Blue Ridge.      explanation as to why a Virginian, the           liberal of all the candidates running and    14 to 1 against Nathan. This committee          remember the little girl plucking a daisy
    and what it is not. It is not a business enti-    Nathan is proud that he tried to eliminate      head of one of the two major parties in          that the voters of Virginia would have the   reminds me of the old House                     and counting 1, 2, 3... while in the
    ty in the usual sense of the word. It has no      this discrimination between the two sides       this state, would make such a statement.         choice to judge between the two classic      UnAmerican Activities Committee and             background a nuclear bomb exploded.
    stockholders, it makes no profits, it is          of the mountain. The fact that he was on-        I call on him here tonight to answer that       political philosophies of conservatism       what someone said about that committee          The purpose of that ad was to show that
                                                      ly able to add one county to the bill in-        question. Was it because President              and liberalism. The philosophy of the        "Who would be cleared by this commit-           the Republican candidate would start a
    organized for the purpose of consumers,                                                                                                            gentleman from Portsmouth can best be        tee — not Washington who was a rebel,
    Putting together some sort of organiza-           stead of the whole west side in one year,        Carter asked him to do so, or some                                                                                                           nuclear war. The other candidate who
                                                       and then add one more county the next           member of the National Administration           evidenced by the fact that he has sup-       not Jefferson who wrote that all men are        won that election made a solemn com-
    tion that will allow them to procure a ser-                                                                                                        ported such candidates as George             created equal, not Lincoln who ad-
    vice, such as electric service, at a              year, means nothing except that he was           made such a request?                                                                                                                         mitment to the people of America that he
                                                      not able to gain a total victory. He intend-     COLLECTIVE BARGAINING                           McGovern, Jimmy Carter, and Henry            monished us to have malice toward none          would never send American boys to fight
    minimum cost without profit. I well                                                                                                                Howell.                                      and charity toward all, or Wilson who
   remember my first brush with co-                   ed at the next session, the one coming up,         Nathan thought there would be discus-                                                                                                      in Asian wars. There is a similarity I tell
   operatives when I was a boy of 12 years            to introduce the bill again, and again try       sion about such things as collective            THE PERSONAL ATTACKS                         wrote that our flag is a flag of liberty of     you, a sick and a sad similarity between
                                                      to make both sides of the mountain the           bargaining for public employees. Nathan            But, unfortunately, Nathan has found      opinion."                                       these ads.
   and the man from VEPco came to see                                                                                                                  himself the victim of negative campaign-     THE ISSUE IS JOINED
   my father about giving us electric power.          same. No, he does not apologize for in-          opposes it. His opponent says that he op-                                                                                                    THE CALL FOR FAIRNESS
                                                      troducing legislation that helped his peo-       poses strikes by public employees but           ing amounting to smear tactics. It seems        Well, let the message go forth that             And so, my friends, we call on all fair-
   At that time we didn't have it. I                                                                                                                   that he is running against Chuck Robb         regardless of all the forces aligned
   remember him telling my father that it             ple in an attempt to put them on equal           that he favors meeting and conferring.                                                                                                        minded Virginians, on all those who are
                                                      standing with the rest of the people in the      The question is whether he favors               and Willard Moody and Hunter Andrews          against him, Nathan will fight. He will go     disgusted with these tactics, who love
   would cost $6.50 a month. That was dur-                                                             unionization by these employees. Nathan         and Senator Brault and Andy Miller and       forward talking about the issues now and
  ing the Depression and 56.50 a month was            state, and no, this is not a conflict of in-                                                                                                                                                   this old and tradition-honored state as we
                                                      terest. There are problems with the              does not.                                       Bill Hopkins and the entire Democratic        until the polls close next Tuesday. If he       do, to go to the polls and decide this issue
  out of the question. I remember within a                                                                                                             hierarchy. All those have attacked him        can isolate these forces and fight them
  year after that when the electric co-               Senate rules on conflict of interest and         GUN CONTROL                                                                                                                                   QUO VADIS, VIRGINIA?
                                                      they are almost as bad as none at all, giv-         Or gun control legislation. While the        and his motives, his honesty, and his in-     one at a time, he will do so, but if he must
  operative then known as the REA came                                                                                                                 tegrity. Even bis religious beliefs have      fight them all together, then he will do                                      Donald Litten
  through and we were able to get electric            ing no real guidance. Nathan has pro-            gentleman from Portsmouth says he is                                                                                                               MILLER FOR LT. GOVERNOR
                                                      ceeded on the basis of what he perceived         opposed to it, he is in favor of legislation    been called info play. And this about a       that too. For the issue that is now joined      ... For the issue that is now joined is
  power for $1.50 a month. In co-ops you              to be right or wrong. Senator Willey, the        that would require a waiting period and         man that I know and have known for            is whether one can win a campaign in
  read your own meters, you set your own                                                                                                               years. Who neither drinks nor .smokes.        Virginia by smear tactics.
                                                                                                                                                                                                                                               whether one can win a campaign in
  rates by electing your own directors. The           senior member of the Senate, says that           would, in Nathan's opinion, open the door                                                                                               Virginia by smear tactics."
                                                      the only guide to conflict of interest is a      and eventually lead to registration and         Who falls to his knees at night before his    THE VICIOUS ADS
  bill that Nathan drafted and voted for                                                                                                               God before he retires. A man who has            When I hear of the vicious ads that are By Authority of William  Earhart, Treas.
                                                                                                                                                                                                                                                                 Miller For Lt. Governor
                                                                                                                                                                                                                                                                                          w

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Ghosts Roam 'Most Haunted Area in U.S.' : Hauntings: New England boasts the oldest
tales of the supernatural and has become a foundation for folklore.
October 26, 1989 | DEIRDRE WILSON | UNITED PRESS INTERNATIONAL

Dudleytown, Conn., is a cursed village in the northwest corner of Connecticut. It has been deserted since horror and misfortune struck its early settlers in the
1700s.

People went mad, were struck by lightning or fell ill.

The Penobscot Indian reservation in Maine is haunted by an evil white man who married and intimidated a small Indian woman a century ago as he tried to
govern the area.

In Warren, Mass., a farmer named Maurice Theriault was once possessed with superhuman strength, was levitated and suffered bleeding when some spiritual
being carved messages into his back.

New England is a ghost story waiting to be told. The nation's oldest settled region boasts the oldest tales of the supernatural and has become a foundation for
folklore.

"You are living in the most haunted area of the United States," said Lorraine Warren, who together with her husband, Edward, has made a 40-year career out
of smoking out the spooks that haunt New England's homes, land and other relics.

"It is the old that brings about the ghost syndrome. The older the area, the more chance of a tragedy. And tragedies often bring ghosts," Warren said.

Stories like Dudleytown, the Indian reservation and Theriault are just a few of the countless ghostly tales the couple have recounted in five books. Their most
recent work is "The Ghost Hunters" (St. Martins Press).

Backed by a team of researchers, clergymen and scholars, the Warrens are considered among the foremost authorities of ghosts and the supernatural in New
England.

The late Edgar Rowe Snow of Massachusetts was famous for lectures and books on ghosts, pirates and shipwrecks that plagued New England--stories of both
fact and fancy.

Many New Englanders who never investigated or put pen to paper about their experiences have tales to tell about hauntings: A woman who died in childbirth
at Salem Hospital in Salem, Mass., haunts a delivery room there; a ghost ship, the Palatine, capsized off Block Island two centuries ago and occasionally
reappears off the Rhode Island coast.

Linda Degh, a folklore professor at Indiana University in Bloomington who has researched supernatural tales for a book on folklore, believes ghost stories--
real or fantasy--are a part of America's culture.

"You see the same phenomenon coming up again and again," Degh said. "In old abandoned houses, there are noises, voices, smells. . . . They are the same
stories: some restless spirit comes back. It can be benign or it can be evil.

"Whether there are ghosts or not, I don't know," Degh said. "It is as unscientific to say there are no ghosts as it is to say there are ghosts. There are no scientific
experiments to prove either. We know that people are not liars when they feel something or hear something. Culturally, they are rational, even if they are
irrational."

One of the more celebrated New England ghost stories took place in a mansion in Stratford, Conn., where a minister and his family lived.

Newspaper accounts from the period reported that on March 10, 1850, the Rev. Eliakim Phelps was returning home with his wife and two children when the
family noticed black mourning cloth draped across the front door.

When the family entered, they were horrified to find a corpse shrouded and laid out in the parlor. The body was that of Goody Bassett, a woman hanged in
1661 as a witch.

By the time Phelps could summon a witness, the apparition had disappeared. The mystery had not.

The phenomenon at the Phelps mansion became known as the Stratford Knockings, a series of mysterious happenings that included rappings and thunderous
knockings heard by witnesses who traveled long distances to confirm the clergyman's story.

State newspapers carried daily accounts and reporters came to investigate.

The Warrens were called in to investigate in 1971 after two of the town's police officers chased an apparition of a little girl up the stairs of the abandoned
mansion while investigating a report of vandalism.

"They were both joking about the ghost. They went in through the back door and could hear something near the huge staircase," said Edward Warren, who is
also director of the New England Society for Psychic Research--a network of researchers of the supernatural.
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"They could see a small figure--like a child--dressed in a lace dress. When it ran up the staircase, they chased it to the third floor. It ran into a room and the
officers saw a closet door closed. Thinking it was kids playing pranks, they opened the closet door. Nobody was there."

Warren said a photographer, using special equipment, was able to record on film a picture of the child the officers saw.

True or false, New England's ghost stories can capture the most skeptical audience here for nothing else but the enjoyment of a good yarn.

Degh says the stories may be a way of explaining death and the beyond.

"It's based really on the existential problems of humanity," she said, "that people are dying, life is very fragile and it is a hope that the dead can return.

"It's a kind of philosophy between life and death based on our ignorance of the final solution--finding out what will happen to us."




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